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                         EXHIBIT 13
 May 9, 2017 30(b)(6) Deposition of Experian
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                                                                             1
                                Anna Simmons
                                 May 3, 2017


                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

   JOHN E. ASHCRAFT      ) Case No. 2:16-cv-02978-JAD-NJK
                         )
                         )
   VS.                   )
                         )
   WELK RESORT GROUP,    )
   CORP., and EXPERIAN   )
   INFORMATION SOLUTIONS,)
   INC.                  )

        * * * * * * * * * * * * * * * * * * * * * * * * *
                           ORAL DEPOSITION OF
                               ANNA SIMMONS
                                 MAY 3, 2017
                               Volume No. 1
        * * * * * * * * * * * * * * * * * * * * * * * * *


       ORAL DEPOSITION of ANNA SIMMONS, produced
   as a witness at the instance of the Plaintiff, and
   duly sworn, was taken in the above-styled and numbered
   cause on the 3rd of May, 2017, from 10:14 a.m. to
   5:18 p.m., before Sherry Folchert, CSR, in and for the
   State of Texas, reported by machine shorthand, at the
   offices of Jones Day, 2727 North Harwood, Dallas, Texas
   75201.




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1                              A P P E A R A N C E S
2       FOR THE PLAINTIFF:
3       Miles N. Clark (telephonically)
        KNEPPER & CLARK
4       10040 West Cheyenne Avenue, Suite 170-109
        Las Vegas, Nevada 89129
5
        FOR THE DEFENDANT:
6
        Jennifer L. Braster
7       MAUPIN NAYLOR BRASTER
        1050 Indigo Drive, Suite 200
8       Las Vegas, Nevada 89145
9
        ALSO PRESENT:
10
        Lucille Chiusano (telephonically)
11
12
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1                                     AGREEMENTS
2             It is hereby agreed by and between the parties
3       hereto, through their attorneys appearing herein, that
4       any and all objections to any question or answer herein,
5       except as to the form of the question and responsiveness
6       of the answer, may be made upon the offering of this
7       deposition in evidence upon the trial of this cause with
8       the same force and effect as though the witness were
9       present in person and testifying from the witness stand.
10            It is further agreed by and between the parties
11      hereto, through their attorneys appearing herein, that
12      this deposition may be signed before any notary public
13      in and for the State of Texas, but if the original
14      deposition has not been signed by the witness and
15      returned by the time of the trial or any hearing in the
16      case, the unsigned original or a copy thereof may be
17      returned into Court and used with the same force and
18      effect as though all requirements of the rules and
19      statutes with reference to signature and return had been
20      fully complied with.
21
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1                              P R O C E E D I N G S
2                                   ANNA SIMMONS,
3       having been first duly sworn, testified as follows:
4                                     EXAMINATION
5       BY MR. CLARK:
6              Q.   Good morning.      Could you please identify
7       yourself for the record, ma'am?
8              A.   Anna Simmons.
9              Q.   Okay.    Could you spell your name, please?
10             A.   A-N-N-A, S-I-M-M-O-N-S.
11             Q.   And, Ms. Simmons, do you mind if -- you and
12      I -- you and I have talked in -- in the past; have we
13      not?
14             A.   Yes.
15             Q.   Okay.    And in those -- those prior depositions,
16      Ms. Simmons, I referred to you as Anna.              Is that still
17      okay?
18             A.   Yes.
19             Q.   All right.     And you can -- as before, you can
20      call me Miles.       So just more specifically, my name is,
21      again, Miles Clark.        I represent the Plaintiff John
22      Ashcraft in this case.         And so we're here to take your
23      deposition today.
24                         Mrs. -- sorry.      Anna, have you been deposed
25      before?



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1             A.   Yes.
2             Q.   And approximately how many times?
3             A.   I think nine times.
4             Q.   Okay.     And is -- are all of those depositions
5       ones in which you testified on behalf of Experian?
6             A.   Yes.
7             Q.   Okay.     And --
8                         MS. BRASTER:      Miles --
9             Q.   (BY MR. CLARK) -- are all of those --
10                        MS. BRASTER:      -- this is Jen.       If I can
11      interject real quick.         I'm going to see if I can just
12      turn up the conference call phone real quick.                Can you
13      just give me one second?
14                        MR. CLARK:      Sure.
15                        MS. BRASTER:      Thanks.
16                        (Pause in proceedings)
17                        MR. CLARK:      All right.     And just -- just --
18      just for the record.        So I'm the only one appearing
19      telephonically, everybody else is in Dallas; is that
20      correct?
21                        MS. BRASTER:      Yes.    And for the record,
22      this is Jennifer Braster the attorney for Experian.
23                        MR. CLARK:      Good.
24            Q.   (BY MR. CLARK)       Okay.     So, Anna, and of
25      those -- of those nine depositions, what -- what was the



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1       first time you were deposed?
2              A.   I don't remember.       It was several years ago.
3              Q.   Okay.    It was several -- so it was several
4       years ago was the first time you were deposed on behalf
5       of Experian?
6              A.   That's correct.
7              Q.   Okay.    Do you -- do you recall being deposed on
8       February 24th in a case called Lynn Travers?                Twelfth --
9       February 24th of this year?
10             A.   Yes, I -- I don't remember the date, but I
11      remember being deposed for Lynn Travers.
12             Q.   And -- and, Anna, during the course of the --
13      this deposition, I'll make several representations to
14      you.    And when I make a representation to you that you
15      can -- you can rely on that.           You can rely on the fact
16      as true.     And if I'm wrong, that's going to be on me.
17      Is that okay?
18             A.   Yes.
19             Q.   Okay.    So do you recall -- so I'll represent to
20      you that -- that your deposition was taken -- or
21      Experian's deposition was take on -- in a case called
22      Lynn Travers and that was 16-CV-18 --
23                         THE REPORTER:     Sir, I need you --
24                         MR. CLARK:     -- District Court --
25                         THE REPORTER:     It is it a bad -- sir --



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1                          MR. CLARK:     -- 27 --
2                          THE REPORTER:      I can't understand you.         I
3       need you to either -- slow down a little bit.                The
4       connection is not great.
5                          MR. CLARK:     All right.      Well, this is --
6       I've -- I've appeared telephonically on a number of
7       cases and we've done so through Jones Day's conference
8       line --
9                          THE REPORTER:      Okay.
10                         MR. CLARK:     -- the connection has never
11      been a problem before.         I don't know why it would be a
12      problem today.       But if -- just let me know --
13                         THE REPORTER:      Okay.
14                         MR. CLARK:     All right.      Should I repeat my
15      last question?
16                         THE REPORTER:      Please.
17             Q.   (BY MR. CLARK)       All right.     And I'll just
18      rephrase it.
19                         Anna, I'll represent to you that I deposed
20      you appearing on behalf of Experian on February 24,
21      2017, in a case called Lynn Travers, which is Case No.
22      16-CD-1848; is that okay?
23             A.   Yes.
24             Q.   Okay.    And do you recall being deposed in a
25      case called Serena Goodman on March 3, 2017, sitting on



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1       behalf of Experian?
2              A.   Yes.
3              Q.   Okay.    And do you recall sitting in as
4       Experian's 30(b)(6) witness on March 9th, 2017, in a
5       case called Michael Hannan, 16-CD-1814?
6              A.   Yes.
7              Q.   Okay.    Okay.    And in -- in those three cases --
8       and I'll refer to them as Travers, Goodman and Hannan,
9       you gave testimony as Experian's 30(b)(6) witness; is
10      that correct?
11             A.   Yes.
12             Q.   And -- okay.      And so the -- so those are three
13      of the nine times that you say you've been deposed.
14      Were you deposed -- and so you said the first time you'd
15      been deposed was several years ago, correct?
16             A.   Yes.
17             Q.   Okay.    Any other of the remaining six
18      depositions -- did any of the other depositions take
19      place a few -- a few months ago or a few years ago or --
20      or over what time period did those other five
21      depositions take place?
22                         MS. BRASTER:      Objection; compound.
23                         THE WITNESS:      Within the last ten months,
24      maybe, the other five depositions took place.                Other
25      than one that was several years back.



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1              Q.   (BY MR. CLARK)       And so -- so it's fair to say
2       you were deposed once and then there was a gap of
3       several years and then you've been deposed eight times
4       in the last ten months?
5              A.   Roughly, yes.
6              Q.   Okay.    And -- and the reason I ask, Anna, is
7       just to -- to gauge your familiarity with taking a
8       deposition.      The -- so before the Lynn Travers
9       deposition on February 24th, 2017, how many of your --
10      how many times had you been deposed back at that time
11      that you sat for that deposition?
12             A.   I don't remember.
13             Q.   Okay.    Would it -- have you been deposed --
14      other than the three depositions that I've pointed out a
15      moment ago, have you ever been deposed at any point in
16      time after February 14, 2017?
17                        MS. BRASTER:       Objection to vague.
18                        THE WITNESS:       Yes.
19             Q.   (BY MR. CLARK)       Okay.    And how many times have
20      you been deposed since February 24th of 2017?
21             A.   Maybe two.      But I don't remember.        I didn't
22      look at my deposition dates before today's depo.
23             Q.   Okay.    So maybe -- maybe -- maybe two, maybe --
24      maybe one or two more; is that fair to say?
25                        MS. BRASTER:       Objection to the extent it



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1       misstates her testimony.
2                          THE WITNESS:      I think so.
3              Q.   (BY MR. CLARK)       Okay.    All right.     So you --
4       you have some familiarity with your deposition.                 Would
5       you like me to go over the general admonitions for
6       taking a deposition?
7              A.   No thank you.
8              Q.   Okay.    I will have to ask you a few things,
9       Anna, which you're are probably -- probably aware of.
10      Number one, because this is a -- I'm appearing
11      telephonically, I'll just ask you to wait -- and I'm
12      sure that we -- both of us will -- will get this wrong
13      at certain points during the course of the deposition.
14      But since we're doing this deposition telephonically, if
15      you could please wait to answer my question until the
16      full question is presented, I'll try to -- I'll try not
17      talk over you and I'd appreciate if you didn't talk over
18      me.    It may be difficult for us to anticipate where the
19      other is pausing, given that we can't see each other,
20      but I'll -- I'll do my best if -- if you do too; is that
21      all right?
22             A.   Yes.
23             Q.   Okay.    And because this is a deposition
24      we're -- we -- we're interested in answers that are like
25      yes or no and not like uh-huh and huh-uh.               That means



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1       that the -- that also means that if an answer calls for,
2       you know, a -- a -- a nod of the head or a shake of the
3       head, we would like you to respond with an affirmative
4       yes or no.      Is that okay?
5              A.    Yes.
6              Q.    Okay.   And if -- if I ask a question that you
7       don't know what is -- what I'm asking, I ask plenty of
8       bad questions.       Don't -- you can always ask me if you --
9       you need clarification on what I'm -- the question I've
10      asked.      Is that all right?
11             A.   Yes.
12             Q.   And again, if you need a break at any time,
13      just ask and I'll just ask that you answer the question
14      that I have pending before we take a break.                Is that all
15      right?
16             A.   Yes.
17             Q.   And you're aware that you have to tell the
18      truth today, correct?
19             A.   Yes.
20             Q.   And you must answer my questions without any
21      coaching from your counsel?
22             A.   Correct.
23             Q.   And you're here to testify as Experian's
24      30(b)(6) witness today, correct?
25             A.   Yes.



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1              Q.   And you understand that your answers today bind
2       the company?
3              A.   Yes.
4              Q.   And have you had any drugs or alcohol in the
5       last 24 hours that would impair your ability to answer
6       my questions truthfully and accurately?
7              A.   No.
8              Q.   Is there any other reason you can't testify
9       truthfully and accurately today?
10             A.   No.
11             Q.   Do you have any questions for me at all before
12      we begin?
13             A.   No.
14             Q.   So, Anna, I -- I mentioned before that I would
15      make certain representations to you and -- during the
16      course of the deposition and I'll make several
17      representations to you here just for purposes of getting
18      us both on the right -- on the right track.                And so --
19      so just listen carefully and then -- and then we'll --
20      we'll get started.
21                         So the first thing I'll represent to you is
22      that Mr. Ashcraft, John Ashcraft, who is the plaintiff
23      in this case, filed a Chapter 7 Bankruptcy Petition in
24      the US Bankruptcy Court for the District in Nevada on
25      April 29, 2011.



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1                          Is that okay?
2              A.   Yes.
3              Q.   The second thing I'll represent to you is that
4       Mr. Ashcraft's bankruptcy was discharged in August 2011.
5       Is that all right?
6              A.   Yes.
7              Q.   And I'll finally, for now, I'll represent to
8       you that the -- that Mr. Ashcraft filed his complaint
9       with the U.S. District Court for the District of Nevada
10      on December 22, 2016.         Is that all right?
11             A.   Yes.
12             Q.   And I may -- may make some other
13      representations while we go along.
14                         So now let me -- let me ask you basically,
15      do you know why you're here today?
16             A.   Yes.
17             Q.   And why are you here?
18             A.   To sit as a 30(b)(6) for Experian.
19             Q.   And what did you do to prepare for your
20      deposition?
21             A.   I sat with my attorney.
22             Q.   Okay.    And -- and when did you talk to your
23      attorney?
24             A.   Yesterday.
25             Q.   And about for how long?



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1              A.   About four hours.
2              Q.   And was anyone else besides you and your
3       attorney present for the conversation?
4              A.   It was me and two of my attorneys.
5              Q.   Okay.    And who were the attorneys that were
6       present?
7              A.   Jennifer Braster and Andrew Cummings a.
8              Q.   And who is Andrew Cummings?
9              A.   He is an attorney for Experian.
10             Q.   Okay.    And so it's fair to say he helped you
11      prepare for today's deposition, along with Jennifer
12      Braster?
13             A.   Yes.
14             Q.   But he's not on the call with us today,
15      correct?
16             A.   Correct.
17             Q.   Okay.    Let's see.      Okay.
18                         MR. CLARK:     So let's see.      At this point,
19      Madam Court Reporter, you have a list of -- a binder
20      with exhibit tabs in it; is that correct?
21                         THE REPORTER:      Yes, we do.
22                         MR. CLARK:     Okay.    And, Jen, let's see.            I
23      had -- I had one copy printed, but I'm going to be able
24      to refer you to Bates numbers for -- for each of the
25      exhibits that I -- that I intend to enter.               The only



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1       exception is going to be the one that I enter now, which
2       is going to be the First Amended Deposition Notice and
3       Amended Objections.         Okay?
4                          MS. BRASTER:      Okay.
5                          MR. CLARK:     All right.      So, Madam Court
6       Reporter, if you could please enter Tab 1A and Tab 1B
7       as -- together as Exhibit 1, please.
8                          (Exhibit 1 was marked)
9                          MR. CLARK:     Thank you.
10             Q.   (BY MR. CLARK)       Okay.    So, Anna, please take a
11      moment to look over what I've had the court reporter
12      mark as Exhibit 1 and let me know when you're ready to
13      proceed.
14             A.   Okay.    I'm ready.
15             Q.   All right.      So do you recognize the documents
16      that I've had marked as Exhibit 1?
17             A.   Yes.
18             Q.   Okay.    Have you seen them before?
19             A.   Yes.
20             Q.   And what are they?
21             A.   Amended Notice of Deposition.
22             Q.   Okay.    Is there another document attached as
23      Exhibit 1, aside from the Amended Notice of Deposition?
24             A.   (Looked at document.)         Yes.
25             Q.   Okay.    And what is the title of that document?



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1              A.   Amended Objections to the First Amended Notice
2       of Deposition.
3              Q.   Okay.    I just wanted to make sure -- and -- and
4       you've seen the amended objections as well, right?
5              A.   Yes.
6              Q.   Okay.    So did you -- did you review this notice
7       and these amended objections in preparation for your
8       deposition today?
9              A.   Yes.
10             Q.   Okay.    So what I would like you to do is
11      looking at the Amended Notice of Deposition, there is a
12      list of deposition topics listed on -- from page six
13      through -- through ten of the amended notice.                And I
14      would like -- I would like you to look through those --
15      those pages and then just -- as you're -- as you're
16      reading through topics, let me know if there are any
17      topics for which you're not able to testify to today.
18      Is that all right?
19             A.   Yes.
20                         MS. BRASTER:      I'm just going to object to
21      the extent that we had a meet and confer on this and we
22      stand by our amended objections.            But the witness can
23      still answer.
24                         MR. CLARK:     Understood.      That's why I
25      introduced amended objections as well.



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1                         MS. BRASTER:       Yeah.    No.   Understood.
2                         THE WITNESS:       Topic O and S.
3              Q.   (BY MR. CLARK)       And topic O and S, are those
4       subtopics of a particularly numbered topic?
5              A.   Number four.
6              Q.   Okay.    Topic number four, O and S.           Anything
7       else?
8              A.   (Looked at document.)         Topic 12 about adverse
9       action, risk factor and denial codes.               Topic 14 --
10             Q.   Okay.
11             A.   -- for quotas and productivity targets.
12      Topic 16.
13             Q.   Okay.    Other than -- sorry -- topic 16, sorry.
14             A.   Yes, topic 16.
15             Q.   Okay.
16             A.   (Looked at document.)         The rest I can talk
17      about some with just a high overview.
18             Q.   When you say the rest I can talk about some
19      with just a high overview, when you say "the rest," what
20      do you mean?
21             A.   The rest of the topics that you've had me
22      review.
23             Q.   So you are not able to testify as to specifics
24      on any of those topics?          When you say high -- I want to
25      understand what high overview means in your mind.



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1              A.   It is a general term I use.           Maybe some topics
2       I would just have a high overview instead -- and other
3       topics I would be able to give you more specific --
4       specifics and details once you ask me about them.
5              Q.   Okay.    So we don't know right now the extent to
6       which you're able to provide testimony until I ask the
7       question.      Is that fair to say?
8                         MS. BRASTER:       Objection to the extent it
9       misstates her testimony.
10                        THE WITNESS:       It's fair to say I would be
11      able to answer a question -- a specific question from
12      you best, instead of just trying to answer generally
13      right now without getting a specific topic to talk
14      about.
15             Q.   (BY MR. CLARK)       I understand.      Let me -- let me
16      just make sure that there are no -- there are no
17      surprises later in the deposition.
18                        What topics of -- other than the ones you
19      just listed that you will not be able to testify to,
20      which of the remaining topics are ones for which you
21      believe you can give only, as you -- as you say, a high
22      overview of any questions posed within that topic?
23             A.   I'm not able to answer it.          It's a very general
24      question.      I would need you to ask me about a specific
25      topic for me to know -- you know, it has to be a more



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1       specific question about a topic.
2              Q.   Okay.    Well then, I -- I'm afraid -- we did
3       hold a meet and confer, I'll represent to you, on -- on
4       your deposition and I will tell you that we -- this
5       is -- this is not a -- an answer that has been given, I
6       think in response to other times you've been deposed.
7       What I'm going to have to do is I'm going to have to go
8       topic by topic and ask you specifically for each topic
9       whether this is one for which you would -- you believe
10      you can a high overview, as you have characterized it.
11      Or one in which you -- you have -- you have more
12      specific knowledge.
13                        So I'm sorry I have to do this.            But based
14      on your answer, I don't think I have a choice.
15                        So let's start with topic one.            Is topic
16      one -- and -- and so if I refer to a -- a high overview,
17      I don't know what you mean by that.             So I have to use
18      your term.      Let me know if you don't understand the use
19      of your term.       And I will try to ask another question.
20                        But my first question is with the topic
21      one.    Is topic one a -- a -- topic for which you can
22      only provide, as you have stated, a high overview?
23             A.   No.
24             Q.   What about topic two?
25             A.   No.



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1              Q.   What about topic three?
2              A.   No.
3              Q.   What about topic 4A to 4N and 4P through 4R?
4              A.   No.
5              Q.   What about topic five?
6              A.   No.
7              Q.   What about topic six?
8              A.   No.
9              Q.   What about topic seven?
10             A.   No.
11             Q.   What about topic eight?
12             A.   No.
13             Q.   What about topic nine?
14             A.   No.
15             Q.   What about topic ten?
16             A.   No.
17             Q.   What about topic 11?
18             A.   No.
19             Q.   What about topic 13?
20             A.   No.
21             Q.   What about topic 15?
22             A.   No.
23             Q.   What about topic 17?
24             A.   No.
25             Q.   What about topic 18?



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1              A.   Yes.
2              Q.   What about topic 19?
3              A.   No.
4              Q.   All right.      So of the topics for which you have
5       indicated that you can only give a high overview only
6       topic 18 is one for which you believe you can only
7       provide a high overview?
8              A.   Yes.
9              Q.   All right.      Did you understand what -- what I
10      meant when -- when I used the term "high overview"?
11             A.   Yes.
12             Q.   Do you have any questions about the language
13      or -- I'm sorry.
14                         Do you have any --
15                         Strike that.
16                         Do you have any questions about -- about
17      any of the deposition topics, either as -- as they have
18      been phrased or how -- what they're asking for or do you
19      have any other questions about the topics themselves
20      that I can clarify in advance of asking you questions
21      today?
22                         MS. BRASTER:      Objection; compound and
23      vague.
24                         THE WITNESS:      I don't have any questions at
25      the moment.



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1              Q.   (BY MR. CLARK)       Okay.     Is there any reason why
2       you feel you don't understand what any of the particular
3       topics for which you can provide testimony today is --
4       is asking?
5                          MS. BRASTER:      Objection to vague and
6       standing by our amended objections.
7                          THE WITNESS:      No.
8              Q.   (BY MR. CLARK)       Turning to topic 16.        You said
9       you are not able to provide testimony today is that --
10      did I hear you correctly?
11             A.   Yes.
12             Q.   Why?
13             A.   I do not know what online data exchange is.
14             Q.   You've never heard the term "online data
15      exchange"?
16                         MS. BRASTER:      Objection; outside the scope.
17                         THE WITNESS:      I've heard of it in other
18      depositions.
19             Q.   (BY MR. CLARK)       Other than in online -- other
20      depositions, you've never heard of the term "online data
21      exchange"?
22                         MS. BRASTER:      Same objection.       Asked and
23      answered.
24                         THE WITNESS:      That is correct.
25             Q.   (BY MR. CLARK)       Okay.     So the -- the term



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1       "online data exchange" has never come up in your -- the
2       course of your work at Experian?
3                         MS. BRASTER:       Objection; outside scope.
4                         THE WITNESS:       That is correct.
5                         MR. CLARK:      Okay.    I'm going to leave the
6       deposition open on topic 12, 14, 16 and topic one -- O
7       and S -- sorry.       Topic four, subtopics O and S.            As well
8       as for topic 18, which is the -- which is a -- for which
9       any question I ask call for something other than a high
10      overview.
11                        Anna, that's not a -- that doesn't --
12      that's not meant accusatory in any way.              We don't want
13      you to testify in any way that -- that forces you to
14      guess or forces you to -- to, you know, speculate as to
15      the answer.      But it is my right to hold the deposition
16      open on a series of topics if you were not able to
17      testify.     I am doing so now.        And we'll -- we'll see how
18      that goes.
19                        MS. BRASTER:       And we're just -- I will
20      object to leaving it open on those topics.                But that's
21      certainly a conversation for another day.               I'm not going
22      to go through the objection with everybody on the phone.
23      So we can move forward.
24                        MR. CLARK:      Of course.      Okay.
25             Q.   (BY MR. CLARK)       Anna, thank you very much for



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1       that.    You can -- you can place Exhibit 1 aside.               And
2       we'll just do some background questions.
3                         I apologize.       You've probably heard these
4       before, but I -- this is another deposition and we have
5       not reached an agreement which would permit me to not
6       ask them.
7                         So I'll have to ask some of them again.
8       I'm sure these -- the answers will be familiar to you.
9                         So, Anna, if you could please tell me a
10      little bit about your educational background?
11             A.   I have a bachelor's degree.
12             Q.   Okay.    And when did you start working for
13      Experian?
14             A.   May of 2004.
15             Q.   What was your first job at Experian?
16             A.   I was a customer service agent.            I believe
17      that's what the title was, but I'm not exactly sure.
18             Q.   Okay.    And about how long did you have that
19      job?
20             A.   For about seven months.
21             Q.   What time period did you have that job?
22             A.   May of 2004 until July -- I'm sorry.             Until
23      December of 2004.
24             Q.   And did -- what -- is customer service agent a
25      job that still exists as Experian?



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1              A.   Yes.
2              Q.   Could you just tell me in general what your job
3       duties were as a customer service agent?
4              A.   Yes.    In general, they were to assist consumers
5       with disputes they might have regarding information on
6       their credit report.
7              Q.   Okay.    And after December of 2004 -- let me ask
8       you this.      Have -- since May of 2004 have you worked for
9       Experian continuously?
10             A.   Yes.
11             Q.   Okay.    And so after December 2004 did you take
12      another job with Experian?
13             A.   Yes.
14             Q.   What was the name of that job?
15             A.   Senior regulatory affairs associate.
16             Q.   And about how long did you have that job?
17             A.   Until June of 2016.
18             Q.   Okay.    And so could you tell me just in general
19      is -- what that job entailed?
20             A.   I still assisted consumers with disputes they
21      might have regarding information on their credit files.
22      But we received the disputes through other venues, such
23      as an attorney that would be representing a consumer.
24      Could be a regulatory agency.           Media venue, attorney
25      general's office, a BBB office, a Congressional office.



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1              Q.   Okay.    So -- and -- and -- and when did you --
2       sorry.      When did you leave that job again?
3              A.   June of 2016.
4              Q.   And you testified before that you had been
5       deposed nine times, correct?
6              A.   I -- I stated roughly nine times.            I -- I
7       didn't memorize --
8              Q.   Okay.
9              A.   -- before I came today.
10             Q.   I understand.      And -- and I'm not -- the -- I'm
11      not -- I'm not asking that figure.             I thought I heard
12      you say definitively, but if you said roughly that's --
13      that's fine.      I don't want to put words into your mouth.
14                        And -- but the first deposition, if I
15      recall correctly, was -- was about three years ago?
16                        MS. BRASTER:       Objection to the extent it
17      misstates her testimony.
18                        THE WITNESS:       I didn't state three years.
19      It was several years ago and I don't remember when it
20      was.
21             Q.   (BY MR. CLARK)       Okay.    But if it was several
22      years ago, I -- the question I'm trying to get to is --
23      were you deposed for the first time while you were in
24      the job you just described for Experian, the senior
25      regulatory affairs associate?



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1              A.   I was a senior regulatory affairs associate
2       when I was first deposed.
3              Q.   Okay.    And were you deposed as Experian's
4       30(b)(6) witness at that time?
5              A.   No.
6              Q.   Okay.    Were you deposed as a representative of
7       Experian at that time?
8                         MS. BRASTER:       Objection to vague.
9                         THE WITNESS:       I'm sorry, I don't know
10      the -- the legal explanation for representative of
11      Experian.      So I don't want to answer wrong.
12             Q.   (BY MR. CLARK)       Okay.     I understand.     Did you
13      testify as Experian's 30(b)(6) witness in that -- in the
14      deposition several years ago?
15                        MS. BRASTER:       Objection; asked and
16      answered.
17                        THE WITNESS:       No.
18             Q.   (BY MR. CLARK)       Okay.     And that was the
19      only -- did you -- at that deposition did you testify as
20      to your position as a senior regulatory affairs
21      associate?
22             A.   I was a senior regulatory affairs associate
23      when I had that depo.
24             Q.   Okay.    And -- and do you recall the name of the
25      case for which you testified?



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1              A.   I do not.
2              Q.   Okay.    Other than the three depositions that I
3       mentioned at the beginning of this -- of our
4       conversation -- and those were, for the record, the
5       Travers, Hannan and Goodman deposition, do you recall
6       the names of any of the cases for which you have been
7       deposed in the past?
8              A.   One name of the plaintiff was Patty Jo Sharp.
9              Q.   Patty Jo Sharp.       And -- and here -- here's a
10      real memory test.        Do you recall how to spell Sharp?
11             A.   Yes.    S --
12             Q.   Okay.    And how do you spell that?
13             A.   S-H-A-R-P.
14             Q.   And do you -- and how long ago did you testify
15      as a Experian 30(b)(6) witness for the -- I'll just
16      refer to it as the Sharp case.            Is that okay?
17             A.   That is okay.      And I -- I don't remember.
18             Q.   Okay.    Was it -- was it -- it was sometime in
19      the last ten months.         Is that fair to say?
20             A.   Yes.
21             Q.   Okay.    And do you recall what district that --
22      what judicial district, if any, that case was -- was --
23      was in at the time you testified?
24             A.   No.
25             Q.   Okay.    Let's see.      Do you recall -- do you



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1       recall any other names of -- of plaintiffs for
2       depositions where you have sat as Experian's 30(b)(6)
3       witness?
4              A.   I recall my last one being -- the last name was
5       King and it was two plaintiffs.            One was Taiwana and
6       other one I think was Shakina.            But I do not remember
7       how to spell either of their first names.
8              Q.   That's -- that's -- that's -- that's totally
9       fine.    And -- but you said it was King, K-I-N-G?
10             A.   Yes.
11             Q.   Okay.    And -- and -- and if you were to
12      estimate, about when did you take that deposition?
13             A.   I believe it was last month.
14             Q.   Okay.    And let me ask you this -- and I'll just
15      refer to that as -- as the King case, if you don't mind?
16      Is that all right?
17             A.   Yes.
18             Q.   For the -- for the Sharp case, do you remember
19      the -- the name of the attorney who -- who deposed you?
20             A.   No.
21             Q.   Okay.    You don't remember their first name or
22      their last name?
23             A.   No.
24             Q.   Okay.    What about for the Sharp case -- or did
25      I just ask -- I think I just asked you about the Sharp



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1       case.    So what about for the King case?
2              A.   I do not remember.
3              Q.   Okay.    Fair enough.      All right.      So let's see.
4       In -- so in -- in the summer of 2006 (sic) you took
5       another position at Experian; did you not?
6                         MS. BRASTER:       I'm sorry, Miles.       Can you
7       repeat that?      Did you say the summer of 2006?
8                         MR. CLARK:      2016.
9                         MS. BRASTER:       Thank you.
10                        THE WITNESS:       Yes.
11             Q.   (BY MR. CLARK)       And what was the name of that
12      job you took?
13             A.   Senior legal and compliance specialist.
14             Q.   Okay.    And what does a -- a senior legal and
15      compliance specialist do at Experian in general?
16             A.   In general, I assist with federal litigation
17      that has been filed against Experian.
18             Q.   And when you say assist with federal litigation
19      filed against Experian, what do you mean?
20             A.   I work with Experian's attorneys regarding
21      federal cases filed against Experian.
22             Q.   Okay.    And when you say work with attorneys,
23      what do you mean?
24             A.   I research and answer their questions.
25             Q.   And when you say research and answer their



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1       questions, what do you research?
2                         MS. BRASTER:       I object to the extent it
3       calls for work product or attorney/client
4       communications.       And to the extent your answer would
5       call for that type of information, I would instruct you
6       not to answer.
7                         MR. CLARK:      That's fine.      And, Anna, I --
8       I -- I agree.       I don't want you to provide me with the
9       substance of any information which is privileged.                 I'm
10      asking as -- as -- as you might say a high overview.
11      I'm not asking for any specific information related to
12      any particular case.         I'm just trying to get an idea
13      of -- in general of what you do in your -- in your
14      current job.
15                        THE WITNESS:       And what was the last
16      question?
17                        MR. CLARK:      Madam Court Reporter, could you
18      read back my last question, please?
19                        THE REPORTER:       (Read back.)
20                        MS. BRASTER:       Same objections.
21                        THE WITNESS:       Whatever they ask me to
22      research regarding a consumer that might have filed
23      federal litigation against Experian.
24             Q.   (BY MR. CLARK)       Okay.    And when you say -- when
25      you say whatever, are there things that are commonly --



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1       that you are commonly asked to research on a regular
2       basis?
3                         MS. BRASTER:       At this point if it's asking
4       questions regarding exactly what she researches for
5       attorneys, I will instruct Ms. Simmons not to answer on
6       the grounds of work product.
7                         MR. CLARK:      And -- and -- and to be clear,
8       I am asking in general what she does in her job.                 I'm
9       not asking for information in any particular case.                  I
10      think that if she's unable to answer those questions,
11      it's hard to get an understanding about what
12      Ms. Simmons' job actually entails.
13                        MS. BRASTER:       If it's a higher --
14                        MR. CLARK:      But we can --
15                        MS. BRASTER:       I'm sorry.     Go ahead.     I
16      thought you were finished.
17                        MR. CLARK:      Sorry.    No, no.     You go.
18                        MS. BRASTER:       I was going to say then if
19      the high overview, then I'm just going to object as to
20      asked and answered.
21             Q.   (BY MR. CLARK)       So Ms. Simmons, are you
22      refusing to answer my question about what you do in your
23      current job?
24                        MS. BRASTER:       Same objection.       Asked and
25      answered.



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1                         THE WITNESS:       No, I did not refuse to
2       answer your question.
3              Q.   (BY MR. CLARK)       Okay.    So will you answer my
4       question then?
5              A.   I'm sorry, can you repeat the last question?
6                         MR. CLARK:      Certainly.
7                         Madam Court Reporter, could you read back
8       the last question, please, before the objection?
9                         THE REPORTER:       (Read back.)
10                        MS. BRASTER:       Object to the extent it calls
11      for privileged communications and asked and answered.
12                        THE WITNESS:       Yes.
13             Q.   (BY MR. CLARK)       Okay.    And what are those
14      things?
15                        MS. BRASTER:       I'm going to object again to
16      the extent it calls for privileged information.                 If it's
17      a general answer, you may answer.             But any specifics, I
18      would instruct you not to answer.
19                        (Phone beeped)
20                        MS. BRASTER:       Did somebody else just call
21      in?    There was a blip on the phone?
22                        MR. CLARK:      Yeah.     I heard that too.
23                        Did -- did somebody else call in?             If you
24      could, please identify yourself.
25                        MS. CHIUSANO:       Miles, it's me Lucille.



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1                         MR. CLARK:      Okay.    So for the record
2       everyone, the -- the person on the call is Lucille
3       Chiusano, who is my assistant at my law firm.                She'll be
4       observing the deposition today.
5                         And, Lu, when you get on and off the
6       conference, if I could just have you identify yourself.
7       They're not giving us the -- the prompt to say who we
8       are.    So we want to make sure that -- because it's
9       telephonic, we want to make sure that everybody knows
10      who is on the call at any given time.
11                        Is that all right?
12                        MS. CHIUSANO:       That will be fine.
13                        MR. CLARK:      Okay.    Thank you very much.
14      All right.      Sorry about that, Folks.
15                        But, Anna, would like -- would you like to
16      hear the last question again?
17                        THE WITNESS:       Yes, please.
18                        MR. CLARK:      Okay.    You're welcome.
19                        Madam Court Reporter, could you read back
20      my last question, please?
21                        THE REPORTER:       (Read back.)
22                        MS. BRASTER:       Same objections.
23                        THE WITNESS:       Can you please ask me the
24      question again?       I heard your question, Madam Court
25      Reporter, but I think I might need a more detailed



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1       question again, please.
2              Q.   (BY MR. CLARK)       Well, let me -- let me ask you
3       this, Anna.      Do you recall giving background information
4       or testifying as to the background information of your
5       current job in the Lynn Travers deposition?
6              A.   I don't recall what I stated about my job in
7       that deposition, I'm sorry.
8              Q.   That's okay.      And that -- that -- that
9       testimony isn't before you.           I'm just recalling.        Do you
10      recall in general giving answers to questions about your
11      background information at that deposition?
12             A.   I do recall answering background questions at
13      that deposition.
14             Q.   Okay.    And do you recall answering background
15      questions at the Goodman deposition?
16             A.   Yes.
17             Q.   And do you recall answering background
18      questions at the Hannan deposition?
19             A.   Yes.
20             Q.   And so those -- those answers you gave, those
21      answers were -- to those depositions were true and
22      correct to the best of your knowledge?
23                         MS. BRASTER:      Objection.     Outside the
24      scope.      Improper.
25                         THE WITNESS:      Yes.



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1              Q.   (BY MR. CLARK)       Okay.    All right.     We can move
2       on.
3                          Okay.    So other than answering questions
4       from your attorney, are there any other -- sorry.                 From
5       the Experian attorneys to be -- to be sure, to the
6       degree that I said something slightly different than how
7       you describe your role, I apologize.              But other than
8       answering questions from -- from attorneys, is there any
9       other task that you generally engage in at your current
10      job?
11             A.   That is my main function is to work with the
12      attorneys in regard to federal litigation filed against
13      Experian.
14             Q.   Okay.    Do you -- as part of your job, do you
15      also -- do you also sit for depositions like this one?
16             A.   Yes.
17             Q.   Okay.    And after June of 2016, is that -- was
18      it only after that time that you began sitting for
19      depositions like this one at Experian's 30(b)(6)
20      representative?
21             A.   Yes.
22             Q.   Okay.    And you said the first time you sat
23      through a deposition was about ten months ago?                 You
24      can't remember the date, I understand, but it was about
25      ten months ago?



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1                         MS. BRASTER:       Objection to the extent it
2       misstates her testimony.
3                         THE WITNESS:       Are you asking me as a
4       30(b)(6)?
5                         MR. CLARK:      Correct.
6                         THE WITNESS:       I -- I -- roughly ten months
7       ago, I would imagine so, yes.
8              Q.   (BY MR. CLARK)       Okay.    All right.     So let's
9       see -- and let me ask you this before I transition into
10      the -- in the main entrée of the deposition.                No. 1,
11      Anna, if you want to take a break right now, we're about
12      to transition into a different area.              So I'm happy to
13      give you one.
14                        So I'll ask you that question first.
15      Would you like a break before we start on another line
16      of conversation?
17             A.   No.   I'm okay to keep going if everybody else
18      is.
19             Q.   Fantastic.
20                        MS. BRASTER:       Why don't we take a break in
21      a half hour or so and then I can check on lunch and find
22      timing for that and all that good stuff.
23                        MR. CLARK:      That sounds like a good idea.
24      So great.      So, yeah, Anna, again, if you need a break at
25      any point in time, this is not an endurance test, just



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1       let me know.
2              Q.   (BY MR. CLARK)       So with that, let me ask you:
3       Did you review any documents in preparation for your
4       deposition today, in addition to speaking with your
5       attorneys?
6              A.   Yes.
7              Q.   And do you recall -- I know we talked about the
8       Deposition Notice and the First Amended Deposition
9       Notice and the Amended Objections.             But were there any
10      other besides those two documents?             Were there any other
11      documents that you reviewed?
12             A.   Yes.
13             Q.   Okay.    And although you may not recall all of
14      them, do you recall maybe some of the documents that you
15      looked at?
16             A.   Yes.
17             Q.   And what are those -- what are the documents
18      that you recall looking at in preparation for your
19      deposition today?
20             A.   Disclosure log, D/R Log, transaction log, mail
21      correspondence.       Disclosure.      CDF.    Admin report.      ACDV.
22      Interrogatories.
23             Q.   Anything else that you can recall?
24             A.   I cannot recall anything else right now.
25             Q.   Okay.    Just before we get -- Anna, do you have



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1       any notes or anything else in front of you within --
2       within eyeshot that you're -- that you're looking at
3       while you answer these questions?
4              A.   In front of me I have a piece of paper where I
5       wrote down the bankruptcy dates you gave me and
6       complaint filing date you gave me.
7              Q.   Okay.    So you didn't bring any notes or
8       anything into the deposition with you today?
9              A.   I did not.
10             Q.   And you're not able to look at your
11      attorney's -- any notes that your attorney may -- may
12      have in front of them.         And I don't want to know what
13      those are.      I was just wondering if you can see them,
14      if they exist, because I'm not there.
15             A.   I'm not looking at anybody's notes, no.
16             Q.   Okay.    And -- and so I would ask that you not
17      do that during the deposition unless -- unless
18      instructed to do so by -- if the question calls for
19      it or because we have something logistical that comes up
20      that requires you to look at your attorney's laptop
21      screen, if she's got one there.            Is that all right?
22             A.   Yes.
23                         MS. BRASTER:      Miles, I'll represent to that
24      I have my laptop turned so she can't see it and I also
25      have my notes on the other side so she can't see them.



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1       Nor would I have her look at my notes or my laptop
2       screen.
3                         MS. BRASTER:       I understand that.        And --
4       and -- and I would not expect that.             But just because
5       I'm not there, I just want to, out of an abundance of
6       caution, make sure that that's the -- that's the -- the
7       circumstances on the ground.           If I had been present, I
8       probably would not have asked that question at all.
9              Q.   (BY MR. CLARK)       Okay.    So --
10                        MR. CLARK:      Madam Court Reporter, if you
11      could please introduce --
12                        And, of course, Anna, the exception to the
13      paperwork in front of you will be any exhibits that I --
14      that I have -- that I have introduced for you to look
15      at.    Obviously, I -- I want you to look at those, so...
16                        Just so we're clear.
17                        Madam Court Reporter, if you could
18      introduce Tab 2 as Exhibit 2, please?
19                        THE REPORTER:       Okay.
20                        (Exhibit No. 2 was marked)
21                        MR. CLARK:      And, Jen, for reference, this
22      is Experian 1 through 93.
23                        MS. BRASTER:       Experian 1 to 93.       Got it.
24      Thank you.
25                        MR. CLARK:      Correct.     Sure.



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1              Q.   (BY MR. CLARK)       And, Anna, do you have
2       Exhibit 2 in front of you?
3              A.   Yes.
4              Q.   Could you please take a moment and look through
5       exhibit -- Exhibit 2 and just let me know when you've
6       had a chance to review that?
7              A.   Yes, I will do that now.          (Looked at document.)
8              Q.   Thank you.
9              A.   I'm finished.
10             Q.   So let me first ask a general, did you review
11      all of the material contained in Exhibit 2 in
12      preparation for your deposition today?
13             A.   Yes.
14             Q.   Okay.    So let's see -- I'll now direct you to
15      specific pages of Exhibit 2 and we'll just go through
16      them in general.        But if you could direct your attention
17      first to pages 1 to 46, please?            When I say 1 to 46, I'm
18      going to be referring to -- there's a number on the
19      lower left -- right-hand corner of the page that says
20      EXP-ASHCRAFT and then has a number -- a row of numbers.
21      If it's okay with you, just to make things easier as we
22      go back and forth between pages, I'll just refer to
23      the -- the number.        So, for example, number one, number
24      35, number 28, when I'm referring to pages in -- in
25      exhibits.      Is that -- is that okay with you or would you



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1       like me to say the entire number?
2              A.   It is okay with me.
3              Q.   Okay.    And if you have any questions about --
4       if -- if what I say is not clear about where I'm
5       directing your attention, please let me know and I'll be
6       happy to clarify.        So I will direct you first to pages 1
7       through 46.      And I'll ask you -- well, what -- what
8       in -- in your mind these pages are?
9              A.   This is the mail correspondence Experian
10      received for Mr. John Ashcraft.
11             Q.   And when you say mail correspondence, what do
12      you mean?
13             A.   I mean mail that Experian received regarding
14      Mr. Ashcraft.       And when looking through it, there is a
15      dispute regarding information on his credit file.
16             Q.   Okay.    And when you say there is a dispute
17      regarding information on his credit file, are you
18      looking at particular pages within one to 46 to make
19      that conclusion?
20             A.   (Looked at document.)         Yes.
21             Q.   And what pages are you looking at?
22             A.   It appears the dispute starts on page one.
23             Q.   Okay.    And how many pages does the dispute
24      comprise of?
25                        MS. BRASTER:       Objection to the extent it



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1       calls for a legal conclusion.
2                          THE WITNESS:      The verbiage ends on page
3       three.      However, there's, you know, additional
4       attachments.
5              Q.   (BY MR. CLARK)       So it's a three-page letter
6       with -- with a few attachments; is that -- is that your
7       reading of this?
8                          MS. BRASTER:      Objection to vague.
9                          THE WITNESS:      It's a three page -- well, I
10      mean it -- it's a lot more pages.             So I'm sorry, can you
11      please ask me the question again?
12             Q.   (BY MR. CLARK)       Sure.    I'm -- I directed your
13      attention to pages one to 46, did I not?
14             A.   Yes.    That is what I'm looking at.
15             Q.   And you had -- you had characterized those
16      pages as mail correspondence from John Ashcraft to
17      Experian; did you not?
18                         MS. BRASTER:      Objection to the extent it
19      misstates her testimony.
20                         THE WITNESS:      Yes.
21             Q.   (BY MR. CLARK)       And we had -- we had talked
22      about pages one to three as being a -- a dispute from
23      Mr. Ashcraft to Experian?
24                         MS. BRASTER:      Same objection, legal
25      conclusion.



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1                         THE WITNESS:       Yes.
2              Q.   (BY MR. CLARK)       So what do pages four to 46
3       represent?
4              A.   I would have to -- they're all different -- or
5       several of them represent different things.                Are you
6       asking me to -- about a specific page?
7              Q.   Yes, if the pages -- particular pages within
8       four to 46 mean different things, I would like you to
9       tell me what those things are and specify page numbers
10      for which you believe those differences exist.                 Can you
11      do that?
12                        MS. BRASTER:       Objection to vague.
13                        THE WITNESS:       Sure.    I can go through his
14      correspondence and let you know what I think it is.
15                        MR. CLARK:      Thank you.
16                        THE WITNESS:       Page -- page five appears to
17      be a disclosure.        I believe the disclosure ends on page
18      35.
19                        MR. CLARK:      Okay.
20                        THE WITNESS:       I believe page 37 through
21      page 42 -- it appears to be the voluntary petition for
22      bankruptcy for filing Chapter 7 for John Ashcraft.
23                        MR. CLARK:      Okay.
24                        THE WITNESS:       Page 47 through page 64 is a
25      disclosure for John Ashcraft.



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1              Q.   (BY MR. CLARK)       Okay.    Just -- I'll stop you
2       right there.       I was just -- I directed your attention to
3       one through 46.       We'll go through the rest of those
4       pages in a moment.        I just wanted to -- but if you would
5       like to -- actually, let me ask a few housekeeping
6       questions about one to 46.           And then we'll go through
7       the rest of Exhibit 2.         Is that all right?
8              A.   Yes.
9              Q.   Thank you.      I didn't mean to cut you off there.
10      You're -- you're -- you're anticipating my next question
11      and I -- I do appreciate that.            So on -- just to close
12      the loop.      On Ashcraft 36, that looks like a blank page
13      with a line through it, right?
14                         MS. BRASTER:      You said 46, right, Miles?
15                         MR. CLARK:     Thirty-six.
16                         MS. BRASTER:      Oh, I'm sorry.
17                         THE WITNESS:      Yes.
18             Q.   (BY MR. CLARK)       Okay.    And there are a few
19      other pages with -- that are blank with lines through
20      them, right?       I'm looking at, for example, 38 and 40.
21      And 42.     And 44.     Do you see those?
22             A.   Yes.
23             Q.   And is that just -- are those blanks just how
24      they would have scanned Mr. Ashcraft's mail
25      correspondence into records?



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1              A.   I believe so.
2              Q.   Okay.    I'm just trying to make sure we're not
3       missing any pages here.
4                          Okay.    And I believe that the -- let's see.
5       Did we talk about the documents contained on Ashcraft 43
6       and 45, 46?
7              A.   I did not talk about it.
8              Q.   Okay.    So if I could just direct your attention
9       to those pages before we move on and if you could just
10      tell me what those pages are.
11             A.   Page 43 appears to be a copy of a driver's
12      license and a copy of a health insurance, maybe Medicare
13      card.
14             Q.   Okay.    Looking at 43, can you tell who that
15      driver's license and Medicare card -- what the name is
16      listed on those?
17             A.   Yes.
18             Q.   What is the name?
19             A.   John Ashcraft.
20             Q.   What about 45, 46?        What are those pages?
21             A.   Did you say 45?
22             Q.   I -- I did, thank you.
23             A.   Forty-five appears to be a copy of the front of
24      an envelope that states "certified mail."
25             Q.   Okay.    Is there -- is there a date on the



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1       certified -- on 45 that you can ascertain?
2              A.   April 25th.      And more than likely that's 2016.
3              Q.   Okay.    And is there a -- is there a name on the
4       return -- the return address that you can see?
5              A.   Yes.
6              Q.   And what is that name?
7              A.   John Ashcraft.
8              Q.   Who is this certified mailing addressed to?
9              A.   Experian.
10             Q.   Okay.    And -- and if these pages were included
11      in Mr. Ashcraft's mail correspondence, is it fair to
12      conclude that Mr. Ashcraft sent this correspondence to
13      Experian via certified mail on or about April 25, 2016?
14                         MS. BRASTER:      Objection; assumes facts.
15      Foundation.
16                         THE WITNESS:      That's what it looks like.
17             Q.   (BY MR. CLARK)       Okay.    When -- after Experian
18      receives mail correspondence like the kind that we've
19      talked about on pages one through 46, what did Experian
20      do with that mail correspondence after they received it?
21      What is the first thing they do?
22                         MS. BRASTER:      Objection to the extent it's
23      outside the scope.        Vague.
24                         THE WITNESS:      Well, I believe -- I don't
25      know if there's something before this because I don't



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1       know, you know, all the exact steps.              But I believe the
2       first step is opening the mail, reviewing the content of
3       the mail correspondence.          And I'm sorry I guess I went
4       to the second step.         So I will wait for your next
5       question.
6              Q.   (BY MR. CLARK)       That -- that's okay.        That's --
7       that saves me having to ask the question.               So I
8       appreciate it.
9                          Who at Experian opens the mail?
10                         MS. BRASTER:      Same objection.
11             Q.   (BY MR. CLARK)       Is there a name for that type
12      of person?      A -- a job title?
13                         MS. BRASTER:      Same objections.
14                         THE WITNESS:      I do not know that job title.
15             Q.   (BY MR. CLARK)       Is it -- is the job title
16      ACDV agent?
17                         MS. BRASTER:      Same objections.       And assumes
18      facts.      Foundation.
19                         THE WITNESS:      No.
20             Q.   (BY MR. CLARK)       Okay.     Are you familiar with
21      the -- with the ACDV agent?
22             A.   Yes.
23             Q.   Are you familiar with the job title "dispute
24      agent"?
25             A.   Yes.



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1              Q.   Are you familiar with the job title "cast
2       agent"?
3              A.   Yes.
4              Q.   Do any of those individuals with those job
5       titles open the mail at Experian?
6              A.   No.
7              Q.   Does the person who -- does the type of
8       employee at Experian who opens the mail have any other
9       role in Experian's dispute process after the mail is
10      opened?
11                         MS. BRASTER:      Objection; outside the scope.
12      Foundation.
13                         THE WITNESS:      I don't think so.
14             Q.   (BY MR. CLARK)       Okay.    All right.     You
15      testified that after the mail is received it's opened
16      and -- and then what happens after that in the dispute
17      process?
18                         MS. BRASTER:      Objection; outside the scope.
19                         THE WITNESS:      It is reviewed.
20                         MR. CLARK:     Hold on.     Jen, are -- are you
21      saying that Experian's disputes process is outside the
22      scope?
23                         MS. BRASTER:      What I'm saying with respect
24      to the mail sorting procedure pursuant to our meet and
25      confer was that she could testify as to this plaintiff



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1       only.    So if it's generic, I'm not going to instruct her
2       not to answer, but I'm lodging that objection.
3                         MR. CLARK:      Okay.    And I'm not talking
4       about mail sorting procedures.            I'm asking -- I'm asking
5       what Experian does with the mail after it receives in
6       the course of answering a dispute.             That's something
7       else, sorting.       That's -- that's answering the dispute
8       as far as I see it.         So if you're saying that -- you
9       know, we can -- can have disagreement on what my
10      question actually means.          But if what you're telling me
11      is that -- is that you're objecting on the grounds that
12      me asking about Experian's consumer dispute resolution
13      process from the beginning is outside the scope, then I
14      think we're going to have a real problem here.
15                        MS. BRASTER:       Miles, can you give me one
16      second to go back through the topics and just take a
17      quick look.
18                        MR. CLARK:      Sure.
19                        MS. BRASTER:       Okay.    I looked through the
20      objections.      I am going to stand by my objection --
21      excuse me.      I looked through our amended objections
22      which identified topics.          I am going to stand by my
23      objection, but I'm not going to instruct the witness not
24      to answer if it's general questions with respect to a
25      dispute.



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1                         MR. CLARK:      Okay.    So let me understand,
2       you know, why you believe that this is outside the
3       scope.     Are you saying that -- that the process of -- of
4       sending mail correspondence to a -- a particular dispute
5       agent would be not something that is involved in
6       Experian's consumer dispute process?
7                         MS. BRASTER:       I'm not sure I fully
8       understand your question.          What I'm saying is that I
9       don't believe this line of inquiry is contained in the
10      topics that have been propounded, nor in which we
11      identified Anna to testify as to.
12                        MR. CLARK:      Yeah.    I -- I'm going to
13      disagree with you --
14                        MS. BRASTER:       Okay.
15                        MR. CLARK:      -- on whether or not this is
16      within the scope of the topics which have been
17      propounded because clearly I think that you and I would
18      both agree that -- that Experian's disputes resolution
19      process is properly contained within the topics for
20      which the witness has been designated.              Is that fair to
21      say?
22                        MS. BRASTER:       Well, it's fair to say we
23      have a dispute.       You can certainly ask her the
24      questions.      I went back and I looked through the
25      topics --



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1                         MR. CLARK:      I --
2                         MS. BRASTER:       -- and I -- I made that
3       objection in good faith.          I -- I -- that's why I spent a
4       minute here to go back and look through the topics to
5       make sure I was not missing something.
6                         MR. CLARK:      Okay.    I just want to make sure
7       because I know that we've -- we've had disputes which
8       have gone to court where you mentioned, among other
9       things, your -- the fact that I had answered (sic)
10      questions which are outside the scope.              So I want to
11      make sure that I understand why you believe that certain
12      questions that I ask are outside the scope.                If -- it
13      doesn't -- I think that we -- I think we have a
14      disagreement as to whether or not this is -- this line
15      of inquiry is properly contained within a -- within a
16      topic for which the witness had been designated to
17      testify.     But with that being said, we'll -- we'll
18      just -- we'll continue.
19                        MS. BRASTER:       Fair enough.      And I agree.        I
20      think we have a dispute.          I looked through the topics
21      and I don't believe this is contained in one of the
22      topics that we identified Ms. Simmons to testify as to.
23                        MR. CLARK:      All right.      And I -- I -- I
24      disagree with that -- with that contention.
25                        MS. BRASTER:       Okay.



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1                         MR. CLARK:      But we'll -- we'll continue.
2              Q.   (BY MR. CLARK)       Okay, Anna.      Sorry about all
3       that.
4                         Would you like -- would you like me to ask
5       you last question again?
6              A.   Yes, please.
7                         MR. CLARK:      Madam Court Reporter, if you
8       can find it, could you -- could you please read back the
9       last question I had asked the witness, please?
10                        THE REPORTER:       (Read back.)
11                        THE WITNESS:       The mail correspondence is
12      reviewed in its entirety.
13             Q.   (BY MR. CLARK)       Okay.    And who reviews it?
14                        MS. BRASTER:       Same objection.
15                        THE WITNESS:       Again, I'm sorry, I don't
16      know their title.
17             Q.   (BY MR. CLARK)       Okay.    After that review is
18      done, what is the next step in the dispute process?
19                        MS. BRASTER:       Same objection.
20                        THE WITNESS:       I believe that then mail
21      correspondence would be routed into a specific queue.
22             Q.   (BY MR. CLARK)       Okay.    And what kind of queues
23      could it be routed in to?
24                        MS. BRASTER:       Same objection.
25                        THE WITNESS:       Some of the queues it could



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1       be routed to would be for a CDI request or for a regular
2       dispute queue or for a fraud dispute.
3              Q.   (BY MR. CLARK)       Okay.    Are there any other
4       queues you can think of?
5                         MS. BRASTER:       Same objection.
6                         THE WITNESS:       Other than those three, I
7       believe there's a queue where consumers are requesting
8       to be opted out of maybe an Experian mailing list.                  I'm
9       not exactly sure of the exact terminology.
10             Q.   (BY MR. CLARK)       I think I know what you mean.
11      Would that be a opt-out for promotional inquires?
12                        MS. BRASTER:       Objection; foundation.
13      Assumes facts.
14                        THE WITNESS:       Yes.   Yes, it could be that.
15             Q.   (BY MR. CLARK)       And -- and that would be
16      different than a fraud dispute, right?              There would be
17      different queues?
18                        MS. BRASTER:       Objection; outside the scope.
19                        THE WITNESS:       Yes.
20             Q.   (BY MR. CLARK)       Okay.    And so -- so somebody --
21      so somebody at Experian -- we're not sure what the title
22      is -- but somebody at Experian decides when the mail
23      comes in, whether a piece of mail correspondence is a
24      dispute or an opt-out notice or a request for CDI or any
25      of those things.        Is that -- is that fair to say?



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1                         MS. BRASTER:       Same objection.       Compound.
2                         THE WITNESS:       Yes.
3              Q.   (BY MR. CLARK)       So after assuming that -- that
4       a -- that mail correspondence is determined to be a
5       consumer dispute and is -- is placed in the appropriate
6       queue after that decision had been made, what happens to
7       the dispute after that?
8                         MS. BRASTER:       Same objection.
9                         THE WITNESS:       Then an agent would process
10      the consumer disputes.
11             Q.   (BY MR. CLARK)       Okay.    And when you say agent,
12      are there particular titles of Experian agents that
13      you're thinking of?
14             A.   I don't know the exact titles.           But earlier you
15      stated dispute agent.         So I would think that's okay
16      to -- to speak about the agent as a dispute agent.
17             Q.   Is that your understanding about who the -- who
18      at Experian handles these -- these particular disputes?
19                        MS. BRASTER:       Objection to vague.
20                        THE WITNESS:       Yes.
21             Q.   (BY MR. CLARK)       Okay.    I just wanted to make
22      sure that we're both talking about the same thing here.
23      I don't want to get to a situation where I think I'm
24      saying one thing and you're saying another thing and
25      then we find out at the end of the deposition that you



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1       were -- we were saying different things.               Because if
2       that happens, you're coming back.
3                         The -- if -- if -- if there's a reason to
4       do so.
5                         Okay.     So -- so after a dispute is
6       received, then it's a dispute agent that basically picks
7       up the dispute.       Is it -- is there any other type of
8       agent who is -- would -- who would handle consumers
9       disputes at this step that we've been talking about,
10      other than what we have both agreed to characterize as a
11      dispute agent?
12                        MS. BRASTER:       Objection to vague, assumes
13      facts and outside the scope.
14                        THE WITNESS:       I don't think so.
15             Q.   (BY MR. CLARK)       Okay.    So what does the dispute
16      agent do with the dispute once the dispute agent
17      receives it?
18                        MS. BRASTER:       Objection; outside the scope.
19                        THE WITNESS:       They would review the mail
20      correspondence in its entirety and analyze the request.
21             Q.   (BY MR. CLARK)       Okay.    And what are the types
22      of action that a dispute agent could take after review
23      of the mail correspondence?
24                        MS. BRASTER:       Objection; speculation,
25      vague.



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1                         THE WITNESS:       There are probably more than
2       I can remember to state.          But one example could be to
3       send an ACDV to the data furnisher to convey the
4       dispute.
5              Q.   (BY MR. CLARK)       Okay.    Are there other things
6       that the agent -- dispute agent could do with the
7       dispute?
8                         MS. BRASTER:       Same objections.
9                         THE WITNESS:       Yes.   They would send ACDV to
10      the consumer stating the item appears exactly as they
11      would like it to appear.
12             Q.   (BY MR. CLARK)       Okay.    What else?     Is there
13      anything else, first of all?
14                        MS. BRASTER:       Same objections.       And outside
15      the scope.
16                        THE WITNESS:       They could add an employer to
17      the credit file as the consumer has requested.
18             Q.   (BY MR. CLARK)       Okay.    Anything else?
19             A.   They could delete an employer from the credit
20      file as the consumer has requested.
21             Q.   Okay.    Let me -- let me ask you this question
22      because I can see why you're -- you think that there are
23      a lot of things that Experian -- that a dispute agent
24      could do.
25                        MS. BRASTER:       And -- and, Miles, before you



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1       go on, I do want to interject the same objections to the
2       last line of questioning, but it went very quickly.
3                         MR. CLARK:      Okay.    Jen, do those objection
4       include being outside the scope?
5                         MS. BRASTER:       That is correct.
6                         MR. CLARK:      All right.      If you think so.
7       Interesting.
8              Q.   (BY MR. CLARK)       Okay.    Anna, let me see if I
9       can ask a different type of question that may -- that
10      may -- may make this a bit simpler.
11                        Who can the dispute agent -- after
12      reviewing the mail correspondence that -- that -- which
13      the dispute is comprised, who -- what other persons or
14      entities can the dispute agent send a -- a communication
15      to about that -- about that -- about the dispute?                 You
16      had mentioned sending an ACDV, which that would be to
17      the -- an ACDV would be sent to a -- a furnisher of
18      information; is that right?
19                        MS. BRASTER:       Objection to vague, and
20      compound.
21                        THE WITNESS:       An ACDV is sent to a data
22      furnisher.
23             Q.   (BY MR. CLARK)       Okay.    Other than a data
24      furnisher, are there other people or agencies for whom a
25      dispute agent could communicate regarding the



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1       information contained in a consumer's dispute?
2                          MS. BRASTER:      Objection; speculation.
3                          THE WITNESS:      I'm sorry, I don't know
4       because I'm not understanding the question about who
5       else they would send information to about a consumer's
6       dispute.
7              Q.   (BY MR. CLARK)       Well, you had mentioned that
8       they could send ACDV back to the consumer; did you not?
9              A.   Yes.
10             Q.   And you mentioned that they could send an ACDV
11      to the data furnisher.         We got that through a series of
12      questions.      But I think that was the -- that -- that was
13      the gist of what -- of what we talked about.                Is that
14      fair to say?
15             A.   Yes.
16             Q.   So -- so they can -- so a dispute agent can
17      send to -- can send a communication regarding the
18      correspondence received in the dispute to both the data
19      furnisher and the disputing consumer.              Is that fair to
20      say?
21                         MS. BRASTER:      Objection to speculation,
22      legal conclusion.
23                         THE WITNESS:      Yes.
24             Q.   (BY MR. CLARK)       And so other than the data
25      furnisher and -- and the disputing consumer, is there



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1       any other individual or entity for whom a -- an agent
2       can send a communication regarding information in -- in
3       a consumer dispute?
4                         MS. BRASTER:       Same objections.
5                         THE WITNESS:       I can't think of who the
6       agent, the dispute agent, would send or convey the
7       dispute to right now, if that's what you're asking.
8              Q.   (BY MR. CLARK)       Okay.    That -- t.
9                         Hat's fine.      It's kind of a -- it's kind of
10      a tough question to articulate maybe.              So I appreciate
11      you working through that with me.             And that's fine.
12                        If you think of something later, please
13      don't hesitate to amend your answer if -- if to you need
14      to.
15                        So is -- let me ask you this:            Can a
16      dispute agent send the -- are you familiar with the --
17      with the term "frivolous" as it's commonly used in the
18      consumer dispute process?
19                        MS. BRASTER:       Objection; legal conclusion.
20                        THE WITNESS:       Yes, I have heard of that
21      term.
22             Q.   (BY MR. CLARK)       Okay.    And -- and have you
23      heard of that term in the context of your work at
24      Experian?
25             A.   Yes, I have heard of it.



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1              Q.   And in the context of your work at Experian,
2       what does the term "frivolous" mean as far as you
3       understand it?
4                         MS. BRASTER:       Same objection.       Outside the
5       scope.
6                         THE WITNESS:       As far as I understand it,
7       I've never had to describe this term, so I don't know
8       everything I should say about it.             But as far as I
9       understand it, it might mean that a dispute does not
10      have enough information in it for Experian to understand
11      what it is.
12                        MR. CLARK:      Okay.    Yeah.    And -- and
13      that's -- that's sort of my general understanding of
14      that -- of that term, too.
15             Q.   (BY MR. CLARK)       And if -- if -- can a dispute
16      agent make a decision after receiving a -- after
17      receiving a consumer dispute that the dispute is
18      frivolous?
19                        MS. BRASTER:       Same objections.
20                        THE WITNESS:       I've never heard of a dispute
21      agent making a decision about -- with a frivolous
22      terminology, no.
23             Q.   (BY MR. CLARK)       Okay.    Can a -- can a dispute
24      agent determine that -- that you testified earlier that
25      the -- you had testified earlier that the -- that a



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1       dispute agent can send ACDV to a consumer indicating
2       that the disputed information was actually reporting as
3       the consumer wished it to.           That may not be exactly
4       true, but do you recall saying something to that effect
5       earlier?
6                         MS. BRASTER:       Objection to the extent it
7       misstates her testimony.
8                         THE WITNESS:       Yes.
9              Q.   (BY MR. CLARK)       Okay.    Is there -- does
10      Experian have a name for -- for that decision that a
11      dispute agent makes, i.e., a decision in which the
12      dispute agent determines whether a -- an item of
13      information disputed by a consumer is actually reported
14      as the consumer would wish it to and then sends the --
15      ACDV to that effect to the consumer in response to the
16      dispute?
17                        MS. BRASTER:       Objection to vague,
18      speculation.      Compound.
19                        THE WITNESS:       I do not --
20                        MR. CLARK:      My question.      I'm sorry.      Anna,
21      my -- my angiologies.
22                        THE WITNESS:       I do not remember the
23      beginning of your question.
24             Q.   (BY MR. CLARK)       I'm asking if Experian has a
25      name for the process that I described.              If you wish to



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1       hear the question again in its entirety, I will have the
2       court reporter read it back to you.             What would you like
3       me to do?
4                         MS. BRASTER:       Same objections.
5                         THE WITNESS:       No, you answered.       That's
6       what I needed.       And I do not know of a name for that
7       process you described.
8              Q.   (BY MR. CLARK)       Okay.    Does -- do you think
9       Experian has a name for that process?
10                        MS. BRASTER:       Same objections.       As well
11      foundation.
12                        THE WITNESS:       I do not think there is a
13      name for that process.         I've never heard of a name for
14      it.
15             Q.   (BY MR. CLARK)       Okay.    Is -- is if a consumer
16      doesn't provide enough information for Experian to fully
17      research their dispute, is that a decision that a
18      dispute agent would make after reviewing the mail
19      correspondence or does some other type of Experian
20      employee make that determination?
21                        MS. BRASTER:       Objection; speculation.
22      Assumes facts.
23                        THE WITNESS:       If I understand your question
24      correctly, the answer is yes, the dispute agent can make
25      the decision.



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1              Q.   (BY MR. CLARK)       Okay.    You said the dispute
2       agent can.      Does anyone else at Experian make that
3       decision other than the dispute agent?
4                         MS. BRASTER:       Same objections.
5                         THE WITNESS:       I don't think so.       It would
6       be the person that is reading the mail correspondence.
7       So if it -- if we were still speaking about a dispute
8       agent reviewing it, it would be that dispute agent that
9       would make that decision.
10             Q.   (BY MR. CLARK)       Okay.    And if a dispute agent's
11      determine that they did not have enough information to
12      answer the consumer's dispute, what steps does the
13      dispute agent take after that point?
14                        MS. BRASTER:       Objection; speculation.
15      Foundation and assumes facts.
16                        THE WITNESS:       They would convey that
17      information to the consumer.
18             Q.   (BY MR. CLARK)       Would they convey that
19      information to anyone else?
20                        MS. BRASTER:       Same objection.
21                        THE WITNESS:       More than likely, no.
22             Q.   (BY MR. CLARK)       Would they convey that
23      information to -- or -- or the -- sorry.               Strike that.
24                        Would they convey the -- the contents of
25      the dispute to anyone else, such as a data furnisher?



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1                         MS. BRASTER:       Objection.     Speculation,
2       vague.
3                         THE WITNESS:       If the dispute agent does not
4       know what the dispute is, they would not be able to
5       send -- they would have to have a dispute.               So if they
6       do not understand the dispute, there would be nothing to
7       convey.
8              Q.   (BY MR. CLARK)       Okay.    What if -- what if the
9       dispute included enough information for Experian to
10      identify the data furnisher in question, would it --
11      would that change your answer to my last question?
12                        MS. BRASTER:       Objection; speculation.
13                        THE WITNESS:       If there is not a dispute to
14      convey, they would not have a dispute to send.
15             Q.   (BY MR. CLARK) Okay.         Let me -- let me ask
16      you -- maybe I should have asked this -- this at the
17      beginning.
18                        What is a dispute?
19                        MS. BRASTER:       Objection to the extent it
20      calls for a legal conclusion.
21                        THE WITNESS:       In general terms it is a
22      consumer's disagreement with something that's appearing
23      on their credit file.
24             Q.   (BY MR. CLARK)       Okay.    And are there ever
25      circumstances in which Experian receives a -- a piece of



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1       mail correspondence which it can identify as a dispute
2       but does not have enough information to be able to
3       answer all questions needed to be answered in connection
4       with that dispute?
5                         MS. BRASTER:       Objection; speculation.
6       Foundation.
7                         THE WITNESS:       I don't know.      I would have
8       to have a more specific question.             I'm not able to
9       answer that.
10                        MR. CLARK:      Okay.
11                        MS. BRASTER:       And, Miles, whenever you're
12      at a good stopping point, if we could just take a quick
13      break and I'll also find out timing for lunch.
14                        MR. CLARK:      Yeah.    You know, I -- I --
15      because we're a little bit past 30 minutes.                Jen, let me
16      do this, I got about five minutes.             I just want to run
17      through the rest of Exhibit 1.            I think it's going to go
18      a lot quicker.       I'm not going to ask any -- I'm just
19      going to ask some foundational questions.
20                        MS. BRASTER:       Sure.
21                        MR. CLARK:      Can we get through that and
22      then take a break?
23                        MS. BRASTER:       Yeah.    No, no, that's fine.
24                        MR. CLARK:      Okay.    Fantastic.      And thank
25      you.



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1              Q.   (BY MR. CLARK)       All right.      And so -- thank
2       you, Anna.
3                         Like I said, I just want to go through a
4       few more of these documents on Exhibit 2 just so we know
5       what we're talking about.
6                         And so if you can turn now to pages 47
7       through 64 and let me know what those pages are.
8              A.   (Looked at document.)         Pages 47 through 64
9       appears to be a disclosure for John Ashcraft.
10             Q.   Okay.    What's the date of the disclosure?
11             A.   March 15, 2016.
12             Q.   Is that same date for the disclosure contained
13      in the -- in Mr. Ashcraft's mail correspondence that we
14      just talked about?
15             A.   (Looked at document.)         Yes.
16             Q.   Okay.    And -- okay.      Great.     So if we can turn
17      to page 65.
18             A.   Okay.
19             Q.   And what is this?
20             A.   (Looked at document.)         ACDV response.
21             Q.   Okay.    And just -- and what is an ACDV?
22             A.   Automatic consumer dispute verification.
23             Q.   Okay.    Is this a -- a document that -- that a
24      data furnisher sends to a consumer reporting agency
25      after receiving notice of a dispute from the consumer?



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1              A.   Yes.
2              Q.   Okay.    And -- and who is this -- who is this
3       ACDV sent by?
4                          MS. BRASTER:      Objection to vague.
5                          THE WITNESS:      This ACDV was sent to
6       Experian from Welk Resort Group.
7              Q.   (BY MR. CLARK)       Okay.    Thank you.     Looking
8       at -- looking at Experian's 66 -- actually, no, strike
9       that.
10                         Looking at Experian 68 through 71.
11             A.   (Looked at document.)         I'm there, yes.
12             Q.   Okay.    And so -- and, again, Anna, I'm -- I'm
13      not asking if you've seen these pages before because I
14      believe you testified that you had reviewed all of them
15      in preparation for your deposition today.               But if you
16      haven't seen any of these pages, just let me know.
17                         So I -- I'm assuming that you have seen
18      them because you testified to that previously.                 But
19      again, if I was incorrect in that, then -- then please
20      let me know.
21                         But pages 68 to 71, what are they?
22             A.   This is a CDF.
23             Q.   Okay.    What's the date?
24             A.   May 16, 2016.
25             Q.   And who was the CDF sent to?



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1              A.   John Ashcraft.
2              Q.   Is this a CDF that Experian sent to
3       Mr. Ashcraft in response to a consumer dispute that he
4       had previously submitted to Experian?
5              A.   Yes.
6              Q.   And do you know whether or not his -- whether
7       or not it would have been in response to Mr. Ashcraft's
8       April 25, 2016, dispute that we talked about a few
9       moments ago?
10             A.   Yes.
11             Q.   All right.      So -- and so let's see.         If we
12      could turn to pages 72 to 87, please.
13             A.   (Witness complies.)        Did you say to page 87?
14             Q.   87, correct.
15             A.   Okay.
16             Q.   And what are these pages?
17             A.   This is a disclosure.
18             Q.   Okay.    What's the date of the disclosure?
19             A.   January 25, 2017.
20             Q.   Is there an individual for whom this disclosure
21      was prepared?
22             A.   The name on this disclosure is John Ashcraft.
23             Q.   Okay.    All right.      Now, let's see pages 88 to
24      93, please.
25             A.   Okay.



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1              Q.   And what are these pages?
2              A.   ACDV.
3              Q.   Okay.    And is there a name for whom this CDF
4       was prepared for?
5              A.   The name on the CDF is John Ashcraft.
6              Q.   And what's the date of this CDF?
7              A.   February 8, 2017.
8              Q.   Okay.    Thanks very much, Anna.
9                          MR. CLARK:     We can take a break now.          Do
10      you want to take five or ten?
11                         MS. BRASTER:      Let's go off the record.
12                         (Break taken)
13             Q.   (BY MR. CLARK)       Anna, are you ready to
14      continue?
15             A.   Yes.
16                         MR. CLARK:     So, Madam Court Reporter, if we
17      could please mark Tab 3 as Exhibit 3, please.
18                         (Exhibit No. 3 was marked)
19             Q.   (BY MR. CLARK)       All right.     Can you please
20      review what has been marked as Exhibit 3 and let me know
21      when you -- when you're done?
22                         MS. BRASTER:      And I'm just looking over
23      real quick, for my benefit, that's the 94 to 106; is
24      that correct?
25                         MR. CLARK:     Oh, yes.     My apologies, Jen.



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1       That's Experian 94 to 106.
2                          THE WITNESS:      I have reviewed the document.
3              Q.   (BY MR. CLARK)       All right.     Are pages 94 to
4       106 pages you reviewed in preparation for your
5       deposition today?
6              A.   Yes.
7              Q.   Okay.    So turning first to 94 to 96, what are
8       these pages?
9              A.   This is a transaction log.
10             Q.   What is a transaction log?
11             A.   This one is a carbon copy of an Equifax
12      dispute.
13             Q.   Okay.    Is Equifax another consumer reporting
14      agency?
15             A.   Yes.
16             Q.   And just -- just to be clear, Experian is a
17      consumer reporting agency; is it not?
18             A.   Yes.
19             Q.   Okay.    What is a carbon copy of the
20      investigation?
21                         MS. CHIUSANO:      Lucille Chiusano.        Hello.
22                         THE WITNESS:      This was --
23                         MR. CLARK:     Thank you, Lu.
24                         THE WITNESS:      In general this is -- these
25      are the results of a -- of a reinvestigation that was



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1       initiated, more than likely by the consumer, through
2       Equifax, and Equifax sent the investigation request.
3       For this one it appears to be Capital One.               And then the
4       results of that were sent to Experian as what we call a
5       carbon copy.
6              Q.   (BY MR. CLARK)       Okay.    And so does Experian
7       itself then ever send carbon copies of investigations to
8       other consumer reporting agencies like Equifax?
9              A.   No.    I believe the carbon copies are sent to
10      Experian, Equifax, Trans Union from the data furnishers.
11             Q.   Okay.    So it's -- it's not -- it's not Equifax
12      that would have sent this carbon copy of the
13      investigation to Experian, it would have been -- it
14      would have been the data furnisher?
15             A.   Yes.
16             Q.   And data furnisher in question here was Capital
17      One?
18             A.   Yes.
19             Q.   And what's the -- can you see anywhere on these
20      pages where there's a date that the carbon copy of the
21      investigation was received by Experian?
22             A.   (Looked at document.)         Yes.
23             Q.   And what is the date?
24             A.   May 8th, 2016.
25             Q.   Okay.    And is there a particular page you're



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1       looking at to figure out what that date is?
2              A.   Page one of the carbon copy.
3              Q.   Okay.    Is there a particular line you're
4       looking at to make that determination?
5              A.   Yes.
6              Q.   Okay.    And is that the line that says
7       there's -- there's -- there's a line that says "date
8       received" under update sequence one.              Is that what
9       you're looking at?
10             A.   Yes.
11             Q.   Okay.    After Experian receives a carbon copy of
12      the investigation, such as the one we've been
13      discussing, what does Experian do with the information
14      contained in the carbon copy reinvestigation?
15                         MS. BRASTER:      Objection to vague and
16      speculation.
17                         THE WITNESS:      Updates the account
18      accordingly.
19                         MR. CLARK:     Okay.
20             Q.   (BY MR. CLARK)       If -- if Experian had a
21      consumer dispute pending from that same consumer at the
22      time that it received a carbon copy reinvestigation,
23      such as the one we've been discussing here, would
24      Experian include the results of the update in its
25      reinvestigation results to that consumer?



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1                         MS. BRASTER:       Objection; speculation and
2       vague.      And assumes facts.
3                         THE WITNESS:       I believe so.
4              Q.   (BY MR. CLARK)       Okay.    And -- would -- and how
5       would -- how would Experian indicate to the consumer in
6       a reinvestigation report sent to the consumer that
7       information contained in a carbon copy reinvestigation
8       had resulted in an update to that disputing consumer's
9       trade line?
10                        MS. BRASTER:       Can the court reporter read
11      that back?      I didn't catch that.
12                        THE REPORTER:       And I didn't catch the last
13      two words.
14                        (Read back.)
15                        MS. BRASTER:       Objection to speculation.
16      Foundation.      Vague.
17                        THE WITNESS:       Experian does not convey
18      carbon copies updates to a consumer.
19                        MR. CLARK:      Okay.
20                        THE WITNESS:       And I would like to add to
21      that.    What I'm stating is they don't go out to a
22      consumer just because there was a carbon copy.
23      However, if a consumer requests a disclosure maybe the
24      day after, of course, then the updates would be conveyed
25      because they would appear on that account.



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1              Q.   (BY MR. CLARK)       Okay.    And what if -- what if
2       Experian received a carbon copy reinvestigation related
3       to a particular consumer while Experian was processing
4       a -- a dispute from that consumer, would your answer to
5       the last question change?
6                         MS. BRASTER:       Objection to speculation,
7       vague.
8                         THE WITNESS:       I -- no, I do not think so.
9              Q.   (BY MR. CLARK)       Okay.    And you mentioned -- you
10      mentioned that -- that this a carbon copy
11      reinvestigation, is that the only type of -- is that the
12      only type of item that a transaction log can contain or
13      can it contain other types of documents as well as a
14      copy carbon reinvestigation?
15             A.   It can also contain an AUD from a data
16      furnisher directly to Experian.
17             Q.   And what is AUD?
18             A.   It is when -- it is an automatic update that a
19      data furnisher wishes to make regarding the trade line
20      they're reporting.
21             Q.   Okay.    And when Experian completes its -- a
22      reinvestigation of a consumer dispute, does it also
23      send -- does it send a carbon copy of the
24      reinvestigation to the other -- to other consumer
25      reporting agencies, such as Equifax?



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1                         MS. BRASTER:       Objection; speculation.
2       Foundation.
3                         THE WITNESS:       No.    Experian does not send
4       carbon copies.
5              Q.   (BY MR. CLARK)       Okay.     Does -- does Experian
6       send the results of a reinvestigation to the data
7       furnishers?
8                         MS. BRASTER:       Objection; speculation.
9       Vague.
10                        THE WITNESS:       Does -- was your question:
11      Does Experian send the results received from a data
12      furnisher back to the data furnisher?
13                        MR. CLARK:      Correct.
14                        THE WITNESS:       I can answer that by stating
15      if there are any kinds of updates to the account, the
16      data furnisher gets notified by Experian.
17             Q.   (BY MR. CLARK)       Okay.     When you say updates to
18      the account, what do you mean?
19             A.   And I don't know how to explain "update."
20      Maybe we could say change.           But I use the term "update,"
21      yes.
22             Q.   Okay.    Well, I guess I'm wondering -- you --
23      you used the term "update" and now you've indicated
24      you're not quite sure what it means.              So I'm just trying
25      to understand, based on how you characterized your



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1       answer, what an update is.           So I think we'll just work
2       through that a little bit.
3                         So let me ask my last question again so we
4       can get on the same line.          I apologize for having to do
5       that.
6                         But when -- when you -- when you say
7       "updates," what do you mean?
8              A.   A change to the account information.
9              Q.   Okay.    And -- and when you say "change to the
10      account information," what do you mean?
11             A.   It could be several factors.           One could be the
12      balance was updated or changed by the data furnisher.
13             Q.   Okay.    Could the balance be updated or changed
14      by Experian?
15                        MS. BRASTER:       Objection to speculation and
16      foundation.
17                        THE WITNESS:       As a result of a
18      reinvestigation, that would be correct.
19             Q.   (BY MR. CLARK)       Okay.    And when -- so let me
20      ask you this.       If Experian received a reinvestigation --
21      or strike that.
22                        If Experian received an ACDV from the data
23      furnisher and updated the consumer's account, you know,
24      in -- in a manner identical to the information provided
25      by the data furnisher in the ACDV without making any



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1       other changes to the consumer's account, would Experian
2       send a notification to the data furnisher that it had
3       made the changes to the account as the data furnisher
4       requested?
5                         MS. BRASTER:       Objection; speculation.
6       Asked and answered.
7                         THE WITNESS:       Yes.
8              Q.   (BY MR. CLARK)       Okay.    And how would -- would
9       Experian keep an internal record of -- of that -- of the
10      fact that it sent that notification to the data
11      furnisher?
12                        MS. BRASTER:       Same objections.
13                        THE WITNESS:       I do not know.
14             Q.   (BY MR. CLARK)       Are there any documents that
15      would reflect the fact that Experian sent that
16      notification to the data furnisher?
17                        MS. BRASTER:       Same objections.
18                        THE WITNESS:       I do not know how Experian
19      keeps records, if there are any of that notification.
20             Q.   (BY MR. CLARK)       Okay.    Did you -- in reviewing
21      pages 94 to 106, did you see any indication that -- on
22      those documents that Experian had notified the data
23      furnisher of those -- of those updates?
24                        MS. BRASTER:       Objection to vague and
25      foundation.



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1                         THE WITNESS:       No.
2              Q.   (BY MR. CLARK)       And so sitting here today,
3       you're -- you're not sure whether Experian keeps a
4       record of any -- of any -- any of those updates?
5                         MS. BRASTER:       Objection to foundation.
6       Vague.      And to the extent that it misstates her
7       testimony.
8                         THE WITNESS:       Correct.
9              Q.   (BY MR. CLARK)       Okay.     Do you think Experian
10      does keep a record of those updates somewhere, in some
11      document, even though it's not one of those that we have
12      before us today?
13                        MS. BRASTER:       Objection; asked and
14      answered, speculation.         Assumes facts.
15                        THE WITNESS:       I did not hear the last part
16      of your question.
17                        MR. CLARK:      Sure.
18                        Madam Court Reporter, could you please read
19      back my last question?
20                        THE REPORTER:       (Read document.)
21                        MS. BRASTER:       Same objections.
22                        THE WITNESS:       I do not know.
23             Q.   (BY MR. CLARK)       Okay.     All right.    But not
24      withstanding the fact that you're not sure if Experian
25      keeps a record of those updates, it's your belief that



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1       Experian does update the data furnisher of those
2       updates; is that -- is that correct?
3                         MS. BRASTER:       Objection to speculation and
4       to the extent it misstates her testimony.
5                         THE WITNESS:       Experian notifies the data
6       furnisher.
7              Q.   (BY MR. CLARK)       Okay.    All right.     So let's go
8       to page 97, please.
9              A.   (Witness complies.)        Okay.
10             Q.   What is this page?
11             A.   A disclosure log.
12             Q.   Okay.    And what is a disclosure log?
13             A.   It keeps a record of CDIs sent and CDFs sent
14      and dates that those were sent.
15             Q.   Does it -- does it keep a record of the -- the
16      sending of any documents other than a CDI or CDF?
17             A.   No.
18             Q.   Okay.    And what -- what -- does -- does a
19      disclosure log -- is it a record of -- of those -- of
20      those documents that are sent to the consumer in
21      question or to anyone else?
22             A.   Is it a record of documents that were sent to
23      the consumer.       And what else did you state?
24             Q.   Or -- or anyone else or is it just the
25      consumer?



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1              A.   This is a record of CDIs and CDFs.             And they --
2       this is only the ones that are sent either to the
3       consumer or sometimes it will show if a CDI was
4       requested by Experian for research purposes.                But this
5       is not a record of reports sent to third parties.
6              Q.   Okay.    And under what circumstances would a
7       disclosure log reflect the -- the -- the fact of -- that
8       Experian had generated a CDI for research purposes?
9              A.   It could be for post-litigation procedures.
10             Q.   Okay.    And would a disclosure log reflect
11      the -- sorry.
12                        Would a disclosure log reflect a CDI that
13      Experian generated for research purposes in any occasion
14      under which such CDI had been generated from Experian?
15                        MS. BRASTER:       Objection to vague.
16                        THE WITNESS:       I don't know.
17                        MR. CLARK:      Yeah.    Let me ask a better
18      question.
19             Q.   (BY MR. CLARK)       What -- what I'm asking, Anna,
20      is that let's assume that -- that a disclosure log was
21      generated on January 1st of 2016, but on -- on
22      December 31st of 2016 -- or 2015 Experian had generated
23      a CDI for research purposes, would a -- would that
24      disclosure log generated a day later reflect the fact
25      that Experian had generated a CDI for research purposes?



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1                         MS. BRASTER:       Objection to the extent it
2       calls for speculation and assumes facts.
3                         THE WITNESS:       Yes, it should.
4              Q.   (BY MR. CLARK)       Okay.    All right.     Do we know
5       what the date that the disclosure log at Experian 97,
6       that we're looking at, was generated?
7              A.   (Looked at document.)         I don't see the date
8       this was generated.
9              Q.   Okay.    If -- are there any -- are there any
10      times in which Experian would generate a CDI where a
11      disclosure log generated after the date that Experian
12      generated that particular CDI was made in which the CDI
13      Experian had generated would not show up on the
14      disclosure log?
15                        MS. BRASTER:       Objection; speculation.
16      Vague.
17                        THE WITNESS:       I don't think so.
18             Q.   (BY MR. CLARK)       Okay.    All right.     Thanks.
19                        So let's go to Experian 98, please.
20             A.   Okay.
21             Q.   And what -- what is this document?
22             A.   D/R Log.
23             Q.   What is a D/R Log?
24             A.   This shows the dispute that was initiated for
25      Welk Resort Group and the dispute resolves as provided



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1       by the data furnisher.
2              Q.   Okay.    Is that a dispute that Mr. Ashcraft
3       submitted?
4                          MS. BRASTER:      Objection to foundation.
5                          THE WITNESS:      Yes.
6              Q.   (BY MR. CLARK)       Okay.    Do you see a date on
7       which this report was generated?
8              A.   Yes.
9              Q.   And what's the date?
10             A.   January 25, 2017.
11             Q.   Okay.    And a -- so does -- does a D/R Log
12      reflect all of the changes that -- that -- well, strike
13      that.
14                         Strike it.     Thank you.
15                         Let's go to Experian 99 to 104.
16             A.   I'm there.
17             Q.   And what are these pages?
18             A.   I'm sorry, you said to page 104?
19             Q.   Oh, oh, my apologies, 106, please.
20             A.   Okay.    This is an admin report.
21             Q.   Okay.    And what is an admin report?
22             A.   Basically it's an internal document that shows
23      their credit profile of John Ashcraft.
24             Q.   Okay.    And when you say "a credit profile,"
25      what do you mean?



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1              A.   Information that Experian has relating to John
2       Ashcraft.
3              Q.   Okay.    Is this all the information that
4       Experian has for John Ashcraft in its files?
5                          MS. BRASTER:      Objection to assumes facts.
6                          THE WITNESS:      I do not know.
7              Q.   (BY MR. CLARK)       Okay.     If there was any other
8       information that Experian had regarding Mr. Ashcraft,
9       would it -- do you know where it would exist, other than
10      on this admin report?
11                         MS. BRASTER:      Objection to speculation and
12      assumes facts.
13                         THE WITNESS:      No.
14             Q.   (BY MR. CLARK)       Are you familiar with the term
15      "long form admin report"?
16             A.   Yes.
17             Q.   What is a long form admin report?
18             A.   It's basically the same as the admin, but it
19      might have more information.           Such as on an account or a
20      trade line, it would show maybe additional monthly
21      account history.        But I do not know all the differences
22      between the two.
23             Q.   Okay.    But it -- it's fair to say that it -- it
24      might have additional information that we don't see on
25      the admin report that -- on Ashcraft 99 to 106; is that



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1       fair to say?
2                          MS. BRASTER:      Objection to the extent it
3       calls for speculation and outside the scope.
4                          THE WITNESS:      Yes.
5              Q.   (BY MR. CLARK)       Okay.    And to be clear, the
6       admin report we're looking at right here is not a long
7       form admin report; is that -- is that accurate?
8              A.   Yes.
9              Q.   Okay.    And -- sorry.
10                         Does -- what does Experian use the admin
11      report for?
12             A.   I'm not quite sure.
13             Q.   Okay.    Well, what -- why does Experian have an
14      admin report?
15             A.   I'm not sure why Experian made the decision to
16      have an admin report.
17             Q.   Okay.    And -- and you're not sure how Experian
18      uses an admin report?
19             A.   Well, I --
20                         MS. BRASTER:      Objection to asked and
21      answered.
22                         THE WITNESS:      I don't know what all the
23      reasons are.       But it could be used, you know, such as
24      when my attorney contacts me regarding a federal
25      litigation case.        I could look at an account on there



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1       and see how it was reporting.
2              Q.   (BY MR. CLARK)       Okay.    And I don't want to get
3       in to, you know, attorney/client communication and I
4       don't want to get into specifics here.              But just as a
5       follow-up, would you look at the admin report or would
6       you look at the long form admin report?
7                         MS. BRASTER:       And I appreciate the caveat,
8       Miles, but I will just caution the witness that to the
9       extent the answer calls for privileged communications, I
10      would instruct you not to answer, but you can answer
11      otherwise.
12                        MR. CLARK:      Understood.
13                        THE WITNESS:       I will usually look at the
14      admin report.
15             Q.   (BY MR. CLARK)       Okay.    Would you sometimes look
16      at the long form admin report?
17                        MS. BRASTER:       And same caution to the
18      witness.
19                        THE WITNESS:       I have looked at a long admin
20      report before.
21             Q.   (BY MR. CLARK)       Okay.    Under what circumstances
22      have you looked at a long form admin report?
23                        MS. BRASTER:       Same caution to the witness
24      and to the extent it's outside the scope.
25                        THE WITNESS:       I -- I do not know of a



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1       specific circumstances.          But only in response to a
2       research request made by my counsel.
3              Q.   (BY MR. CLARK)       Okay.    And -- and other than
4       that -- that reason, do you know what other reasons
5       Experian has for using a long form admin report?
6              A.   I do not.
7              Q.   Okay.    Let's see.      Just going back to the --
8       going back to the disclosure log.
9                          And how long does it take Experian to
10      generate a disclosure log?
11             A.   About five minutes.
12             Q.   Okay.    How about a D/R Log?
13             A.   About five minutes.
14             Q.   How about an admin report?
15             A.   I'm not sure.      Maybe a minute.
16             Q.   Okay.    And what about a transaction log?
17             A.   One transaction log might take 30 seconds to
18      print, once it is pulled up.
19             Q.   Okay.    If -- if -- and sorry.         Just follow-up
20      with the admin report.
21                         Do you see a date on which the admin report
22      that we looked at -- at 99 to 106 is generated?
23             A.   Yes.
24             Q.   Okay.    And what is that date?
25             A.   January 25, 2017.



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1              Q.   Okay.    All right.      So let's see.      And then --
2       thank you, Anna.        You can set Exhibit 2 and 3 aside for
3       the moment.       What I'm going to do now is largely just
4       introduce some other documents or -- or try to introduce
5       them.    And so we'll get through these and perhaps be at
6       a good stopping point for lunch after that.
7                         So let me -- before I -- before I begin.
8       Let me ask in addition to the items we discussed on
9       Exhibits 1, 2, and 3, did you look at any other
10      documents in preparation for your deposition today?
11             A.   I don't remember every document.            You'd have to
12      tell me which ones I stated to you earlier and I guess I
13      can compare in what's in Exhibit 1, 2 and 3 to make sure
14      I answer correctly.
15             Q.   Sure.    I understand.      It's not a trick
16      question.      And so -- and certainly we've looked at a
17      number of documents so I'm not trying -- not trying
18      to -- not trying to trip you up here.
19                        But let me just ask you in -- let me ask
20      you.    Did -- did you review a long form admin report?
21             A.   No.
22             Q.   Okay.    Did you review any Experian participants
23      guide?
24             A.   No.
25             Q.   Are you familiar with what a participant -- an



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1       Experian participant guide is, generally speaking?
2              A.   Yes.
3              Q.   Okay.    And what is participants guide?
4              A.   It would be basically a guide, or using the
5       word interchangeably, a manual that would explain a
6       specific process.        But I would explain this better if
7       you wanted me to look at a specific one.
8              Q.   I understand.      And we -- we'll do that in a
9       second.     I'm trying to get some background here.
10                         The -- does Experian, to your knowledge,
11      have a participants guide pertaining to the generation
12      and transmission to the consumer of a consumer
13      disclosure?
14             A.   I believe so.
15             Q.   Okay.    And so what I'll -- do you know the name
16      of that participants guide?
17             A.   No, I don't know the names.
18             Q.   Okay.    And so what I'll -- what I'll do now is
19      I'll introduce some documents, many of which are
20      called -- and for these business guides I'll just ask
21      you to indicate to me whether or not they include
22      guidelines for generating a consumer disclosure.                 Okay?
23             A.   Okay.
24             Q.   Okay.    And just one last background question
25      before I -- before I begin.



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1                         Do the participants guides contain
2       Experian's policies and procedures for handling various
3       aspects of the consumer dispute process?
4                         MS. BRASTER:       Object to vague.
5                         THE WITNESS:       Yes, they can.
6              Q.   (BY MR. CLARK)       Okay.    In addition to
7       participants guides, are there any other documents that
8       Experian would consult to resolve a consumer's dispute?
9                         MS. BRASTER:       Objection to vague,
10      speculation.
11                        THE WITNESS:       Documents, I'm not sure if
12      there would be additional documents.              I can't think of
13      any right now.
14             Q.   (BY MR. CLARK)       Okay.    And if any time you --
15      feel free to -- to add them if -- if it comes to you
16      later.
17                        MR. CLARK:      Okay.    Madam Court Reporter,
18      could we introduce Tab 4 as Exhibit 4, please.
19                        (Exhibit No. 4 was marked)
20                        MR. CLARK:      And, Jen, for your benefit this
21      is Experian 245 to 405.
22                        MS. BRASTER:       Thank you.
23                        MR. CLARK:      You're welcome.
24                        THE WITNESS:       (Looked at document.)
25                        MS. BRASTER:       Miles, if it assists in the



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1       process, I can stipulate to the authenticity of this
2       document.
3                           MR. CLARK:    Okay.    I've got -- I've got a
4       few -- I appreciate that, Jen.            I will just have a few
5       additional questions of this one.
6                           MS. BRASTER:     Sure.
7                           MR. CLARK:    And I just want to establish --
8       I just want to establish dates and -- and that sort of
9       thing.      So...
10                          MS. BRASTER:     Sure.    And I mean -- and
11      going forward if there's any that you want to just
12      simply authenticate or me stipulating as such, just let
13      me know.
14                          MR. CLARK:    Okay.    Cool.
15                          Anna, let me let know when you have
16      Exhibit 4.
17                          THE WITNESS:     I have Tab 4 in front of me.
18                          MR. CLARK:    Okay.    And that's been marked
19      as Exhibit 4?
20                          THE WITNESS:     Correct.
21             Q.   (BY MR. CLARK)       Okay.    Is -- does this document
22      contain Experian's policies and procedures for handling
23      ACDV's?
24             A.   Yes.
25             Q.   Okay.    And what's the -- what's the date of



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1       this document?
2              A.   December 23, 2013.
3              Q.   Was this a copy of Experian's policies and
4       procedures which was in force in March through May 2016?
5              A.   I believe so.
6              Q.   Okay.    Do you know whether this document had
7       been updated at any point in 2017?
8              A.   I do not.
9              Q.   Okay.    Does Experian have a schedule for when
10      it updates its policies and procedures?              Does it do so,
11      you know, for example, every March, every January?                  Is
12      there a routine update process?
13                        MS. BRASTER:       Objection to vague and
14      compound.
15                        THE WITNESS:       I do not know.
16             Q.   (BY MR. CLARK)       Okay.    And --
17                        MR. CLARK:      And -- and Jen, could we
18      stipulate to the authenticity of Exhibit 4?
19                        MS. BRASTER:       Yes.
20                        MR. CLARK:      Thank you, Anna.       You -- you
21      can set this one aside.
22                        After you set that aside, Madam Court
23      Reporter, if we could introduce Tab 5 as Exhibit 5.
24                        (Exhibit No. 5 was marked)
25                        MR. CLARK:      And, Jen, this is Experian 450



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1       to 519.
2                          THE WITNESS:      I have this in front of me.
3                          MR. CLARK:     Okay.
4              Q.   (BY MR. CLARK)       Anna, is this Experian's
5       policies and procedures for handling trade disputes?
6              A.   Yes.
7              Q.   Okay.    And what's the date that this document
8       was -- was -- was, for lack of a better word, published?
9              A.   May 20, 2015.
10             Q.   Okay.    Was this the copy of Experian's policy
11      and procedures for handling trade disputes which was in
12      force between March 2016 and the end of May 2016?
13             A.   I believe so.
14             Q.   And do you know if this document had been
15      updated in 2017 at any point?
16             A.   I do not.
17                         MR. CLARK:     Okay.     Jen, could we stipulate
18      to authenticity of Exhibit 5?
19                         MS. BRASTER:      Yes.
20                         MR. CLARK:     Thank you.      All right.     Thank
21      you.    You can set this one aside.
22                         And, Madam Court Reporter, if we could have
23      Tab 6 as Exhibit 6.
24                         (Exhibit No. 6 was marked)
25                         THE WITNESS:      Thank you.     I have it in



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1       front of me.
2                          MR. CLARK:     Okay.
3                          MS. BRASTER:      And so I'm not leaning over,
4       which one is this one?
5                          MR. CLARK:     Oh, sorry.      Sorry.    I keep
6       forgetting this.        596 to 668.
7                          MS. BRASTER:      Thank you.
8              Q.   (BY MR. CLARK)       Anna, is this Experian's
9       policies and procedures for handling additional
10      information submitted in connection with a consumer
11      dispute?
12             A.   Yes.
13             Q.   Okay.    What's the date at the top of this?
14             A.   April 7, 2016.
15             Q.   Okay.    Was this document in force between April
16      and May 2016?
17             A.   I believe so.
18             Q.   And has this document been updated at any point
19      during 2017?
20             A.   I do not know.
21             Q.   Okay.
22                         MR. CLARK:     Jen, can we stipulate to the
23      authenticity of Exhibit 6?
24                         MS. BRASTER:      Yes.
25                         MR. CLARK:     Thank you.



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1                          Okay.    Anna, you can set that one aside.
2                          Now, as -- Tab 7 as Exhibit 7, please.
3                          And, Jen, this is 724 to 777.
4                          (Exhibit No. 7 was marked)
5                          THE WITNESS:      Thank you.     I have this in
6       front of me.
7              Q.   (BY MR. CLARK)       Is this document Experian's
8       policies and procedures for identification arising in
9       connection with a consumer dispute?
10             A.   Yes.
11             Q.   And what's the date on this document?
12             A.   March 7, 2016.
13             Q.   Okay.    Was this a copy of the policies and
14      procedures for identification and statements in force
15      between March 2016 and May 2016?
16             A.   I believe so.
17             Q.   Was this document updated in 2017, to your
18      knowledge?
19             A.   I do not know.
20             Q.   Okay.
21                         MR. CLARK:     Jen, can we stipulate to the
22      authenticity of Exhibit 7?
23                         MS. BRASTER:      Yes.
24                         MR. CLARK:     Thank you.
25                         Could we have Tab 8 as Exhibit 8, please?



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1                          (Exhibit No. 8 was marked)
2                          MR. CLARK:     And, Jen, this is 931 to 962.
3                          THE WITNESS:      I have this in front of me.
4              Q.   (BY MR. CLARK)       Is this Experian's policies and
5       procedures for handling public records?
6              A.   Yes.
7              Q.   And what's the date of this document?
8              A.   March 29, 2016.
9              Q.   Was this a -- was this a copy of the --
10      Experian's policies and procedures for handling public
11      records that was in -- in effect between March 29, 2015,
12      and the end of May 2015?
13             A.   I believe so.
14             Q.   And has this document been updated at any point
15      in 2017?
16             A.   I do not know.
17                         MR. CLARK:     Okay.     Jen, can we stipulate to
18      the authenticity of Exhibit 8?
19                         MS. BRASTER:      Yes.
20                         MR. CLARK:     Thank you.
21                         Now if we could have Tab 9 as Exhibit 9,
22      please.
23                         (Exhibit No. 9 was marked)
24                         MR. CLARK:     Jen, this 1021 to 1029.
25                         MS. BRASTER:      Thank you.



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1                      THE WITNESS:      I have the document in front
2    of me.
3                      MR. CLARK:      Okay.
4          Q.   (BY MR. CLARK)       And so what is this document?
5          A.   It basically describes e-OSCAR.
6          Q.   Okay.     What is e-OSCAR?
7          A.   It is the automated system that is used to
8    communicate disputes in between a data furnisher and
9    Experian or credit reporting agency.
10         Q.   Okay.     And is e-OSCAR the only means by which
11   Experian communicates consumer disputes to a data
12   furnisher?
13         A.   I think that the disputes can also be mailed
14   through a CDV instead of a ACDV.
15         Q.   Okay.     Is -- is it more common for Experian to
16   use e-OSCAR to communicate consumer disputes than it is
17   for Experian to mail those disputes?
18         A.   Yes.
19         Q.   Okay.     And do you know -- do you know who
20   operates the e-OSCAR system?
21                     MS. BRASTER:      Objection to vague.        And
22   foundation.
23                     THE WITNESS:      No.
24         Q.   (BY MR. CLARK)       Do you know who was in charge
25   of maintaining the e-OSCAR system?



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1                      MS. BRASTER:      Same objection.
2                      THE WITNESS:      No.
3          Q.   (BY MR. CLARK)       Okay.     Do you know if Experian
4    participated in the -- in the construction of the
5    e-OSCAR system?
6                      MS. BRASTER:      Same objection.
7                      THE WITNESS:      No.
8          Q.   (BY MR. CLARK)       And you can -- and you've
9    been -- you've been an Experian employee since May of
10   2004; is that fair to say?
11         A.   Yes.
12         Q.   During the entire length of your employment
13   with Experian, has Experian used the e-OSCAR system?
14         A.   I'm not a hundred percent sure, but I believe
15   so.
16         Q.   When you began your employment at Experian in
17   May of 2004, was Experian using the e-OSCAR system at
18   that time?
19         A.   I don't know for sure.          We -- as a customer
20   service agent, I was not informed right away about what
21   system was used.
22         Q.   Okay.     And as a customer service agent, did you
23   process consumer disputes?
24         A.   Yes.
25         Q.   And how did you process consumer disputes in



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1    that role?
2          A.   I can't answer that.         Could you please be more
3    specific when you ask how?
4          Q.   Sure.     Do you understand what I mean when I say
5    "process consumer disputes"?
6          A.   Yes.
7          Q.   Okay.     And what -- what is your understanding
8    of processing consumer disputes?
9          A.   One of the things processing a consumer dispute
10   can mean is assisting a consumer with their dispute on
11   their credit file.
12         Q.   Could it also mean communicating with the data
13   furnisher about the information the consumer is
14   disputing?
15         A.   Yes, it can also mean that.
16         Q.   Is -- did -- in your role as a -- as -- sorry,
17   I forgot.     You said you were a consumer dispute agent.
18   I -- I -- I -- forget the exact terminology you used,
19   but...
20                     What was the exact -- your exact job title?
21         A.   I stated customer service agent, but I -- I
22   also stated I wasn't sure if that was the title those
23   many years ago.
24         Q.   Okay.     So if I refer to customer service agent,
25   we both know what you're talking about.              It's that



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1    employment you had with Experian starting in May 2004?
2          A.   Yes.
3          Q.   Okay.     So as a customer discuss -- a customer
4    agent, did you ever, in the course of processing a
5    consumer dispute, send an ACDV to a data furnisher?
6          A.   Yes.
7          Q.   Okay.     And what -- when you sent an ACDV to a
8    data furnisher, did -- did you send it through the
9    e-OSCAR system?
10         A.   More than likely, yes.          I just handled the
11   dispute where I would choose the dispute reason and then
12   I did not handle the ACDVs.          And I did not send them out
13   myself.
14         Q.   Okay.     And who -- who sent those ACDVs from the
15   disputes that you -- you handled?
16                     MS. BRASTER:      Objection to foundation.
17                     THE WITNESS:      I would assume they're almost
18   all systematically sent.
19         Q.   (BY MR. CLARK)       When you say systematically
20   sent, what do you mean?
21         A.   Sent by the system.
22         Q.   When you say "the system," what do you mean?
23         A.   Not sent by an agent.
24         Q.   Okay.     So the system in your mind means anyone
25   who is not an agent?



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1          A.   In this case, correct.
2          Q.   Would the system then mean that -- does the
3    system in your mind include any human being?
4                      MS. BRASTER:      Objection to vague.
5                      THE WITNESS:      If I say system, I would
6    imagine it's not a human being, correct.
7          Q.   (BY MR. CLARK)       And why -- why do you believe
8    that?
9          A.   That is my understanding of human being and
10   system.
11         Q.   Okay.     So let me -- let me see if I understand
12   what you mean by system.
13                     Are you saying that you input information
14   based on a consumer dispute and then the system
15   transmits that information to the data furnisher?                 Is
16   that -- is that sort of what you're -- you're getting at
17   or am I missing something?
18                     MS. BRASTER:      Objection to the extent it
19   misstates her testimony.
20                     THE WITNESS:      Yes, that makes sense.
21         Q.   (BY MR. CLARK)       Okay.    So let's see -- so
22   you're not sure what -- what the system is in terms of
23   whether it's -- all you know is that it's not a human --
24   it doesn't involve the intervention of a human being; is
25   that fair to say?



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1                      MS. BRASTER:      Same objection.
2                      THE WITNESS:      Correct.     I'm -- I'm not sure
3    of all the details of Experian's system.
4          Q.   (BY MR. CLARK)       Okay.    Does the system ever --
5    does the system ever refuse to send an ACDV as you've --
6    as -- as it's been directed by your action?
7          A.   I do not know.
8          Q.   In your experience as a consumer dispute agent
9    or customer dispute agent, did the system ever reject an
10   ACDV that you -- that you sent?
11                     MS. BRASTER:      Objection to vague.
12   Foundation.
13                     THE WITNESS:      I do not know.
14         Q.   (BY MR. CLARK)       Let me ask you a general
15   question, Anna, you -- do you use a computer at work?
16         A.   Yes.
17         Q.   When you're -- and -- and do you type on
18   that -- do you type on that computer at any point in
19   time?
20         A.   Yes.
21         Q.   Have you ever typed a letter E?
22         A.   The letter E, is that what you stated?
23         Q.   Yes.
24         A.   Yes.
25         Q.   Okay.     And how does -- how does the letter E --



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1    when you type the letter E on the keyboard, do you
2    expect it to show up on -- on a screen that's in front
3    of you?
4          A.   Yes.
5          Q.   Okay.     But even though you're typing the letter
6    E, it's not actually the letter E that is -- that is
7    going through the screen, it would be whatever the
8    computer system is that -- that calculates what you've
9    typed as the letter E and then displays it on the
10   screen, is that -- is that your understanding or do you
11   have a different understanding?
12                     MS. BRASTER:      Objection to vague and
13   foundation.
14                     THE WITNESS:      I am so sorry, I don't have
15   understanding of how the E gets transmitted through the
16   computer.
17         Q.   (BY MR. CLARK)       Okay.    If -- let me ask you
18   this question:       Have you -- have you wrote e-mails -- or
19   do you write e-mails in the course of -- in the course
20   of your job?
21         A.   Yes.
22         Q.   Okay.     And when you -- when you write e-mails,
23   do you type these e-mails out on a keyboard ever?
24         A.   Yes.
25         Q.   Okay.     And when you send those e-mails to -- to



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1    other people, is it -- is it you sending those e-mails
2    or is it the system sending those e-mails?
3                      MS. BRASTER:      Objection to foundation and
4    vague.
5                      THE WITNESS:      I -- I'm really not quite
6    sure.    I guess it would be the system, after I request
7    the e-mail be sent.        I don't know how to answer that
8    that well.     I'm so sorry.
9          Q.   (BY MR. CLARK)       Okay.    That -- that's -- that's
10   okay.
11                     Basically what I'm trying to do here is I'm
12   trying to find an analogy to what you testified to.                 And
13   maybe this is because -- maybe it's not.
14                     So -- but let me ask one more question
15   about -- about those e-mails and then I'll tie it back
16   in.   If someone got back to you based on the e-mail that
17   you sent, would they be -- would they be asking about an
18   e-mail that you sent or would they be asking about an
19   e-mail that the system sent?
20                     MS. BRASTER:      Same objection.
21                     THE WITNESS:      I would imagine that they
22   would be asking about an e-mail that I sent through the
23   system.
24         Q.   (BY MR. CLARK)       Okay.    Now, in the context of
25   tying this back in to the consumer dispute process as



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1    you -- as you indicate your -- your role as a customer
2    service agent was, is -- is it -- well, let me ask you
3    this.
4                      Why is -- what is the process of sending a
5    consumer dispute through the system any different than
6    sending an e-mail through an e-mail server to -- to
7    another individual in the ordinary course of your work?
8                      MS. BRASTER:      Objection to vague and
9    foundation.
10                     THE WITNESS:      I do not know.
11         Q.   (BY MR. CLARK)       Okay.    Do you think that those
12   processes, based on your experience, are -- are the
13   same?
14                     MS. BRASTER:      Same objection.
15                     THE WITNESS:      I am so sorry.       I don't
16   understand the question.          Did you ask if an e-mail and
17   an ACDV were sent the same?
18         Q.   (BY MR. CLARK)       Well, is -- is -- let me ask
19   you this.
20                     If -- if there was something -- if there
21   was something that -- that -- that had been entered by a
22   dispute agent in the course of a dispute that was
23   submitted through e-OSCAR in an ACDV, would -- would
24   the -- would the blame for that error lie with the
25   system or would it lie with the agent who inputted the



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1    information that was transmitted through the system?
2                      MS. BRASTER:      Objection to vague.
3    Speculation, foundation.
4                      THE WITNESS:      I will have to ask for the
5    question to be repeated.
6                      MR. CLARK:      Sure.    Madam Court Reporter.
7                      THE REPORTER:      (Read back.)
8                      MS. BRASTER:      Same objection.
9                      THE WITNESS:      I don't know which error you
10   are referring to.
11         Q.   (BY MR. CLARK)       Okay.     Let me -- let me try
12   asking it again.       Let's suppose that a -- a -- an
13   Experian agent inputted information that was sent to a
14   data furnisher through an ACDV.            Are you with me so far?
15         A.   Yes.
16         Q.   And let's say that some of the information that
17   the agent entered that wound up on that ACDV sent to the
18   a furnisher was inaccurate or incorrectly entered.                 Are
19   you with me so far?
20                     MS. BRASTER:      Objection to speculation.
21                     THE WITNESS:      Yes.    I didn't understand it
22   that way earlier.
23         Q.   (BY MR. CLARK)       Okay.     And let's say -- let's
24   that Experian found out about that and was trying to
25   figure out who was responsible for -- for that -- for



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1    that mistake.      Are you with me so far?
2                      MS. BRASTER:      Same objection.
3                      THE WITNESS:      Kind of.     I don't know when
4    you state Experian found out about it, but I'm doing my
5    best to -- to follow you as best I can.
6          Q.   (BY MR. CLARK)       Okay.    When I say found out, I
7    mean received notification that the information inputted
8    by the -- by the Experian employee who sent the dispute
9    to -- ACDV was inaccurate.
10                     MS. BRASTER:      Objection to vague,
11   speculation.
12         Q.   (BY MR. CLARK)       Are you with me so far?
13         A.   Yes.
14         Q.   Okay.     When Experian was trying to figure out
15   who was responsible for inputting that information,
16   would it -- would it look to see if the system was
17   operating properly or would it ask the dispute agent
18   what went wrong?
19                     MS. BRASTER:      Same objections.
20   Speculation, foundation and vague.
21                     THE WITNESS:      If I remember correctly, you
22   stated that agent entered the wrong information.                 So --
23                     MR. CLARK:      Yes.
24                     THE WITNESS:      -- Experian would speak to
25   the agent.



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1          Q.   (BY MR. CLARK)       Okay.    Thank you.      And last
2    question.     Is -- you referred to it as "the system"
3    before, right?
4          A.   Yes.
5          Q.   Is the system an Experian system?
6                      MS. BRASTER:      Objection to foundation.
7                      THE WITNESS:      Experian uses many systems.
8    I don't know if they have created all of them.                But yes,
9    some are Experian systems.
10         Q.   (BY MR. CLARK)       So when you refer to "the
11   system" in the singular, would you like to amend your
12   testimony to say "the systems"?
13         A.   I don't think so.        I think only one system was
14   used for the ACDV to be spent, but Experian --
15         Q.   Okay.
16         A.   -- has several systems regarding different
17   sections.
18         Q.   So I will repeat my question.            When we -- we
19   were talking about "the system" before in the singular,
20   do you recall that?
21         A.   Yes.
22         Q.   Now, the system that we're talking about, is
23   that an Experian system?
24                     MS. BRASTER:      Objection to foundation.
25                     THE WITNESS:      The e-OSCAR system, I don't



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1    think is an Experian system, but there are other systems
2    that are.
3          Q.   (BY MR. CLARK)       And so let me -- let me --
4    maybe we could have answered this a lot easier before.
5    When you refer to the system, were you referring to
6    e-OSCAR system?
7                      MS. BRASTER:      Objection to vague and to the
8    extent it misstates her testimony.
9                      THE WITNESS:      Yes, when the ACDV is sent
10   I'm referring to the e-OSCAR system.
11         Q.   (BY MR. CLARK)       Okay.    Okay.    So as you sit
12   here today, you're -- you're not sure whether that is or
13   is not an Experian system?
14         A.   That is correct.        I do not know if Experian
15   assisted in creating e-OSCAR.
16         Q.   Okay.     Or if Experian maintains e-OSCAR; is
17   that -- is that fair to say?
18                     MS. BRASTER:      Objection; asked and
19   answered.
20                     THE WITNESS:      Yes, that is fair to say.
21         Q.   (BY MR. CLARK)       Okay.    But -- so it is possible
22   that -- that Experian did, in fact, either create and/or
23   maintains e-OSCAR; is that -- is that fair to say?
24                     MS. BRASTER:      Objection; asked and
25   answered.



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1                      THE WITNESS:      I do not know.
2          Q.   (BY MR. CLARK)       Okay.     You can't rule out the
3    possibility though, can you?
4                      MS. BRASTER:      Same objections.
5                      THE WITNESS:      I do not know.
6          Q.   (BY MR. CLARK)       Okay.     Let's be clear.      You're
7    not -- you're not sure whether Experian either created
8    or -- and/or maintains the e-OSCAR system?
9                      MS. BRASTER:      Same objection.
10                     THE WITNESS:      I do not know if Experian
11   created or maintains e-OSCAR.
12                     MR. CLARK:      Okay.    Thank you.
13                     All right.      So, Jen, could we stipulate to
14   the authenticity of Exhibit 9?
15                     MS. BRASTER:      Yeah.    Let me just -- sorry,
16   we went off on a little bit of a tangent there.
17   Exhibit 9 is --
18                     MR. CLARK:      Yeah.    Yeah.    This is --
19                     MS. BRASTER:      -- 1021 to 1029.
20                     MR. CLARK:      Yes.
21                     MS. BRASTER:      Okay.    Thank you.
22         Q.   (BY MR. CLARK)       Anna, just one more question on
23   these documents.       Are these -- are these Experian's
24   documents relating to use of the e-OSCAR system?
25         A.   Yes, I believe so.



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1           Q.   Okay.    Thank you.     You can set Exhibit 9 aside.
2                      MR. CLARK:      Jen, we're -- we're -- I've
3    got -- I've got three more of these.             I know it's a
4    little bit after 1:00.         So I think -- I think -- I don't
5    have -- I don't think we'll go on any tangents, so it's
6    up to you whether you just want to get through this so
7    we're at a good stopping point.            But I'm happy to stop
8    now because we had -- we're already past 1:00.                It's up
9    to you.
10                     MS. BRASTER:      Yeah.    If this is just the
11   basic questions like most of other ones were -- and I
12   didn't mean tangent in an offensive way.
13                     MR. CLARK:      Oh, no, no.     I -- I agree it
14   did.
15                     MS. BRASTER:      Yeah.
16                     MR. CLARK:      It was definitely different
17   than the other ways.        So I just want to make sure that
18   that -- as I -- as I sit here right now, I don't think
19   that's going to happen.         So it's up to you whether you
20   want to break now.
21                     MS. BRASTER:      Yeah.    Why don't we just go
22   through these last couple if you just want to -- if you
23   have a couple of questions on each of these.               But if you
24   think it's going to go lengthy, let us know and we'll
25   take a stop for lunch.



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1                      MR. CLARK:      Okay.    Will do.
2                      All right.      So, Madam Court Reporter, if we
3    could have Tab 10 as Exhibit 10, please.
4                      (Exhibit No. 10 was marked)
5                      THE WITNESS:      I have this in front of me.
6          Q.   (BY MR. CLARK)       Okay.     Anna, what is this
7    document?
8                      MS. BRASTER:      And for my benefit, which one
9    is this?
10                     MR. CLARK:      Sorry.    This is 1030 to 1034.
11                     MS. BRASTER:      Thank you.
12                     THE WITNESS:      These are ACDV e-OSCAR codes.
13         Q.   (BY MR. CLARK)       Okay.     Does -- does Experian
14   use these in connection with the consumer dispute
15   process, these codes?
16         A.   Yes, these codes can appear on ACDV.
17         Q.   Okay.     And do you know if this document -- I
18   don't see a date on it and so I -- I'm not sure when
19   this document was -- was -- was published.               Do you
20   happen to know that?
21         A.   I do not.
22         Q.   Do you know whether this document is currently
23   an accurate list of codes that Experian uses in
24   connection with -- with e-OSCAR?
25         A.   As you stated, that's no date on it.              But I



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1    believe this is an accurate document.
2          Q.   Okay.     And just jumping back to Exhibit 9, I
3    don't think I asked that question.            But would -- would
4    your answer be the same for Exhibit 9?
5          A.   Yes.
6          Q.   Okay.     Thank you.
7                      MR. CLARK:      Jen, can we stipulate to the
8    authenticity of Exhibit 10?
9                      MS. BRASTER:      Yes.
10                     MR. CLARK:      Thank you.     All right.
11                     Can we have Tab 11 as Exhibit 11, please?
12                     (Exhibit No. 11 was marked)
13                     MR. CLARK:      And, Jen, this is 1035 to 1043.
14                     MS. BRASTER:      Thank you.
15                     THE WITNESS:      (Looked at document.)         I have
16   the document in front of me.
17         Q.   (BY MR. CLARK)       Okay.    How does Experian use
18   this document?
19         A.   This is basically used as a glossary to
20   understand what these different payments statuses for
21   account conditions mean.
22         Q.   And is there a -- a date on this document?
23         A.   (Looked at document.)         I cannot tell if there
24   is a date.     I don't think so.        But on page 1043 it
25   appears that there was some writing under the Bates



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1    number.
2          Q.    Okay.
3          A.    I don't know if that was a date or not.              But I
4    do not see a date anywhere else.
5          Q.    Okay.    And is -- is that -- is that date -- are
6    you seeing that it says 2009?
7          A.    I see --
8          Q.    Is that the same date you're looking at?
9          A.    I see June of 2009, but then there's additional
10   writing under the Bates number and I don't know if
11   there's a different date there.
12                     MS. BRASTER:      Miles?
13                     MR. CLARK:      Oh, I see it.      Okay.
14                     MS. BRASTER:      Miles?
15                     MR. CLARK:      Yeah.
16                     MS. BRASTER:      I don't mean -- I don't mean
17   to interject and make a speaking objection.               I have one
18   that doesn't have a Bates number on top of that, if that
19   helps.     I can read in what it is or if you want me to
20   show it to the witness, you tell me.             Or if we just want
21   to move on.      But I do have one with no Bates number on
22   it.
23                     MR. CLARK:      If you -- thank you, Jen.         If
24   you could just read in that date, that would be helpful.
25                     MS. BRASTER:      Sure.    The -- that last line



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1    where it starts 06/09 and then there's like a dot.                 And
2    then it says 12/24/2559 -- 56 -- 2556.4898C-CF.
3                      MR. CLARK:      Okay.    And, Jen, as you read
4    that, I -- that doesn't sound like any date that I'm --
5    that I'm -- that I'm aware of.            So...
6                      MS. BRASTER:      No.    That's why I wanted to
7    clear it up, but I didn't want to...
8                      MR. CLARK:      Sure.    And -- absolutely.        And
9    I -- I appreciate that.         That makes it easier.
10         Q.   (BY MR. CLARK)       Anna, do you have any reason to
11   believe that this is not a copy of this document that
12   Experian would use between March 2015 and the present?
13         A.   No.
14         Q.   Okay.
15                     MR. CLARK:      Jen, can we stipulate to the
16   authenticity of Exhibit 11?
17                     MS. BRASTER:      Yes.
18                     MR. CLARK:      Okay.    Last one.     This is --
19   Madam Court Reporter, can we have Tab 12 as Exhibit 12,
20   please?
21                     (Exhibit No. 12 was marked)
22                     MS. BRASTER:      And, Miles, can you tell me
23   what it is so I'm not leaning over.
24                     MR. CLARK:      Oh, oh, yeah.      Sorry.    I'm
25   terrible at this.       1767 to 1774.



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1                      MS. BRASTER:      Thank you.
2                      MR. CLARK:      You're welcome.
3                      THE WITNESS:      I have this in front of me.
4          Q.   (BY MR. CLARK)       Okay.    So let's see.
5                      What is this?
6          A.   In general, this a document that would be
7    provided to a third party that would assist them in
8    reading a credit profile report.
9          Q.   Okay.     And is this a copy of that document that
10   would have been provided to a third party between March
11   of 2016 and the present?
12         A.   I believe so.
13         Q.   Okay.
14                     MR. CLARK:      Jen, can we stipulate to the
15   authenticity of Exhibit 12?
16                     MS. BRASTER:      Yes.
17                     MR. CLARK:      I didn't hear your response.
18                     MS. BRASTER:      I said yes.      Yes.
19                     MR. CLARK:      Great.    Well, with that, thanks
20   for -- thanks for sticking with me for a few minutes
21   after -- after 1:00.        But let's -- let's go on break and
22   you just let me know -- for lunch, let me know how long
23   do you think you need?
24                     MS. BRASTER:      Okay.    Well, let's go off the
25   record.



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1                      MR. CLARK:      Sure.
2                      (Break taken)
3                      MR. CLARK: Let's go back on the record.
4                      MS. BRASTER:      We are on.      All right.
5                      Anna, so we're -- I had -- for the
6    remainder of the deposition we're going to be talking
7    largely about Exhibit 2 and Exhibit 3.              So -- just so
8    you know that in advance and so you have those --
9    those -- those documents at that -- at the ready.
10                     MR. CLARK:      And, Jen, again for -- for your
11   benefit those were -- those were Experian 1 to 106, as
12   broken up in Exhibit 2.         The first being Experian 1
13   through 93 and Exhibit 3 being 94 to 106.
14                     MS. BRASTER:      Thank you.
15         Q.   (BY MR. CLARK)       All right.      So, Anna, looking
16   at Exhibit 2.      We had discussed --
17                     MS. CHIUSANO:      Lucille Chiusano.        I'm here
18                     MR. CLARK:      Thank you, Lu.
19         Q.   (BY MR. CLARK)       So, Anna, looking at Exhibit 2
20   we had discussed in the morning a consumer dispute
21   submitted by Mr. Ashcraft.          Do you recall that?
22         A.   Yes.
23         Q.   And was -- was Mr. Ashcraft's dispute -- or was
24   there a letter that Mr. Ashcraft sent to Experian
25   included in the document that you had review?



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1                       MS. BRASTER:     Objection to foundation.
2                       THE WITNESS:     Yes.
3           Q.   (BY MR. CLARK)      Okay.    And on what pages of
4    Exhibit 2 was that letter contained in?
5           A.   Page one.
6           Q.   Okay.    How about page two?
7           A.   Yes.    It -- it only starts on page one.            Is --
8    I should have clarified.
9           Q.   Okay.    Yeah.    Then page two is blank and
10   then -- but it continues on page three; is that fair to
11   say?
12          A.   Yes.
13          Q.   Okay.    So looking at -- so what's -- what's the
14   date of Mr. Ashcraft's letter to Experian on page one?
15          A.   The date on this letter is April 25, 2016.
16          Q.   Okay.    And do you see that Mr. Ashcraft is --
17   is referencing a credit report number, a little bit
18   further down page?
19          A.   Yes.
20          Q.   Okay.    And is that credit report number the
21   same credit report number that we see on page five?
22          A.   (Looked at document.)        Yes.
23          Q.   Okay.    Looking at page three, do you see where
24   it says:     Incorrect furnisher of account information?
25          A.   Yes.



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1          Q.   Okay.     Is there a furnisher account that
2    Mr. Ashcraft is disputing?
3          A.   Yes.
4          Q.   And what is the name of this furnisher account?
5          A.   Welk Resort Group.
6          Q.   Okay.     And what -- what information is
7    Mr. Ashcraft disputing?
8          A.   Late payments after filing a bankruptcy.
9          Q.   And what late payments specifically?
10         A.   May and June of 2011.
11         Q.   Okay.     And what information does Mr. Ashcraft
12   dispute on those dates?
13         A.   May of 2011, it appears he's disputing 30 days
14   late.    From June of 2011, it appears that he was
15   disputing the 60 days late.
16         Q.   And based on the remainder of the information
17   contained on page three, what does Mr. Ashcraft want
18   Experian to do with respect to this inaccurate
19   information?
20                     MS. BRASTER:      Objection to the extent it
21   calls for speculation.
22                     THE WITNESS:      To change the late notices to
23   reflect that he was current.
24         Q.   (BY MR. CLARK)       Okay.    All right.      And
25   Mr. Ashcraft references a bankruptcy on this page; is



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1    that fair to say?
2          A.   Yes.
3          Q.   Okay.     Let's see.     So looking at -- looking at
4    Ashcraft 9, do you see a notation for a public record?
5          A.   (Looked at document.)         Yes.
6          Q.   Okay.     And what is that public record?
7          A.   (Looked at document.)         A Chapter 7 discharge
8    bankruptcy.
9          Q.   Okay.     And what -- is there -- is there a
10   notation as to when the Chapter 7 bankruptcy was filed?
11         A.   Yes.
12         Q.   Okay.     And is that -- what is that notation?
13         A.   April 2011.
14         Q.   Is there a date on which this bankruptcy was
15   discharged?
16         A.   Yes.
17         Q.   And what is that date?
18         A.   August 2011.
19         Q.   And is there a -- is that August 2011 entry,
20   does it appear underneath a line that says "date
21   resolved"?
22         A.   Yes.
23         Q.   Okay.     So by date resolved, that means the date
24   that it was discharged, the bankruptcy?
25         A.   Yes.



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1          Q.    Okay.    And looking on Ashcraft 13 do you see a
2    trade line for Welk Resort Group?
3          A.    (Looked at document.)        Yes.
4          Q.    Okay.    And is this the Welk Resort Group
5    account that Mr. Ashcraft was disputing in his April 25,
6    2016, letter to Experian?
7          A.    Yes.
8          Q.    And do you see in -- do you see -- do you see
9    a -- a line near the bottom of this trade line that says
10   payment history?
11         A.   Yes.
12         Q.   Okay.     And do you see -- do you see those May
13   and June late notations that Mr. Ashcraft was disputing
14   on that payment history section?
15         A.   Yes.     Although they're whited out on this copy
16   so I don't actually right now see the late payments
17   there.     It's just two white spots.
18         Q.   Okay.     And let's see if we can -- if we can
19   clarify this.
20         A.   I -- I can also add that I did review the
21   documents and I -- I did see that there were late
22   payments there if that will help.
23         Q.   That would.      Thank you.      And in addition,
24   I'll -- I'll note we -- we had talked earlier about the
25   fact that there was another copy of this March 15, 2016,



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1    disclosure contained in Ashcraft -- in Ashcraft 47 to
2    64; did we not?
3          A.   (Looked at document.)         Yes.
4          Q.   Okay.     And I mean if it's easier for you to
5    read, is -- is that -- on Ashcraft 51 do you see a -- do
6    you see that Welk Resort Group disputed trade line also
7    appearing there?
8          A.   Yes.
9          Q.   And maybe it's little clearer, do you see the
10   May and June late payment that Mr. Ashcraft was
11   disputing on Ashcraft 51 in the payment history of the
12   Welk Resort Group trade line?
13         A.   Yes.
14         Q.   Okay.     Okay.    So -- and does the -- Welk Resort
15   Group account indicate that it was included in
16   Mr. Ashcraft's bankruptcy?
17         A.   No.
18         Q.   Okay.     Let's see.     All right.      So did -- did
19   Mr. Ashcraft's April 25, 2016, letter dispute a Capital
20   One account with Experian?
21         A.   (Looked at document.)         I don't believe so.
22         Q.   Okay.     So after -- after Mr. Ashcraft submitted
23   his consumer dispute on April 25, 2016; what did
24   Experian --
25                     Let me ask you this:        Did Experian contact



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1    Welk Resort Group regarding Mr. Ashcraft's dispute?
2          A.   Yes.
3          Q.   And how did it do so?
4          A.   Experian sent an ACDV to the data furnisher,
5    along with attaching Mr. Ashcraft's complete mail
6    correspondence.
7          Q.   Okay.     And when you say "complete mail
8    correspondence," you're talking about his letter and all
9    the documents that he attached to his letter, as
10   contained on Ashcraft 1 to 46?
11         A.   Yes.
12         Q.   Okay.     And how do know that Experian sent an
13   ACDV to -- to Welk after it received this dispute from
14   Mr. Ashcraft?
15         A.   I believe we looked at a copy of the ACDV
16   response.     In addition to the fact that the dispute is
17   displaying in the D/R Log.
18         Q.   Okay.     And so that would be ACDV on Ashcraft --
19   I'm sorry.
20                     Was that the ACDV we looked at in
21   Ashcraft -- on Ashcraft 65?
22         A.   Yes.
23         Q.   Okay.     And is that -- is sending the ACDV to
24   Mr. Ashcraft's data furnisher, Welk, in response to
25   Mr. Ashcraft's dispute, that's -- would -- would you say



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1    that's a -- a -- a normal thing that Experian does when
2    it receives a dispute from the consumer?
3                      MS. BRASTER:      Objection to vague.
4                      THE WITNESS:      Yes, this can be considered a
5    normal thing, as you stated.
6          Q.   (BY MR. CLARK)       Okay.     Roughly speaking, how
7    many consumer disputes does Experian receive per year?
8                      MS. BRASTER:      Objection to the extent it's
9    outside the scope.        Foundation.
10                     THE WITNESS:      I do not know.
11         Q.   (BY MR. CLARK)       Is it more than a thousand?
12                     MS. BRASTER:      Same objections.
13                     THE WITNESS:      I would assume so.
14         Q.   (BY MR. CLARK)       Is it more than a million?
15                     MS. BRASTER:      Same objections.
16                     THE WITNESS:      I do not know.
17         Q.   (BY MR. CLARK)       Okay.     Do you know how many
18   disputes it received by mail?
19                     MS. BRASTER:      Same objections and vague.
20                     THE WITNESS:      No.
21         Q.   (BY MR. CLARK)       How about by electronic mail?
22                     MS. BRASTER:      Same objections.
23                     THE WITNESS:      No.
24         Q.   (BY MR. CLARK)       Do you know how many disputes
25   Experian receives per year which dispute the accuracy of



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1    information in trade lines which were included in a
2    Chapter 13 bankruptcy?
3                      MS. BRASTER:      Same objections.
4                      THE WITNESS:      No.
5          Q.   (BY MR. CLARK)       Do you think the number is more
6    than a thousand?
7                      MS. BRASTER:      Same objections.
8                      THE WITNESS:      I do not know.
9          Q.   (BY MR. CLARK)       Does -- would Experian have a
10   record of -- of such disputes?
11                     MS. BRASTER:      Same objections.
12                     THE WITNESS:      I do not know.
13         Q.   (BY MR. CLARK)       Do you think Experian's
14   internal records could -- could show us how many
15   disputes were received?
16                     MS. BRASTER:      Same objections.
17                     THE WITNESS:      I do not know.
18         Q.   (BY MR. CLARK)       Same question.       How many
19   disputes does Experian receive per year which dispute
20   the accuracy of information contained in trade line
21   which were included in a Chapter 7 bankruptcy?
22                     MS. BRASTER:      Same objections.
23                     THE WITNESS:      I do not know.
24         Q.   (BY MR. CLARK)       Do you think the number is more
25   than a thousand?



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1                      MS. BRASTER:      Same objections.
2                      THE WITNESS:      I do not know.
3          Q.   (BY MR. CLARK)       Do you know think the number is
4    more than 40?
5                      MS. BRASTER:      Same objections.
6                      THE WITNESS:      I would assume so.
7          Q.   (BY MR. CLARK)       And do you think there's --
8    there would be more than 40 disputes that Experian
9    receives per year which dispute the accuracy of
10   information contained in trade lines which were included
11   in a Chapter 13 bankruptcy?
12                     MS. BRASTER:      Same objections.
13                     THE WITNESS:      I would assume so.
14         Q.   (BY MR. CLARK)       Okay.    Do you think the number
15   is more than a hundred?
16                     MS. BRASTER:      Same objections.
17                     THE WITNESS:      I do not know.
18         Q.   (BY MR. CLARK)       And we were -- we were talking
19   about Mr. Ashcraft's dispute as -- as related, at least
20   in part, to claimed inaccuracies in the payment history
21   section of his Welk trade line.            Do you recall that?
22         A.   Yes.
23         Q.   Okay.     What is the payment history section
24   of -- of a trade line?
25         A.   It shows the history of how the payments were



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1    made to that account and most specifically the
2    timeliness of the payments.
3          Q.   Okay.     If the account history section of
4    Mr. Ashcraft's Welk trade line had included a statement
5    which said:      That included the Chapter 7 bankruptcy on
6    April 29, 2011, would there be any reporting of payment
7    history after April of 2011?
8                      MS. BRASTER:      Objection; calls for
9    speculation and assumes facts.
10                     THE WITNESS:      No.
11         Q.   (BY MR. CLARK)       Okay.     And why not?
12         A.   Because the payment history after that filing
13   date would have been suppressed.
14         Q.   Okay.     And is that Experian's policy to
15   suppress payment history after the bankruptcy filing
16   date?
17                     MS. BRASTER:      Objection to vague.
18                     THE WITNESS:      Yes.
19         Q.   (BY MR. CLARK)       Okay.     Okay.   And so let's see.
20                     Do you know how many disputes Experian
21   receives per year which dispute the accuracy of
22   information contained in a payment history section of a
23   trade line which was included in a consumer's
24   bankruptcy?
25                     MS. BRASTER:      Objection; foundation.



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1    Speculation.
2                      THE WITNESS:      I do not.
3                      MS. BRASTER:      I was going to say -- I'm --
4    objection; foundation.         Outside the scope.
5                      THE WITNESS:      I do not know.
6          Q.   (BY MR. CLARK)       Do you think the number is more
7    than 40?
8                      MS. BRASTER:      Same objections.
9                      THE WITNESS:      I would assume so.
10         Q.   (BY MR. CLARK)       Do you think the number is more
11   than a thousand?
12                     MS. BRASTER:      Same objections.
13                     THE WITNESS:      I do not know.
14         Q.   (BY MR. CLARK)       Looking at -- perhaps, Anna,
15   just because it's easier, since we've -- we've agreed
16   that Ashcraft 51 is -- is the same reporting on the Welk
17   trade line as Ashcraft -- what was it?              Ashcraft 13.
18   I'll just refer to that one because it's a little bit --
19   it's a little bit clearer.
20                     The -- do you see where the Welk Resort
21   Group indicates that the account was -- the status is
22   paid and closed on Ashcraft 51?
23         A.   Yes.
24         Q.   Do you see where the -- what's the last date
25   that's included in the payment history on the Welk



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1    Resort Group trade line?
2          A.   October 2011.
3          Q.   And that's after April 2011, right?
4          A.   Yes.
5          Q.   Okay.     Let's see.     So turn back to the status
6    section.     What is -- what -- what is the status section
7    of a -- of a -- of a consumer trade line?
8          A.   It states the status of the account.
9          Q.   If -- if -- if an account was discharged in a
10   bankruptcy, would a notation to that effect be included
11   in the status section?
12                     MS. BRASTER:      Objection; speculation.
13                     THE WITNESS:      If a data furnisher reported
14   that this account was discharged in a bankruptcy, that
15   would be reflected under the status section.
16         Q.   (BY MR. CLARK)       Can Experian obtain information
17   about a -- the fact of a bankruptcy discharge from
18   anywhere other than from the data furnisher?
19                     MS. BRASTER:      Objection to vague.
20                     THE WITNESS:      Experian can obtain
21   information regarding bankruptcy public record through
22   LexisNexis.
23         Q.   (BY MR. CLARK)       Okay.    And is LexisNexis, are
24   they -- are they -- is it fair to say they're a
25   third-party vendor of information?



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1           A.   Yes.
2           Q.   Okay.    Is that where Experian gets its
3    bankruptcy-related public record information?
4           A.   Yes.
5           Q.   Are you -- are you familiar with the -- with
6    the --
7                       Let me ask you this:       Have you ever seen a
8    bankruptcy petition?
9           A.   I believe so.
10          Q.   Okay.    Have you ever seen schedules attached to
11   a bankruptcy petition?
12          A.   Yes.
13          Q.   And -- and are those -- and a bankruptcy
14   petition, to your knowledge, is that a -- a document
15   submitted into the public record in a bankruptcy?
16          A.   I believe it is submitted, as you state, into
17   the public record.
18          Q.   Okay.    So a bankruptcy schedule is -- would be
19   a document submitted into the public record, to the best
20   of your knowledge; is that fair to say?
21                      MS. BRASTER:     Objection to foundation.
22                      THE WITNESS:     I believe so.
23          Q.   (BY MR. CLARK)      Okay.    Let's see.      And let's
24   see.
25                      And how many consumer disputes does



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1    Experian receive per year which dispute the accuracy of
2    information contained in the status section of a trade
3    line which was included in a consumer's bankruptcy?
4                      MS. BRASTER:      Objection; outside the scope.
5    Speculation.
6                      THE WITNESS:      I do not know.
7          Q.   (BY MR. CLARK)       Is it more than 40?
8                      MS. BRASTER:      Objection; outside scope.
9    Foundation.
10                     THE WITNESS:      I would assume so.
11         Q.   (BY MR. CLARK)       Do you know if it's more than a
12   thousand?
13                     MS. BRASTER:      Same objections.
14                     THE WITNESS:      I do not know.
15         Q.   (BY MR. CLARK)       Okay.    And looking -- looking
16   down at Ashcraft 52, we had talked before about a -- a
17   Capital One account which was included in a -- in a
18   carbon copy reinvestigation from Equifax.               Do you recall
19   that?
20         A.   Yes, I recall the -- speaking about a carbon
21   copy for a Capital One account.
22         Q.   Okay.     I want you to look at Ashcraft 52.            Do
23   you see a Capital One account listed there?
24         A.   Yes.
25         Q.   Okay.     Do you see that a section below the



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1    payment history that says "account history"?
2          A.   Yes.
3          Q.   Do you know -- what is an account history
4    section in a trade line?
5          A.   The history of the account.
6          Q.   Okay.     And when you say history of the account,
7    what do you -- what do you mean in particular with that?
8          A.   It could be such things as balance information.
9          Q.   Okay.     Anything else?
10         A.   It could be something like the date that a
11   payment was received.
12         Q.   Okay.     Could it include a scheduled payment
13   amount?
14         A.   Yes.
15         Q.   Could it include an actual amount paid?
16         A.   Yes.
17         Q.   Okay.     Do you know how many disputes Experian
18   receives per year which dispute the accuracy of
19   information contained in the account history section of
20   a trade line included in a consumer's bankruptcy?
21                     MS. BRASTER:      Objection; foundation.
22   Outside scope.
23                     THE WITNESS:      I do not know.
24         Q.   (BY MR. CLARK)       Do you think the number is more
25   than 40?



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1          A.   I would assume so.
2                      MS. BRASTER:      Same objections.
3          Q.   (BY MR. CLARK)       And do you think the number is
4    more than a thousand?
5                      MS. BRASTER:      Same objections.
6                      THE WITNESS:      I do not know.
7          Q.   (BY MR. CLARK)       Okay.    So let's go back to --
8    let's go back to the ACDV that that we're talking about
9    on Ashcraft 65.
10         A.   (Witness complies.)
11         Q.   Let me know when you're there.
12         A.   I'm there.
13         Q.   Okay.     And so -- and I apologize, I -- I know
14   that we've done -- we've gone through this a few times
15   in other depositions, but I just have to -- I have to
16   understand some of the things that are -- that are
17   present on this form.
18                     So do you see there are three boxes in the
19   middle of the page that state:           Subscriber response on
20   profile and consumer claims?
21         A.   Yes.
22         Q.   What -- what information goes in the consumer
23   claims box?
24         A.   Information that the consumer claimed was
25   accurate.



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1           Q.   Okay.    And do you see any -- any notation -- do
2    you see any notations in the consumer claims box on
3    Ashcraft 65?
4           A.   Yes.
5           Q.   Okay.    And so what -- what notations do you
6    see?
7           A.   That it was current.        Paid current.
8           Q.   Okay.    And is that -- is information in the
9    consumer claims box information that Experian would --
10   would -- would put in before it sends the ACDV to -- to
11   Welk?
12          A.   Yes, it can be.
13          Q.   Okay.    Can Welk put that information in the
14   consumer claims box after it receives the ACDV from
15   Experian?
16          A.   No.
17          Q.   Okay.    Do you see anything in the consumer
18   claims box that -- that indicates that Mr. Ashcraft
19   wanted a statement of dispute added to his trade line?
20          A.   No.
21                      MS. BRASTER:     Objection to assume facts.
22                      MR. CLARK:     Sorry, go ahead.
23                      MS. BRASTER:     Sorry.    I didn't -- I just
24   don't want to interrupt her answer because we're -- with
25   the phone.     Just objection assumes facts.



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1          Q.   (BY MR. CLARK)       Do -- do you see anywhere on
2    the consumer claims box where Mr. Ashcraft indicated
3    that his Welk trade line was included in his Chapter 7
4    bankruptcy?
5                      MS. BRASTER:      Same objection.
6                      THE WITNESS:      No, both of those statements
7    you stated were provided to the data furnisher in the
8    attached correspondence.
9          Q.   (BY MR. CLARK)       Okay.    But they don't -- they
10   don't appear in the consumer claims box, correct?
11         A.   That is correct.        They were sent over with the
12   correspondence.
13         Q.   But the consumer claims box does have an
14   indication towards zero under the balance; is that -- is
15   that accurate?
16         A.   That is correct.        There was also a zero balance
17   on the account.
18         Q.   Okay.     So Experian did place portions of
19   Mr. Ashcraft's dispute in the consumer claims box, but
20   not everything?
21                     MS. BRASTER:      Objection; assumes fact.
22                     THE WITNESS:      That's correct.       There is not
23   a spot to add the dispute statement in the consumer
24   claims.    That's why we provided it in that
25   correspondence, so the data furnisher can view it.



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1          Q.   (BY MR. CLARK)       Is the ACDV form used here the
2    form used by all consumer reporting agencies?
3                      MS. BRASTER:      Objection to foundation.
4                      THE WITNESS:      I do not know.
5          Q.   (BY MR. CLARK)       Is -- do you know if this is a
6    form that Experian devised?
7                      MS. BRASTER:      Same objection.
8                      THE WITNESS:      I do not know.
9          Q.   (BY MR. CLARK)       Okay.    The -- is there anywhere
10   on the consumer claims box where Experian indicates that
11   Mr. Ashcraft is disputing the -- the late payments in
12   May and June of 2011?
13         A.   Yes.    That is where it states "paid current".
14         Q.   Okay.     And where are you looking?          And to be
15   clear, I was looking at the consumer claims box.                 I
16   wasn't -- oh, I see what you're saying.              Paid current.
17                     Okay.    And so by "paid current" Experian
18   meant to convey to -- to Welk that -- that there was --
19   that there was no -- that there was no prior late
20   payments on the account?
21         A.   Experian conveyed that there were no late
22   payments on the account.
23         Q.   Okay.     So -- and that's what paid current
24   means?
25         A.   Yes.    The status already was paid.           And the



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1    current after it conveys that there were no late
2    payments on the account.
3          Q.   Okay.     So -- so it would never be the case that
4    an account would say paid current if there were late
5    payments that had been entered previously, but the
6    account had been -- been brought current at a later
7    time?
8                      MS. BRASTER:      Objection to vague,
9    speculation.
10                     THE WITNESS:      If it states "paid current,"
11   that means it was paid and never late.
12         Q.   (BY MR. CLARK)       Okay.    So -- so the word "paid"
13   means never late?
14         A.   No.
15         Q.   Does the word "current" mean never late?
16         A.   In this scenario on the ACDV under consumer
17   claims it does mean that.
18         Q.   Okay.     And the -- and is there -- is there an
19   internal -- is -- is the word "current," is that like --
20   because to me the word "current" doesn't mean never
21   late.    So I'm assuming that that's some kind of internal
22   Experian code for -- for never late?
23         A.   The phrase "paid and current" would mean never
24   late.
25         Q.   Okay.     Well, the phrase here is "paid current"



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1    it's not paid and current; is that fair to say?
2          A.   My apologizes.       I didn't mean to put "and" in
3    the middle of those two words.
4          Q.   No worries.      I just want to make sure.          Because
5    we're talking about a very granulated statement.                 I'm
6    not trying to put words in your mouth.              I just want to
7    make it absolutely clear.
8                      Okay.    So -- so is -- is paid current an
9    Experian code for -- for reporting the information the
10   consumer's claim is never late?
11         A.   I -- I guess it could be called a code.               I'm
12   not exactly sure what the name for it is.
13         Q.   Okay.     Am I -- I mean code or terminology, is
14   that sort of the same -- is terminology maybe a better
15   word?
16         A.   Okay.
17         Q.   Well, I'm asking you.         I just want to make sure
18   that you understand what I'm trying to get at.
19         A.   Yes.
20         Q.   Okay.     And so where in the policies and
21   procedures would we find evidence of terminology which
22   indicated that "paid current" as reflected on this
23   consumer claims box means paid and never late?
24         A.   I do not know.       I would have to look through
25   the participant guide to see where that is listed.



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1          Q.   Okay.     So it would be -- it would be included
2    in the participants guide, you believe?
3          A.   I would have to look through there to see.
4          Q.   Would it be included on any other document
5    we've looked at which is not a participants guide?
6          A.   I'm not sure.       I would have to look through the
7    documents and see if it's listed there.
8          Q.   Okay.     How -- how -- so Experian put this
9    consumer claims "paid current."            How would Experian know
10   that Welk would know that paid current means paid and
11   never late?
12         A.   I do not know.
13         Q.   Okay.     Is there -- is there a uniform system of
14   reporting disputed information that -- that Experian and
15   data furnishers use to resolve consumer disputes?
16                     MS. BRASTER:      Objection to foundation.
17                     THE WITNESS:      There is Metro 2 Reporting
18   that data furnishers use when conveying information with
19   Experian.
20         Q.   (BY MR. CLARK)       Okay.    Is the notation "paid
21   current" included along the terms listed in Metro 2?
22                     MS. BRASTER:      Same objection.
23                     THE WITNESS:      I do not know.       I would have
24   to review the documents that we looked at earlier in
25   detail to find out the answer for you.



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1          Q.   (BY MR. CLARK)       Okay.    Would -- aside from
2    Metro 2, would there be any other -- any other means by
3    which Experian would know that Welk would know what it
4    meant?     And by "it" I mean Experian -- when Experian
5    said paid current?
6                      MS. BRASTER:      Objection to foundation.
7    Calls for speculation.
8                      THE WITNESS:      There could have been
9    training with Experian and Welk.            I am not sure.       I am
10   not privy to that information.
11         Q.   (BY MR. CLARK)       I understand.       Aside from
12   training and Metro 2, can you think of any other way
13   that Welk would know?
14                     MS. BRASTER:      Same objections.
15                     THE WITNESS:      I do not know.
16         Q.   (BY MR. CLARK)       Okay.    Now let's talk about the
17   training a little bit.         When you say when training --
18   and I understand you may not know the particulars of the
19   training that Welk provided -- or Welk was provided by
20   Experian.     But do you know enough about it to be able to
21   say that that might be something that happened.
22                     In -- so -- so let me ask you a general.
23                     In general what kind of -- what kind of
24   training does Experian provide to data furnishers about
25   codes that it would -- that it would have provided on



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1    ACDVs for the purpose of review?
2                      MS. BRASTER:      Objection, outside the scope.
3    Speculation.      Foundation.
4                      THE WITNESS:      I do not know.
5          Q.   (BY MR. CLARK)       Okay.    Do you recall any such
6    training that -- that -- that you know have occurred in
7    the past?
8                      MS. BRASTER:      Same objections.
9                      THE WITNESS:      I do not know.
10         Q.   (BY MR. CLARK)       So may I ask what -- what is
11   your basis for -- for thinking that there may have been
12   a training provided from -- by Experian to Welk
13   regarding information contained on the ACDV that
14   Experian sent to Welk?
15                     MS. BRASTER:      Objection to the extent that
16   it misstates her testimony.
17                     THE WITNESS:      I have previously heard that
18   there are trainings between the credit reporting agency
19   and the data furnishers.
20         Q.   (BY MR. CLARK)       And How did you hear that?
21         A.   I do not remember.
22         Q.   Do you know when you heard it?
23         A.   I do not know.
24         Q.   Do you remember in general when you heard it?
25         A.   I do not know.



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1          Q.   Do you remember who told you?
2          A.   I do not know.
3          Q.   Do you -- do you remember any details of the
4    trainings that were provided?
5          A.   No.
6          Q.   That you heard about?
7                      MS. BRASTER:      You might want to repeat it.
8    I don't know if he heard you.
9                      THE WITNESS:      No.
10         Q.   (BY MR. CLARK)       Okay.     Would Experian have a
11   record of trainings that it provided to data furnishers
12   about information that it contains on ACDVs that it sent
13   to the data furnishers?
14                     MS. BRASTER:      Objection; speculation.
15   Foundation.      Outside the scope.
16                     THE WITNESS:      I do not know.
17         Q.   (BY MR. CLARK)       Do you know if Experian charges
18   for those -- for those trainings?
19                     MS. BRASTER:      Same objections.
20                     THE WITNESS:      I do not know.
21         Q.   (BY MR. CLARK)       Okay.     Do you know when in the
22   course of Experian's business relationship with a data
23   furnisher it would provide those trainings to the data
24   furnisher?
25                     MS. BRASTER:      Same objections.



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1                      THE WITNESS:      I do not know.
2          Q.   (BY MR. CLARK)       Okay.    All right.      Have you
3    ever conducted any -- any trainings along the lines that
4    we just discussed?
5          A.   No.
6          Q.   Do you know anybody who has?
7          A.   I do not know.
8          Q.   Okay.     So in the course of your work with
9    Experian since 2004 you're -- you're not aware of
10   anybody who has conducted any trainings for any
11   furnisher regarding the information that Experian
12   provides on its ACDVs that it sends to furnishers after
13   Experian receives a consumer dispute?
14                     MS. BRASTER:      Objection, outside the scope.
15   Foundation.      Speculation.      Asked and answered.
16                     THE WITNESS:      I do not know the names of
17   the people that have conducted trainings with the data
18   furnishers.
19         Q.   (BY MR. CLARK)       Okay.    Do you remember their
20   job titles?
21                     MS. BRASTER:      Same objection.
22                     THE WITNESS:      I do not know their job
23   titles.
24         Q.   (BY MR. CLARK)       Okay.    All right.      Moving from
25   the consumer claims box.          Let's look at the on profile



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1    box, which is the second one.           Do you see that?
2          A.   Yes.
3          Q.   And what's the -- what's the on profile box?
4          A.   This is basically the information as to how the
5    account was appearing on the credit file at the time of
6    the dispute.
7          Q.   Okay.     And that says the -- under the trade
8    information -- under the account condition it says paid
9    "del 60."     Do you see that?
10         A.   Yes.
11         Q.   And so what does that mean?
12         A.   That it was paid in full and at the time it was
13   paid in full it was being reported by Welk as 60 days
14   delinquent.
15         Q.   Do you see under -- let me ask you this.               Under
16   the -- well, actually, strike that.
17                     Let's see.      And do you see a date last paid
18   that's -- that is being reported on the on profile?
19         A.   Yes.
20         Q.   And when -- when -- when is that date?
21         A.   April 20, 2011.
22         Q.   What does date last paid mean?
23         A.   It is the date Welk is stating they received a
24   payment on the account the last time.
25         Q.   Okay.     And let's see.      And looking at the



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1    subscriber response box to the -- that far right box of
2    those three.      What is the subscriber response --
3    response box?
4          A.   Basically that is the information that the data
5    furnisher responded back to in response to the ACDV that
6    was sent to them for the dispute.
7          Q.   Okay.     Do you see that there's a -- there's a
8    box that says "account status/rating"?
9          A.   Yes.
10         Q.   And there's a number that says 89 in there.                Do
11   you see that in the subscriber response?
12         A.   Yes.
13         Q.   What does 89 mean?
14         A.   I believe that is a code that stands for
15   creditor received deed.
16         Q.   Okay.     And below that you see a box that says
17   "payment rating," right?
18         A.   Yes.
19         Q.   And what -- and there's a number in -- in the
20   subscriber's response.         Do you see that?
21         A.   Yes.
22         Q.   And what is that -- what does that describe?
23   What is that payment rating -- what is -- and that --
24   that says the number -- sorry.           Strike all that.        I got
25   ahead of myself.



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1                      And -- and that's the number four, right?
2          A.   Yes.
3          Q.   And what does the number four represent in
4    payment rating box?
5          A.   As I sit here today, I don't know.             I do not
6    have all of the codes memorized.            And this is one
7    that --
8          Q.   Okay.
9          A.   -- I don't have memorized off the top of my
10   head.
11         Q.   That -- that's -- that's completely fine.
12   Would any of the documents that we looked at before we
13   took our lunch break help you to figure out what payment
14   rating -- what that number four means?
15         A.   Yes, they might.        I would have to look through
16   them and see.
17         Q.   Okay.     And if -- if you wouldn't mind, I --
18   I -- I would appreciate that.           I would like to get some
19   clarity on that.       So do you think it would be one of the
20   later exhibits that we'll -- where we talk about the
21   E-Oscar codes and account history codes and those kinds
22   of things?     That might cut down on the number of pages
23   you have to look at.
24         A.   It could be in there.         Or it could be in the
25   ACDV participant guide.



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1          Q.   Okay.     So if -- if you wouldn't mind, could you
2    look at -- can you look at, I guess, Exhibit 4 which is
3    the ACDV guide and then Exhibits 10 and 11 -- I'm sorry
4    9 to 11, which were -- which had a number of dispute
5    codes listed.      I think that might be where we need to
6    look.    But if you wouldn't mind looking, I would like
7    to -- I would like to try to figure that out.
8          A.   Yes.
9                      MS. BRASTER:      Miles, just give us a second.
10   We're going to go through them and pull the ones you
11   just referenced.
12                     MR. CLARK:      Sorry, Jen?
13                     MS. BRASTER:      We're just going through
14   right now and pulling the exhibits.             They're just
15   stacked catty-corner so I'm just going through right now
16   and finding them.
17                     MR. CLARK:      Got it.    Okay.    Yeah.    Sorry
18   for this.     I just -- you know, I want to make sure that
19   she can look anywhere that she thinks it might be there.
20                     MS. BRASTER:      No.    Understood.     Okay.    So
21   here is four.
22                     THE WITNESS:      Thank you, ma'am.        (Looked at
23   document.)
24                     MS. BRASTER:      I'll just put these here,
25   Anna.    There's eleven and there's ten.



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1                      THE WITNESS:      Thank you.      (Looked at
2    documents.)
3          Q.   (BY MR. CLARK)       Anna, and I -- you know, I
4    don't want to short-circuit your search.              Take as much
5    time as you -- as -- as you wish.            I did find on
6    Exhibit 11 a list of account conditions which has
7    No. 89.    And it has -- below it has something called
8    25 month payment history, which has the number four.                  So
9    I don't know if that helps you at all or whether you
10   want to continue searching or whether I'm just barking
11   up the wrong tree.        But I thought I'd point that out.
12         A.   I -- I think it might be inaccurate.              Can you
13   tell me where you're looking?           Is it -- next to the
14   number four does it 120 days late?
15         Q.   It does, yes.
16         A.   Yeah.     I think that's a -- that's a different
17   code for the history.
18         Q.   Okay.
19         A.   Thank you.
20         Q.   Okay.     Just want to see if -- okay?
21                     MS. BRASTER:      Miles, I don't want to
22   testify but could -- if you want to know which numbers,
23   I think I might have found the page.             I could be wrong
24   myself.
25                     MR. CLARK:      You know what, Jen, I'll



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1    stipulate to -- if you're helping us cut short it,
2    that -- that I will not considered this to be testifying
3    for the witness.
4                      MS. BRASTER:      Sure.    And -- and again, I
5    might be incorrect here.          But she was on 401.
6                      THE WITNESS:      Uh-huh.
7                      MS. BRASTER:      And there's a four there.          I
8    don't know if that's the right one.
9                      THE WITNESS:      Well, there's a couple of
10   fours there and -- and -- so -- and I'm going to -- I
11   think I have it as -- I'm not sure yet.              Just let me
12   keep looking.
13                     MR. CLARK:      Sure.    Yeah.    Of course.     I
14   didn't want to interrupt you.           I just thought, you know,
15   I was just trying to --
16                     THE WITNESS:      Thank you.      I want to make
17   sure I get the right one.
18                     MS. BRASTER:      It's a little easier looking
19   on my computer when I can do "control find."               So...
20                     THE WITNESS:      Yeah.
21                     MR. CLARK:      Fantastic.
22                     THE WITNESS:      (Looked at document.)         I
23   believe that it stands for a closed, inactive account.
24         Q.   (BY MR. CLARK)       And -- and to -- to form your
25   belief are you looking at 401 on Exhibit 4?



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1          A.   Yes.
2          Q.   Okay.     Okay.    Thank you very much.
3                      And -- and if something else occurs to you,
4    obviously, the number four is fairly generic.                And we
5    have --
6          A.   Yes.
7          Q.   -- as we've seen -- we've seen it in a few
8    different contexts.        But if -- if -- if for some reason
9    you have a -- a different thought on that later, just
10   let us know.
11         A.   Yes.
12         Q.   Okay.     So -- okay.     So -- so to the best of
13   your knowledge, a four in that payment rating box would
14   mean a -- a closed and inactive account?
15         A.   That is correct.
16         Q.   Okay.     So let me -- let me ask you this.
17   The -- I -- I see that on the account condition status
18   and the account status rating, those are different boxes
19   on the subscriber response box.            Do you see that?
20         A.   You said which two boxes are different, I'm
21   sorry?
22         Q.   Sure.     Let me ask you this.        So on the
23   subscriber response box there are separate lines
24   separating the account status rating that we talked
25   about with an 89 and the payment rating where we talked



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1    about the number four.         Do you see that?
2          A.   Yes.
3          Q.   Okay.     With the account status rating can -- is
4    there any account status for -- included in Chapter 7
5    bankruptcy?
6          A.   That would be listed a couple of boxes down
7    where it says CII.
8          Q.   Okay.     And so account status rating, that --
9    there's no way for -- there's no number that --
10   that's -- that anyone could -- could put in that would
11   designate the fact that an account was included in a
12   bankruptcy; is that -- is that what you're saying?
13         A.   I am not sure.       I would have to look through
14   all the account status codes to see.             But I do know that
15   the bankruptcy information on an ACDV is provided in the
16   CII box.
17         Q.   Okay.     Let's see.     So let's see.       If we look
18   back through Tab 11 at -- so we found -- we found 89 on
19   Ashcraft 1037 on Exhibit 11, right?
20         A.   We found 89 -- where did you state?
21                     MS. BRASTER:      Sorry, Miles.       Anna was just
22   asking.    You said 89 was on 1037.          She was just
23   inquiring, is that what --
24                     Miles?
25                     Let's go off the record for a second.



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1                      (Pause in proceedings)
2                      MS. BRASTER:      Back on the record.
3                      MR. CLARK:      Thank you.
4                      MS. BRASTER:      And I'm sorry and I don't
5    know when you dropped off.          But I -- I -- Anna had asked
6    the inquiry is -- did you say that you saw 89 on 1037?
7    I think we're a little lost.
8                      MR. CLARK:      Yeah.    That -- that was the
9    last question I had asked.
10                     THE WITNESS:      Yes, I do see the code 80 --
11   89 on 1037.
12         Q.   (BY MR. CLARK)       Okay.     And that's -- the
13   account condition is deed in lieu?
14         A.   Yes.
15         Q.   Okay.     And above -- above that code it says --
16   in red it says "account condition continued."                Do you
17   see that?
18         A.   Yes.
19         Q.   And so if we look at Ashcraft 1036, does that
20   look like the first page of the account conditions that
21   are continued on Ashcraft 1037?
22         A.   Yes.
23         Q.   Looking through the codes listed there, do you
24   see a -- a code listed as E?
25         A.   Yes.



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1          Q.   And what -- what is the account condition
2    listed next to E?
3          A.   Discharge through Chapter 7 bankruptcy.
4          Q.   Okay.     And is this also a -- could the code E
5    have been included in the -- in the payment rating box?
6    Or sorry, in the -- in the -- in the account status
7    rating box where the number 89 already occurs in the
8    subscriber response box on that ACDV that we're talking
9    about on Ashcraft 65?
10         A.   I believe so.
11         Q.   So what -- so let me -- let me ask you this:
12   On the on profile history grid, does it look like the
13   account status rating and payment rating boxes are
14   combined?
15         A.   It looks like there's not a line.             I don't know
16   why that is.
17         Q.   Could -- can Experian actually tell the data
18   furnisher -- so I guess the question is:              How would
19   Experian communicate with the data furnisher the account
20   status rating and the payment rating in the ACDV that it
21   sends to the data furnisher?
22         A.   In this scenario it sent that as the condition
23   paid delinquent 60 because that encompassed everything.
24         Q.   Does paid delinquent 60, does that -- does that
25   indicate that the -- that the creditor received a deed



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1    in lieu?
2          A.   No, that is not what Welk was reporting.               It
3    means --
4          Q.   Okay.
5          A.   -- that it was paid and at the time of payment
6    it was 60 days late.
7          Q.   Okay.     Is -- is -- is -- is paid del 60, does
8    that indicate that the account was -- was closed?
9          A.   It does.     Because it states paid in full.            That
10   also means closed for this type of account.
11         Q.   Sorry, you -- you say it says "paid in full."
12   Where do you see it says paid in full?
13         A.   I'm sorry, I -- I just have the understanding
14   that it's paid in full because it says "paid."
15         Q.   Okay.     So in -- when -- when Experian paid,
16   what it means is paid in full?
17         A.   That is correct.
18         Q.   Okay.     So the on -- so the on-line profile
19   history grid it's being reported to Welk that the
20   account was paid in full, but it was also delinquent
21   60 days?
22         A.   That is what Welk was reporting.
23         Q.   Okay.     And is that the information that
24   Experian communicated to Welk when it sent the ACDV to
25   Welk?



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1          A.   That is the information Experian stated we had
2    on the file at that time.
3          Q.   Okay.     Going back to the consumer claims box.
4    So is there anywhere on the consumer claims box that --
5    that indicates that Mr. Ashcraft believed the account
6    was included in his Chapter 7 bankruptcy?
7          A.   No.    That information was conveyed in the
8    document attached to the ACDV.
9          Q.   Okay.     If it -- and -- and looks like there's
10   no line between the account status rating and the
11   payment rating on the consumer claims box like there is
12   in the subscriber response box; is that fair to say?
13         A.   Yes.
14         Q.   So there would have been no way for Experian to
15   put in an account status rating the code -- the code of
16   E for bankruptcy -- discharged through Chapter 7
17   bankruptcy?
18         A.   I do not know why there's not a line there.
19         Q.   Does it say -- let me ask this:            In -- in -- in
20   the course of your work for Experian have you had
21   occasion to look at other that ACDVs and ACDV responses
22   that Experian had sent to a data furnisher and received
23   a response for?
24         A.   Yes.
25         Q.   In your experience does -- is there -- is there



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1    ever a line between the account status rating and
2    payment rating codes on the consumer claims box?
3           A.   I can't think of that off the top of my head.
4           Q.   Okay.    How about on the on profile box?
5           A.   I do not know right now.
6           Q.   Okay.    So -- okay.     Okay.    Thanks.     So let's
7    see.    In -- in -- in the subscriber response box do you
8    see that there's -- there's a listing for original
9    delinquency date?
10          A.   (Looked at document.)        Yes.
11          Q.   And what is that date?
12          A.   That is the date that Welk is stating they have
13   in their system for the original delinquency date.
14          Q.   Okay.    And I had represented to you earlier
15   that Mr. Ashcraft filed his bankruptcy on April 29,
16   2011.    Do you recall that?
17          A.   Yes.
18          Q.   Okay.    And -- and April 20th is different than
19   April 29th, right?
20          A.   Yes.
21          Q.   And then below on subscriber response box do
22   you see a -- do you see a date that says "closed date"?
23          A.   Yes.
24          Q.   And what is closed date on the subscriber
25   response?



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1           A.   That is the date Welk is stating the account
2    was closed.
3           Q.   Do you recall that I represented to you that
4    the -- that Mr. Ashcraft received his bankruptcy
5    discharge in August of the 2011?
6           A.   Yes.
7           Q.   And do you recall that -- that the public
8    records section of Mr. Ashcraft's March 15, 2016,
9    disclosure it indicated a bankruptcy -- Chapter 7
10   bankruptcy discharge date of August 2011?
11          A.   Yes.
12          Q.   Let me ask you in -- in general.            If -- if
13   Experian provides -- well, actually no.
14                      If -- if the subscriber response box on an
15   ACDV response is blank when Experian is reporting
16   different information, does -- does Experian re-report
17   the information that it has on its on profile?
18          A.   Can you repeat the question?
19          Q.   Sorry.    That didn't come out quite the right
20   way.
21                      Let's -- let's -- let's take a concrete
22   example.     On the on profile history grid it says:              Paid
23   delinquent 60, correct?
24          A.   Yes.
25          Q.   And on the subscriber response box that -- that



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1    field is blank.       Do you see that?
2          A.   Yes.
3          Q.   Would Experian -- if -- if -- if the subscriber
4    response box is blank, does Experian just re-report that
5    information?
6          A.   I believe so.
7          Q.   Okay.     And is that true for any information
8    that -- that the subscriber leaves blank, if there's
9    already information on Experian on profile grid?
10                     MS. BRASTER:      I'm sorry.      Can you repeat --
11   Madam Court Reporter, can you read that?
12                     THE REPORTER:      (Read back.)
13                     MS. BRASTER:      I'm just going to object to
14   vague.
15                     THE WITNESS:      That is my understanding.
16         Q.   (BY MR. CLARK)       Okay.    Let's look below the --
17   the -- those three boxes in the on file history grid.
18   Do you see that?
19         A.   Yes.
20         Q.   Okay.     And what is the on file history grid?
21         A.   It is the monthly payment history of the
22   account that was displaying at the time of the dispute.
23         Q.   Okay.     And on -- the -- do you see to the right
24   side of that there's a response history grid?
25         A.   Yes.



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1          Q.   What's the response history grid?
2          A.   That is the monthly payment history of the
3    account provided by the data furnisher at the time of
4    the ACDV response.
5          Q.   And on this response history grid that --
6    that -- that -- there's nothing in that response history
7    grid.    Do you see that?
8          A.   Yes.
9          Q.   Okay.     So Experian would have re-reported
10   everything from the on file history grid after it --
11   after -- sorry.       Strike that.
12                     So Experian would just simply re-report
13   everything from the on file history grid because it did
14   not receive -- because there's no other entry in the
15   response history grid?
16         A.   Yes.
17         Q.   Okay.     So let's look at that on file history
18   grid.    So do you see there's a one on -- for May 2,
19   2011?
20         A.   Yes.
21         Q.   Does that mean -- does that one mean 30 days
22   late?
23         A.   Yes.
24         Q.   And what about the two in June 2011?
25         A.   That is 60 days late.



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1          Q.   Okay.     What about the D from -- from July -- on
2    July, August, September of 2011?
3          A.   That is no data provided.
4          Q.   And rest of those --- everything after
5    October 2011 is blank?
6          A.   Yes.
7          Q.   Okay.     So let's look -- let's look now at -- at
8    Ashcraft -- let's see.         68 through 71.
9          A.   I'm there.
10         Q.   Is this that May 15, 2016, report of
11   reinvestigation that Experian sent Mr. Ashcraft that we
12   were talking about earlier this morning?
13         A.   Yes.
14         Q.   Okay.     And so do you see on Ashcraft 68
15   there's -- there's a -- there's a -- there's a box --
16   there's a line that says "dispute results" on the
17   left-hand side?
18         A.   Yes.
19         Q.   And do you see underneath that this summary
20   shows the revision made to your credit file as a result
21   of our processing of your dispute?
22         A.   Yes.
23         Q.   Okay.     And under the -- on -- on the third
24   column do you see there's a box that's -- there's a line
25   that says results?



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1          A.   Yes.
2          Q.   And below that there's a -- there's a -- a -- a
3    line that says credit items?
4          A.   Yes.
5          Q.   Do you see that Welk Resort Group account
6    listed under the credit items?
7          A.   Yes.
8          Q.   And what's the outcome of -- of -- of the
9    reinvestigation as Experian characterized it?
10         A.   Updated.
11         Q.   Okay.     And so let's -- let's go to the -- let's
12   go to Ashcraft 59.
13         A.   (Witness complies.)         Yes.
14         Q.   Okay.     Do you see that Welk Resort Group
15   account that Mr. Ashcraft disputed?
16         A.   Yes.
17         Q.   Okay.     And so do you see those -- there --
18   there's still those -- 30, 60s on May and June of 2011
19   reported on the payment history?
20         A.   (Looked at document.)         Yes.
21         Q.   Do you see under the status it says the
22   creditor received deed?
23         A.   Yes.
24         Q.   What does creditor received deed mean?
25         A.   It means it was a deed in lieu of foreclosure.



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1          Q.   Okay.     So the suggestion here is that -- is
2    that instead of foreclosing on the -- on -- on
3    Mr. Ashcraft's property the -- Welk accepted a deed -- a
4    deed?
5                      MS. BRASTER:      Objection to foundation.
6    Speculation.
7                      THE WITNESS:      Yes.
8          Q.   (BY MR. CLARK)       Okay.    Because -- and so the --
9    the status when it says:          Creditor received deed, that's
10   how a -- a -- that's how a status of 89 gets reported on
11   an Experian trade line?
12                     MS. BRASTER:      Same objections.
13                     THE WITNESS:      Yes.
14         Q.   (BY MR. CLARK)       Okay.    And then what is the --
15   what is the date on -- is -- is there a notation in the
16   payment history that indicates when the creditor
17   received the deed?
18         A.   Yes.
19         Q.   And what is that -- when -- when did that
20   occur?
21         A.   Payment history shows May of 2016.
22         Q.   Okay.     And -- and that's -- is that the entry
23   that says CRD?
24         A.   Yes.
25         Q.   Okay.     Do you see anywhere in here that



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1    indicates that this account was included in
2    Mr. Ashcraft's Chapter 7 bankruptcy?
3          A.   No.
4          Q.   And going back to -- going back to Experian 65.
5    I want to ask you about the -- I wanted to ask you about
6    the -- the deed that's -- that occurred on the on file
7    history grid.      Because I think we had talked about the
8    fact that the last deed was in September of 2011.                 Did
9    we not?
10         A.   Yes.
11         Q.   So -- but it looks like from the payment
12   history on Experian 69 that there's no data reported
13   from --    from -- let's see.        From July 2011 all the way
14   through April of 2016.         Do you see that?
15         A.   Yes.
16         Q.   So why would Experian fill in the rest of this
17   information with no data even though the on file history
18   grid had -- had the last deed from September of 2011?
19                     MS. BRASTER:      Objection, assumes facts.
20                     THE WITNESS:      Because in Welk's ACDV
21   response they did not provide any data for those months.
22   But they did respond with a creditor's deed.               And
23   Experian's logic is built to where we add no data for
24   each month, as we were not provided any data.
25         Q.   (BY MR. CLARK)       Okay.    So looking at the



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1    subscriber response box is -- how would -- how would
2    Experian figure out when to -- when to determine that
3    creditor received the deed?
4          A.   Experian would figure it out by looking at the
5    balance date that the data furnisher is required to
6    respond back with.        In this case they did not provide
7    the required balance date, so Experian adds the ACDV
8    response date.
9          Q.   I see.     So Experian -- so Experian basically
10   said that we don't have the balance date, we can't
11   figure it out, but based on the ACDV response date we're
12   going to put that information in -- in as -- as the --
13   as the -- the date of -- of the -- that the creditor
14   received the deed; is that fair to say?
15                     MS. BRASTER:      Objection to the extent it
16   misstates her testimony.
17                     THE WITNESS:      The data furnisher is
18   required to respond back with a balance date when they
19   provide the account status and they did not and Experian
20   used the ACDV response date.
21         Q.   (BY MR. CLARK)       Would that be Experian's policy
22   to use the ACDV response date in a circumstance where
23   the data furnisher did not provide a balance date in
24   their ACDV response?
25         A.   I know that's what Experian does.             I'm not sure



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1    if it's only Experian's policy, but I know that that's
2    the case.
3          Q.   Okay.     Yeah.    And I'm not asking about anybody
4    else but Experian.        I'm just wondering if that what's
5    Experian does as a matter of course when it gets an ACDV
6    that looks like that.
7          A.   Experian does that.
8          Q.   Okay.     And on the subscriber response box in
9    the -- on Ashcraft 65 I actually do see a balance date
10   reported there of 5/16/2016.           Do you see that?
11         A.   Yes.
12         Q.   So did Experian put that information in the
13   subscriber response box?
14         A.   Yes.    Because the balance date was not provided
15   as is required when they provide that account status.
16         Q.   Okay.     So -- so the subscriber response box
17   actually doesn't comprise information that the data
18   furnisher actually sent to you; is that fair to say?
19         A.   Not in this case for the balance date.
20         Q.   Okay.
21                     MS. BRASTER:      Object to the extent it
22   misstates her testimony.
23         Q.   (BY MR. CLARK)       Is there --
24                     MR. CLARK:      Sorry, Jen.     Do you have an
25   objection?



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1                      MS. BRASTER:      I have just to the extent it
2    misstated her testimony.          Again, I just didn't want to
3    interrupt in the middle of her answer.
4                      MR. CLARK:      Sure.    Thank you.
5          Q.   (BY MR. CLARK)       So how do you -- how do you
6    know that Welk did not provide a -- a balance date?                   Is
7    there another document that you're looking at to make
8    that determination?
9          A.   No.
10         Q.   Okay.     So how do you know that -- okay.            So
11   it's just -- so if we looked at a D/R Log it wouldn't
12   tell us that -- that -- that -- that information?
13         A.   One second, I will review.
14         Q.   Sure.
15         A.   The DR does not show that Welk's -- Welk
16   responded back with a balance date.
17         Q.   Okay.     So how do you know that Welk didn't
18   provide a balance date in its -- in its ACDV response?
19         A.   It does not appear on the D/R Log and I do know
20   from training that if they don't provide a date, we do
21   use the ACDV response date, as in this case.
22         Q.   Okay.     I -- I'm just trying to figure out --
23   because when I look at the subscriber response -- I
24   think we talked about the fact that -- that that's
25   information that Experian gets back from the data



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1    furnisher.     So I'm trying to figure out, you know,
2    how -- how we would know that -- that information isn't,
3    in fact, provided by the -- by the subscriber, that it's
4    actually provided by Experian.           And so I guess my
5    question then is:       Would we be able to look at each
6    piece of information on the subscriber response box and
7    match that up to something on the D/R Log to be able to
8    determine that -- that the -- the -- the -- that
9    particular item in the subscriber response box was
10   actually added by Experian, but not added by -- by Welk?
11         A.   I do not know.       I know that the balance date is
12   the one item that Experian has to put in when the data
13   furnisher does not provide the required balance date in
14   their ACDV response.
15         Q.   Okay.     And so if -- so if -- if the subscriber
16   response is just blank, then Experian would -- would
17   then insert the balance date, which would be the date of
18   ACDV response; is that fair to say is?
19                     MS. BRASTER:      Objection to extent it
20   misstates her testimony.
21                     THE WITNESS:      If the subscriber responds
22   with a different status than we previously had, then
23   they are required to provide a balance date for that
24   status.    And in this case they did not, so Experian used
25   the ACDV response date.



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1          Q.   (BY MR. CLARK)       I see.     So -- so let me -- let
2    me see if I understand that.           So if -- in the event that
3    the -- that the data furnisher provides a different
4    status, would -- which -- which box would we be looking
5    at the -- in the subscriber response box that indicates
6    a different status?
7          A.   The box that says "account status/rating."
8          Q.   Okay.     And so in this case it looks like
9    Farmers (sic) did provide an account status/rating that
10   was different than what was on the on profile?
11                     MS. BRASTER:      Miles, Welks?
12                     MR. CLARK:      Oh, yes.    Sorry.
13                     THE WITNESS:      Yes.
14         Q.   (BY MR. CLARK)       Okay.    And so because Welk
15   provided a different -- a -- a different status but did
16   not include the balance date, Experian used the date of
17   the ACDV response as the new balance date?
18         A.   Yes.
19         Q.   Okay.     Turning back to the on profile -- the on
20   file history grid.        You had said that Experian's logic
21   was such that -- that it would just continue to report
22   the no data up until the time that -- of the new balance
23   date.    Did I -- did I hear you correctly?
24         A.   Yes.
25         Q.   Okay.     So if -- if, for example, the account



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1    was reporting as -- in this case the account reporting
2    as no data on September of 2011, correct?
3          A.   Yes.
4          Q.   Okay.     And if the account had been reporting
5    two as of June -- as it did in June 2011, if -- if -- if
6    there was -- if we had a circumstances like the one that
7    we're confronted with here where Experian updated the
8    account with the new status as of the balance date of
9    ACDV response, Experian may continue the report two all
10   the way from June 2011 through May of 2016; is that fair
11   to say?
12                     MS. BRASTER:      Objection to vague.
13   Speculation.
14                     THE WITNESS:      No.    Experian would --
15                     MR. CLARK:      Okay.
16                     THE WITNESS:      -- report no data for those
17   months because it hasn't been provided with data for
18   those months.
19         Q.   (BY MR. CLARK)       Okay.     So -- so -- so the -- so
20   Experian would, regardless of what the account condition
21   was in the last month that there was any reporting on
22   the on file history grid, Experian would report no data
23   for the months in which it had nothing on the on file
24   history grid?
25                     MS. BRASTER:      Same objections.



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1                       THE WITNESS:     If it was not provided with
2    the 60-day late information for the following months,
3    Experian would report no data, as it was provided with
4    no data for those months.
5          Q.   (BY MR. CLARK)       Okay.    My question is slightly
6    different.     Maybe -- maybe we're talking about the same
7    thing, but I just want to make sure.             Let's assume that
8    the deeds on September, August and July of 2011 did not
9    exist.     Okay?
10         A.   Okay.
11         Q.   And -- and so the last -- the last entry on the
12   on file history grid would have been June of 2011, okay?
13         A.   Yes.
14         Q.   And -- and in June of 2011 the account was
15   reporting as 60 days late, correct?
16         A.   Yes.
17         Q.   So if -- if Welk had provided the account
18   status rating of 89, but did not provide a balance date
19   in its ACDV response and the balance date was -- as it
20   is here -- 5/16/2016, what would Experian have entered
21   in the months from July of 2011 to May 2016 when it was
22   using its logic to fill in the dates in between the date
23   of last reported and the date of, then, the new balance
24   date.
25                      MS. BRASTER:     Objection; speculation.



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1    Vague.
2                       THE WITNESS:     Experian would report no data
3    for each month, as we were not provided a data for any
4    of -- any data for any of those months.
5           Q.   (BY MR. CLARK)      Okay.    And would -- would that
6    be true if the last entry on the on file history grid
7    was charge off?
8                       MS. BRASTER:     Same objections.
9                       THE WITNESS:     I -- I believe so.
10          Q.   (BY MR. CLARK)      Okay.    And that would be for --
11   for any -- any account condition, it would be -- it
12   would be no data, wouldn't matter what the condition
13   was?
14                      MS. BRASTER:     Same objections.
15                      THE WITNESS:     I believe so.       If no data is
16   provided for those months leading up to the balance date
17   that you stated we didn't receive, so we had to -- to
18   input the ACDV response date, no data would be added to
19   the box for each month leading to that balance date.
20          Q.   (BY MR. CLARK)      Okay.    So did Welk report in
21   its subscriber response -- we were talking about the
22   close date of 8/29/2011, right?
23          A.   I see that.
24          Q.   Is that a date that Welk reported?
25          A.   Yes.



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1          Q.   Okay.     And how do you know that?
2          A.   Because it's in their ACDV response.              It is not
3    the balance date the creditors were required to write
4    back and provide.
5          Q.   Okay.     So -- so the balance date isn't
6    something that Experian would have -- would have updated
7    itself, right?
8                      MS. BRASTER:      Sorry.    Can you repeat that
9    question?
10                     MR. CLARK:      Yeah.    Sure.
11         Q.   (BY MR. CLARK)       So the balance date -- yeah.
12   That came out the wrong way.           I got that one mixed up.
13                     So unlike the balance date, the close date
14   is not a -- is not a field in the subscriber response
15   that Experian would update itself.            It would -- it would
16   depend entirely on the furnisher; is that fair to say?
17                     MS. BRASTER:      Objection to the extent it
18   calls for speculation.
19                     THE WITNESS:      Yes.
20         Q.   (BY MR. CLARK)       And it looks like in this case
21   Welk listed the close date as 8/29/2011, right?
22         A.   Yes.
23         Q.   So let's see.       5/16/2016 is almost four years
24   after the date that -- that Welk reported the account as
25   closed, right?



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1          A.   It is almost four years you said after?
2          Q.   Almost five.       Almost five years after the date
3    that Welk reported the account as closed?
4          A.   Yes.
5          Q.   Okay.     So why would -- if the data furnisher
6    was telling you that the account was closed in August of
7    2011, why would Experian think that there was a balance
8    due for almost five years after that point?
9                      MS. BRASTER:      Objection; foundation and
10   speculation.
11                     THE WITNESS:      Experian did not state that
12   there was a balance due.          The balance shows zero.
13         Q.   (BY MR. CLARK)       Okay.    That wasn't my question.
14   My question was the -- the status on the -- on the
15   account, the account says closed in 2011, but the
16   balance date is 2016, right?
17         A.   Correct.
18         Q.   Okay.     And that's almost five years after
19   the -- the date of the -- of the -- the date the account
20   was closed as Welk had put it?
21         A.   Yes.
22         Q.   And April 2016 is the month that Experian
23   reported that Welk received the deed in lieu?
24                     MS. BRASTER:      I'm sorry, what month did you
25   say, Miles?



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1                      MR. CLARK:      I'm sorry.     May of 2016.
2                      THE WITNESS:      The balance date was filled
3    in with May 16th of 2016 since Welk responded back with
4    an account status that was different than before and
5    they were required to provide a balance date.                Because
6    they did not, Experian used the ACDV response date.
7          Q.   (BY MR. CLARK)       Did -- could Experian have
8    contacted Welk after it received Welk's response to ask
9    them what the balance date should be?
10                     MS. BRASTER:      Objection; speculation.
11                     THE WITNESS:      Yes.
12         Q.   (BY MR. CLARK)       And did it do so?
13                     MS. BRASTER:      Same objection.
14                     THE WITNESS:      No.    This was an automated
15   ACDV response and there was no phone call, according to
16   my records, looking at this ACDV response.
17         Q.   (BY MR. CLARK)       Okay.     And -- and to derive
18   that conclusion that this was an auto ACDV issue, are
19   you looking at the -- the D/R Log on -- at Exhibit 3 on
20   page 98?
21         A.   Yes.
22         Q.   Okay.     Let me ask you this:        Is the decision to
23   make an account subject to auto ACDV processing a
24   decision that is made before or after the ACDV is sent
25   to the data furnisher?



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1                      MS. BRASTER:      Objection to foundation.
2    Outside scope.
3                      THE WITNESS:      I'm not sure if it's before
4    or after.     It could be either.         I cannot answer that.
5          Q.   (BY MR. CLARK)       Okay.     When you were a
6    customer -- and I'm going to butcher the term again.
7    But the -- would -- and so correct me if I'm wrong.
8                      When you were a customer dispute agent --
9    I'm talking about first job you had with Experian
10   starting in May of 2004.          You -- you -- you stated
11   that -- that you sent ACDVs to data furnishers, right?
12   Or you -- you directed the system to send it, I guess
13   would be a fairer statement.
14                     MS. BRASTER:      Objection to the extent it
15   misstates her testimony.
16                     THE WITNESS:      I would input the dispute as
17   a consumer provided.        And then if an ACDV was required,
18   if we had to contact the data furnisher, that would be
19   sent out.
20         Q.   (BY MR. CLARK)       Okay.     During the course of
21   your -- your -- your employment in that role, did you
22   ever designate a -- a dispute as subject to auto ACDV
23   processing?
24                     MS. BRASTER:      Objection to foundation.
25                     THE WITNESS:      No.



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1          Q.   (BY MR. CLARK)       And was auto ACDV processing a
2    term you were familiar with when you were a customer --
3    an consumer dispute agent?
4          A.   I don't remember if I was familiar with that
5    term in May of 2004.
6          Q.   Okay.     When did you first became familiar with
7    the term, to the best of your recollection?               I mean here
8    I'm asking for like -- I'm not asking for like the day
9    or the -- you know, even the month, but just -- just a
10   year, if you know that?
11         A.   I don't remember.
12         Q.   Okay.     Do you think it was after 2004?
13         A.   Yes.
14         Q.   Okay.     In your role -- in your second role at
15   Experian, did you ever -- did you process consumer
16   disputes?
17                     MS. BRASTER:      Objection to vague.
18                     THE WITNESS:      Yes.
19         Q.   (BY MR. CLARK)       And when I say your role, I
20   mean the second job you had before you -- that you
21   testified to earlier -- before you became a -- a -- a
22   senior legal compliant specialist or that -- that
23   terminology of the role that you have now.               Do you
24   understand what I'm talking about?
25         A.   Yes.



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1          Q.   So -- and -- and -- and you were in that second
2    role for -- between the end of 2004 and the summer of
3    2016; is that -- is that correct?
4          A.   Yes.
5          Q.   During that time did you process any consumer
6    disputes?
7          A.   Yes.
8          Q.   Okay.     And when you processed consumer
9    disputes, did you ever designate a -- a response for
10   auto ACDV processing?
11         A.   No.    When I send the disputes through, I don't
12   designate the ACDV processing.
13         Q.   Okay.     So -- so -- so the designation of auto
14   ACDV processing is not one that's made by the dispute
15   agent at the beginning, but before they send the dispute
16   to the data furnisher; is that -- as far as you know?
17                     MS. BRASTER:      Objection to foundation.
18                     THE WITNESS:      It is not made by the dispute
19   agent.
20         Q.   (BY MR. CLARK)       Do you know who at Experian
21   makes that decision?
22                     MS. BRASTER:      Same objection.
23                     THE WITNESS:      No.
24         Q.   (BY MR. CLARK)       Is the decision made by
25   Experian's internal computer systems --



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1                      MS. BRASTER:      Same --
2          Q.   (BY MR. CLARK) -- and their algorithms or?
3                      MS. BRASTER:      Same objection.
4                      THE WITNESS:      Yes, it could be.
5          Q.   (BY MR. CLARK)       Okay.    Is the decision made by
6    the algorithm after the -- Experian receives the results
7    of -- or the ACDV response from the data furnisher?
8                      MS. BRASTER:      Objection; foundation.         Asked
9    and answered.
10                     THE WITNESS:      I do not know.
11         Q.   (BY MR. CLARK)       Okay.    But -- and so auto ACDV
12   processing, I know we talked about this a -- a few times
13   in other -- other depositions, just to -- to be clear
14   for -- for this one.        What -- what is auto ACDV
15   processing?
16         A.   It is basically that the ACDV response, the
17   changes, if any, are made to the item systematically.
18         Q.   Okay.     And when you say systematically, what do
19   you mean?
20         A.   Through the system.
21         Q.   Okay.     Does any -- by the system, what do you
22   mean?    Do you mean the same system as we talked about
23   earlier with the E-Oscar system or a different system?
24         A.   I'm not sure if it's just one or if it's
25   Experian's other system also.           So I do not know.



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1          Q.   Okay.     Is it -- is a system that -- that is --
2    is a computer program or -- or some kind of nonhuman
3    actor?
4                      MS. BRASTER:      Objection to foundation,
5    vague.
6                      THE WITNESS:      I'm assuming the system would
7    be as a result of a computer program, but I am not aware
8    of the details.
9          Q.   (BY MR. CLARK)       Okay.    Do you know if -- if
10   a -- if you see the word "auto ACDV processing" on a D/R
11   Log in response to -- to -- would -- would a human being
12   have looked at the results of the DR -- or the ACDV, the
13   response, that the furnisher sent or would instead the
14   information that the furnisher reported be automatically
15   updated to the consumer's disputed -- disputed trade
16   line or other -- other information and then sent back to
17   the consumer in the form of a reinvestigation without
18   any further oversight?
19                     MS. BRASTER:      Objection; vague.        Compound.
20                     THE WITNESS:      I do not remember how the
21   question started.
22         Q.   (BY MR. CLARK)       Okay.    Let me -- let me -- let
23   me try that again.
24                     After -- when -- when you see on a D/R Log
25   a -- a notation, as we see here, that says auto ACDV



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1    processing, does -- would you expect a -- a human being
2    to have looked at the -- the ACDV response that Welk
3    provided before the information contained in Welk's
4    response was placed on Mr. Ashcraft's disputed trade
5    line and sent back to Mr. Ashcraft in the form of a
6    reinvestigation of his consumer dispute?
7          A.   I would expect the information to have been
8    updated systematically.
9          Q.   Okay.     And by systematically, do you mean
10   any -- any nonhuman actor?
11                     MS. BRASTER:      Objection to vague.
12                     THE WITNESS:      I don't understand you.         Can
13   you please repeat -- I don't know what nonhuman actor
14   mean.    If -- if that's what I heard.
15         Q.   (BY MR. CLARK)       Well, let me -- let me -- let
16   me ask you this way:        Is a dispute agent -- when -- when
17   we're talking about a dispute agent, are we talking
18   about a human being?
19         A.   Yes.    I was stating I don't know what actor
20   means, so...
21         Q.   Oh.
22         A.   I do know what nonhuman means.
23         Q.   Oh, I'm sorry.       Yes.    When -- when I say actor,
24   I mean employee or agent of Experian.
25         A.   So you're saying nonhuman agent or are you



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1    saying system?
2          Q.   Yeah.     So I'm saying -- so it's a -- a -- a
3    nonhuman agent or employee of Experian.              Or a piece of
4    intellectual property that Experian maintains, such as a
5    computer system.
6                      MS. BRASTER:      I'm just going to object to
7    vague again.
8                      THE WITNESS:      And I don't remember how the
9    question started.
10         Q.   (BY MR. CLARK)       Okay.    Let's try this again.
11   Does auto ACDV processing refer to a human being?
12         A.   No.
13         Q.   Okay.     When -- when a -- when you see on a D/R
14   Log that a -- a disputed trade line has a notation for
15   auto ACDV processing, does -- does that mean that
16   there's any human being that looks at the results of --
17   that Welk has placed on a -- on an ACDV response before
18   those results from the data furnisher are sent out to a
19   consumer on a reinvestigation report?
20         A.   It means that any updates that were made were
21   processed systematically.
22         Q.   Okay.     Let me ask you this:        Do you recall -- I
23   asked you before about your testimony in the Lynn
24   Travers case.      Do you recall that?
25         A.   I recall your question about -- from this



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1    morning, yes.
2          Q.   Okay.     Do you recall that during the deposition
3    in the Lynn Travers case we talked about auto ACDV
4    processing?
5          A.   I'm sorry, I don't recall.
6                      MS. BRASTER:      I'm just going to object.
7    Foundation and improper question.
8                      MR. CLARK:      Okay.    That's -- that's fine.
9    And I -- Jen, I don't intend to introduce anything here.
10   I'm trying to -- trying to figure out what her basis is.
11                     MS. BRASTER:      No, I understand.
12                     MR. CLARK:      Sorry?
13                     MS. BRASTER:      No, I said -- no, I
14   understand.
15                     MR. CLARK:      Okay.
16         Q.   (BY MR. CLARK)       Do you -- and -- and -- and,
17   Anna, you -- you recall that earlier in -- in the
18   morning we talked about your -- that you had testified
19   in a case called Selena Goodman on behalf of Experian?
20         A.   Yes.
21         Q.   Do you recall that during our -- during that
22   deposition you and I had a conversation about what
23   the -- the -- the term "auto ACDV processing"?
24                     MS. BRASTER:      Same objections.
25                     THE WITNESS:      I'm sorry, I don't remember



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1    what we spoke about in that deposition.
2          Q.   (BY MR. CLARK)       Okay.    If you saw your
3    deposition testimony, would it -- would it refresh your
4    recollection as to whether or not that discussion took
5    place?
6                      MS. BRASTER:      Same objections.       Calls for
7    speculation.
8                      THE WITNESS:      Yes, if I would be given the
9    opportunity to review my testimony from -- I don't know
10   which one of the three you're referencing, it would -- I
11   would be able to tell you what we spoke about.
12         Q.   (BY MR. CLARK)       Okay.    And would your answer be
13   the same if -- if -- if I were to introduce or show
14   you -- not introduce, but show you portions of your
15   deposition in the Lynn Travers case about auto ACDV
16   processing, would that refresh your recollection?
17                     MS. BRASTER:      Same objections.
18                     THE WITNESS:      If I was able to review my
19   testimony from -- again, I forget which one of the three
20   we're referencing, I would be able to tell you what we
21   spoke about, yes.
22         Q.   (BY MR. CLARK)       Sure.    And for purposes of
23   clarity, my -- my last line of questioning has related
24   to the Serena Goodman deposition and the Lynn Travers
25   deposition that we talked about earlier today.                Just --



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1    just to be clear.
2                      Okay.    Well -- and as it turns out I --
3    I -- I -- I won't be introducing that -- that -- that --
4    that testimony here.        I don't have it.
5                      You say a little more -- it's been a
6    discussion that's ongoing between -- between the parties
7    as to whether or not that could be -- that could be
8    shown.     But that -- that -- that's fine.           Okay.
9                      MS. BRASTER:      Miles, whenever you're at a
10   good stopping, we've been going over an hour and a half,
11   just so we can take a quick break.
12                     MR. CLARK:      Yeah.    You know, I -- I was
13   thinking about that.        I was going to do a little bit
14   more with the D/R Log and if I could just finish with
15   that then.     Can take a break in maybe like ten minutes?
16                     MS. BRASTER:      Is that okay?
17                     THE WITNESS:      Yes.
18                     MS. BRASTER:      That's fine.
19                     MR. CLARK:      Okay.    Thanks.
20         Q.   (BY MR. CLARK)       So -- and I want to turn your
21   attention to the D/R Log on -- on Ashcraft 98.
22         A.   Yes.
23         Q.   Okay.     And so -- so do you see on the D/R Log
24   there's a -- so -- first of all, let me ask you how
25   many -- how many disputes are there listed on the D/R



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1    Log?
2           A.   One.
3           Q.   Okay.    And is that dispute that we're -- the
4    account we've been talking about today?
5           A.   Yes.
6           Q.   Okay.    And what's the -- I believe we said
7    earlier that the report date on the D/R Log was
8    January 25, 2017, correct?
9           A.   Yes.
10          Q.   Okay.    What's the -- what's date of the dispute
11   listed below for the Welk Resort Group account?
12          A.   May 6, 2016.
13          Q.   Okay.    So do you know -- how do you know that
14   an ACDV was sent to Welk in this case?
15          A.   Because the D/R Log states ACDV sent equals
16   May 6, 2016.
17          Q.   Okay.    And do you see when the ACDV was
18   received -- or when the ACDV response was received by
19   Experian?
20          A.   Yes.
21          Q.   And when -- when did Experian receive the ACDV
22   response?
23          A.   May 16th, 2016.
24          Q.   The -- so really -- and so below I see -- I see
25   a box that looks like -- it looks sort of like the on



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1    file history grid, but it's -- it's -- it's cordoned off
2    with a bunch of dashes.         Do you see what I'm talking
3    about?
4          A.   Yes.
5          Q.   Okay.     And that -- that has -- and just to be
6    clear, that's -- that's a box -- it appears right below
7    a line that says LST pay DT and has a number of years
8    listed, the years being from 2009 to 2016.               So -- so
9    we're on the same page.         Do you see that?
10         A.   Yes.
11         Q.   And is this -- so what is the information in
12   this box?
13         A.   The payment history for each month.
14         Q.   Okay.     And the payment history for each month.
15   And who put the information in that box?              Was that
16   information that was provided by Welk or did Experian
17   put the information in?
18         A.   The information was provided by Welk.              Up
19   until, as we talked about earlier, the no data of
20   September 2011.       And the rest of the no data information
21   was provided by Experian because Welk responded back
22   with a different account status and they did not respond
23   with a required balance date and Experian provided no
24   data, because they did not give us any data up until May
25   of 2016.     There's actually nothing in May of 2016



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1    because that's the balance date.            So we put no data up
2    until April of 2016.
3          Q.   I see.     So if -- if Welk had reported a balance
4    date in May of 2016, there would have been an entry in
5    May of 2016 to reflect that?
6          A.   I'm sorry, what was your question?
7          Q.   If -- if Welk had reported a balance date in
8    their ACDV response in May 2016 that would have been --
9    that -- that balance date would have appeared in this
10   box that we're talking about on Ashcraft 98?
11         A.   No.    We only provide information up until the
12   month before the month of the balance date.
13         Q.   Okay.     So -- so in this box if -- if, for
14   example, Welk had reported the account as charged off or
15   paid and closed as of May 2016, it wouldn't -- that
16   information wouldn't appear in this box we're talking
17   about?
18                     MS. BRASTER:      Objection; speculation.
19                     THE WITNESS:      That is correct.       That
20   information would not appear in that month.               The only
21   information -- the information only goes to the month
22   before the month of the provided status.
23         Q.   (BY MR. CLARK)       Okay.    So where -- where on the
24   D/R Log would -- would Welk have provided the balance
25   date, other than in this box we're talking about?



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1                      MS. BRASTER:      Objection to foundation.
2    Assumes facts.
3                      THE WITNESS:      If --
4                      MR. CLARK:      Fair enough.      So let me -- let
5    me withdraw that and ask you --
6          Q.   (BY MR. CLARK)       If Welk had provided a balance
7    date in its ACDV response, would we see a notation to
8    that effect on the D/R Log?
9          A.   I believe so.
10         Q.   Okay.     And if -- if there was a balance date
11   that was provided, where would that have -- where would
12   that have occurred?
13         A.   I would -- I believe it would be in the fields
14   next to the part where it states update data.
15         Q.   Okay.     Are you looking -- are you looking two
16   lines above that box we're talking about where it says
17   updated data equal --
18         A.   Yes.    It would be somewhere in that area.             I
19   don't know exactly where because it differs depending on
20   what other information is provided.
21         Q.   Okay.     I'm looking -- looking above at the
22   original data, do -- do you see -- it's -- there's a
23   dash about a few lines from -- from the top and below
24   that it says:      Agent ID.      And then below that there's --
25   there's -- there's a line to the original data.                Do you



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1    see where I'm looking at?
2          A.   I see original data equals tag-5.             Is that what
3    you're speaking about?
4          Q.   Yes.    Yes.    So the -- so -- so in the original
5    data, the two lines of text here, is -- is this original
6    data the data that was on file at the time of the
7    dispute?
8          A.   Yes.
9          Q.   Okay.     And do you see a balance date listed on
10   the original data?
11         A.   Yes.
12         Q.   And what is that balance date?
13         A.   October 31, 2011.
14         Q.   Okay.     And then below do you see a line that
15   says "bal hist"?
16         A.   (Looked at document.)         Yes.
17         Q.   And then what does bal hist mean?
18         A.   The balance history.
19         Q.   Okay.     And when it says all months ignored
20   CCCCFRDT-731, 2009.        Do you see that?
21         A.   Yes.
22         Q.   What does that mean?
23         A.   I believe that it's -- it stands for there's no
24   balance history showing on any month provided with this
25   account.



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1          Q.   Okay.     And where would we see the balance
2    history on -- on an Experian disclosure to Mr. Ashcraft?
3          A.   I have to look and see.          (Looked at document.)
4    It would be under account history if one is provided
5    and -- by the data furnisher.
6          Q.   I see.     So -- and the indication there was no
7    balance history -- there was no balance history provided
8    and -- and that's why it says all months ignored.
9          A.   Correct.
10         Q.   Okay.     Now, below -- below that original data
11   line, do you see that line that says "update data"?
12         A.   Yes.
13         Q.   And update data, what does -- what does -- what
14   does -- what does that mean?
15         A.   That is the data that is sent to a data
16   furnisher requesting to be updated, as it appears here.
17         Q.   Okay.     And I see it says:       Status paid current.
18   Do you see that under update data?
19         A.   Yes.
20         Q.   Okay.     And so that's -- that's information that
21   Experian would have sent to the data furnisher in terms
22   of what -- what -- what it was asking the data furnisher
23   to submit?
24                     MS. BRASTER:      Objection to vague.        Assumes
25   facts.



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1                      MR. CLARK:      Yeah.    That came out kind of
2    wrong.     I'll withdraw it.
3          Q.   (BY MR. CLARK)       The -- the update data field,
4    does that include all the information that a consumer
5    would have submitted in connection with their consumer
6    dispute that was sent to a data furnisher for its own
7    review?
8                      MS. BRASTER:      I'm sorry, can you repeat
9    that?    I apologize.
10                     MR. CLARK:      Yeah.
11                     Madam Court Reporter, could you please read
12   back my last question?
13                     THE REPORTER:      (Read back.)
14                     MS. BRASTER:      Object to the extent it calls
15   for speculation.
16                     THE WITNESS:      No, there was also that mail
17   correspondence sent to the data furnisher which provided
18   additional details as the consumer provided in their
19   correspondence.
20                     MR. CLARK:      Okay.
21         Q.   (BY MR. CLARK)       And where -- and where on the
22   D/R Log does it indicate that the mail correspondence
23   was sent to the data furnisher?
24         A.   On the D/R Log it would be where it says INGREQ
25   equals yes.



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1          Q.   Okay.     And so where are you looking for that?
2    Oh, I see is it.       Is that -- it says INGREQ -- I see it
3    on -- it's the second line down after dispute?
4          A.   Yes.
5          Q.   Okay.     And then it says ING sent equal
6    successful?
7          A.   Yes.
8          Q.   Okay.     So if -- if the ING sent doesn't equal
9    successful, does that mean that the information was not
10   submitted to the data furnisher, the mail
11   correspondence?
12                     MS. BRASTER:      Objection to the extent it
13   calls for speculation.
14                     THE WITNESS:      I believe so.
15         Q.   (BY MR. CLARK)       Turning back to the update
16   data.    Do you see that underneath the update data
17   there's a most recent date 10/31/2011?
18         A.   Yes.
19         Q.   Okay.     What does that mean?
20         A.   That is the balance date -- date carried over
21   from the balance date a couple of lines above that we
22   discussed earlier.
23         Q.   Okay.     All right.
24                     MR. CLARK:      Jen, this might be a good time
25   for a break.



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1                      MS. BRASTER:      Perfect.
2                      MR. CLARK:      We can take a break now.         You
3    want to take ten minutes or?
4                      MS. BRASTER:      I think five minutes should
5    be fine.     Five minutes should be fine.
6                      (Break taken)
7                      MR. CLARK:      We're on the record.
8          Q.   (BY MR. CLARK)       Okay.    So -- so, Anna, the --
9    we were talking before about the D/R Log and the -- and
10   the ACDV response.        Did -- after -- after Experian
11   received the ACDV response from Welk, did it update
12   Mr. Ashcraft's account, as Welk had instructed, on the
13   ACDV response?
14         A.   Yes.    In addition to updating that balance
15   date.
16         Q.   Okay.     And then after it updated -- and it
17   updated that information based on auto ACDV processing,
18   right?
19         A.   Yes.
20         Q.   Okay.     And after the auto ACDV processing, it
21   sent back the May 16, 2016, reinvestigation to
22   Mr. Ashcraft?
23         A.   Yes.
24         Q.   And the May 16, 2016, reinvestigation sent to
25   Mr. Ashcraft, on the Welk side, it did not -- it did not



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1    indicate that the Welk account had been included in
2    Mr. Ashcraft's Chapter 7 bankruptcy, did it?
3          A.   No.    Welk did not state it was included in the
4    bankruptcy.
5          Q.   Okay.     And if -- if Experian had known that the
6    account was included in the bankruptcy in April of 2011,
7    all of the post-petition payment history after April of
8    2011 would be suppressed; would it not?
9                      MS. BRASTER:      Objection to vague.
10   Foundation.      Speculation.
11                     THE WITNESS:      Correct.
12         Q.   (BY MR. CLARK)       All right.      Let's -- let's move
13   onto Ashcraft 72 through 87.
14         A.   Okay.
15         Q.   And I believe you testified earlier that this
16   is a disclosure prepared for John Ashcraft?
17                     MS. BRASTER:      Objection to the extent it
18   misstates her testimony.
19                     THE WITNESS:      Yes, the name on this
20   disclosure is John Ashcraft.
21         Q.   (BY MR. CLARK)       Okay.    And do you see the Welk
22   account reported on Ashcraft 76?
23         A.   (Looked at document.)         Yes.
24         Q.   And does that -- does the reporting on the Welk
25   account on Ashcraft 76 look the same as the reporting on



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1    the Welk account on Ashcraft 51 that we've been talking
2    about -- or I'm sorry.         Not -- not Ashcraft 51.         My
3    apologies.     Ashcraft 69.
4          A.   (Looked at document.)         I believe so.       Okay.
5          Q.   And on Ashcraft 74, do you see there's a public
6    record listed?
7          A.   Yes.
8          Q.   And is that the same -- is -- is that a Chapter
9    7 bankruptcy that's listed under the public record
10   section?
11         A.   Yes.
12         Q.   And is that the same public record that we were
13   discussing earlier in connection with Mr. Ashcraft's
14   March 2016 disclosure?
15         A.   I believe so.
16         Q.   Okay.     Turning to Ashcraft 88 through 93 now.
17         A.   (Witness complies.)
18         Q.   And I'll direct your attention towards Ashcraft
19   88.
20         A.   One second.      I am at Ashcraft 88.
21         Q.   Thank you.      Do you see that a -- that there are
22   three lines -- three columns of -- of texts here.                 I'm
23   going to direct your attention first to the column on
24   the -- on the far right-hand side.
25                     Do you see where it says "the results"?



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1          A.   Yes.    The far left side, I'm sorry.           I was
2    looking on the right.         I see dispute results.
3          Q.   Yes, to the left.        I'm sorry.      I meant the
4    left.    My -- my apologies.
5          A.   Yes.    I see it.
6          Q.   Okay.     And then below dispute results it says:
7    Our reinvestigation into the dispute you recently
8    submitted is now complete.
9                      Do you see that?
10         A.   Yes.
11         Q.   Going back to Ashcraft -- going back to
12   Ashcraft -- going back to Ashcraft 68, we were talking
13   about dispute results before on that earlier today.                 Do
14   you remember that?
15         A.   Yes.
16         Q.   And under dispute results it says:             This
17   summary shows the revisions made to your credit file as
18   a result of our processing of your dispute.
19                     Do you see that?
20         A.   Yes.
21         Q.   So why would -- and that's different than the
22   first sentence of -- under dispute results contained in
23   Ashcraft 88, correct?
24         A.   The two sentences you stated are different,
25   correct.



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1          Q.   Okay.     The one on 88 says "reinvestigation;"
2    does it not?
3          A.   Yes.
4          Q.   And the one on -- the one on 68 doesn't say
5    reinvestigation, does it?
6                      MS. BRASTER:      Objection to vague.
7                      THE WITNESS:      I don't see the word
8    "reinvestigation" in the first sentence.
9          Q.   (BY MR. CLARK)       What is the -- do you have an
10   understanding of what the word "reinvestigation" means?
11                     MS. BRASTER:      Objection to the extent it
12   calls for a legal conclusion.
13                     THE WITNESS:      I have an understanding.
14         Q.   (BY MR. CLARK)       And what is your understanding?
15         A.   In this case it's an investigation into the
16   account information.
17         Q.   The investigation by whom?
18                     MS. BRASTER:      Same objection.
19                     THE WITNESS:      This investigation was
20   conducted by Experian.
21         Q.   (BY MR. CLARK)       Okay.    And did Experian conduct
22   an investigation or a reinvestigation?
23                     MS. BRASTER:      Same objection.
24                     THE WITNESS:      A reinvestigation.
25         Q.   (BY MR. CLARK)       Okay.    Would -- would a data



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1    furnisher conduct an investigation as opposed to a
2    reinvestigation?
3                      MS. BRASTER:      Objection to the extent it
4    calls for a legal conclusion.           Foundation.      Calls for
5    speculation.
6                      THE WITNESS:      I do not know.
7          Q.   (BY MR. CLARK)       Okay.    Are you aware that
8    the -- that a data furnisher has some obligation to
9    respond to consumer dispute once it's submitted through
10   the consumer reporting agency?
11                     MS. BRASTER:      Objection --
12         Q.   (BY MR. CLARK)       If that dispute references
13   disputed information on a -- on that furnisher trade
14   line as being reported by Experian?
15                     MS. BRASTER:      Objection; assumes facts.
16   Speculation.      Legal conclusion.
17                     THE WITNESS:      Yes.
18         Q.   (BY MR. CLARK)       Okay.    And do you know if
19   that -- that -- if the process by which a -- a data
20   furnisher fulfills its obligation would be called an
21   investigation?
22                     MS. BRASTER:      Same objections.
23                     THE WITNESS:      No, I do not know what
24   they -- it would be called.
25         Q.   (BY MR. CLARK)       Okay.    But you're aware



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1    there -- there's some obligation of the data furnisher
2    to -- to respond, right?
3                      MS. BRASTER:      Same objections.
4                      THE WITNESS:      They need -- if there's a
5    dispute that was sent to them by the credit reporting
6    agency, I am aware that they're obligated to respond.
7          Q.   (BY MR. CLARK)       Okay.    And last piece of
8    comparison on those two dispute results sentences on
9    Ashcraft 68 and 88.        Do you see that -- that on 88 the
10   first sentence indicates:          The dispute you've recently
11   submitted is now complete?
12         A.   Yes.
13         Q.   And on 68 is there any indication that the
14   dispute results were -- were sent based on
15   Mr. Ashcraft's dispute that he recently submitted?
16                     MS. BRASTER:      Objection to vague.
17                     THE WITNESS:      Can you please repeat the
18   question?
19         Q.   (BY MR. CLARK)       Sure.    On -- in -- in the first
20   sentence of dispute results -- in the first sentence
21   under the -- the words "dispute results" on Ashcraft 68,
22   do you see the words -- do you see the word "recent"
23   anywhere?
24         A.   No.
25         Q.   Okay.     If Mr. Ashcraft contacted Experian



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1    disputing an item of information on an Experian trade
2    line, would Experian have a record of that
3    communication?
4          A.   I believe that would be in the D/R Log.
5          Q.   Okay.
6          A.   Or any CDFs that were sent in response to that
7    would be in the disclosure log.
8          Q.   Okay.     And we -- we talked before about the
9    idea that the D/R Log was dated January 25, 2017, right?
10         A.   Yes.
11         Q.   And this -- this -- this document is -- on
12   Ashcraft 88 is -- has -- it's got a date of February 8,
13   2017, right?
14         A.   Yes.
15         Q.   Okay.     Are you aware if Mr. Ashcraft contacted
16   Experian after he submitted his April 2016 dispute to
17   Experian to dispute information on his -- his trade line
18   as they appeared on his Experian credit report?
19                     MS. BRASTER:      Objection to vague.
20                     THE WITNESS:      I am aware that he did not.
21         Q.   (BY MR. CLARK)       And how do you know that?
22         A.   Because we do not have record of another
23   contact from him.
24         Q.   Okay.     And to -- to based -- and -- and the
25   basis for your belief, are you looking at any document



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1    to -- which form the basis of your belief?
2          A.   The disclosure log and the D/R Log.
3          Q.   And both of those -- the D/R Log is dated
4    January 25, 2016, right?
5          A.   No.
6          Q.   I'm sorry.      The D/R Log is dated January 25,
7    2017; is that right?
8          A.   Yes.
9          Q.   And this -- this dispute result on Ashcraft 88
10   is dated February 8, 2017, right?
11         A.   Yes.
12         Q.   So -- so -- and -- and so sitting here today
13   and -- and using the D/R Log as the basis for your
14   belief, how can you come to the conclusion that
15   Mr. Ashcraft never submitted another dispute to Experian
16   after his original dispute in April of 2016?
17                     MS. BRASTER:      Objection; asked and
18   answered.     Vague.
19                     THE WITNESS:      I reviewed his file and I did
20   not see another dispute after that date.
21         Q.   (BY MR. CLARK)       When you say you reviewed his
22   file, what did you look at?
23         A.   Mail correspondence, disclosure log.
24         Q.   Did you look at a D/R Log?
25         A.   I might have.       I don't remember.



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1          Q.   Okay.     Did you look at the D/R Log that we've
2    been talking about at Ashcraft 97 (sic)?
3          A.   I have looked at that, yes.
4          Q.   I'm sorry, Ashcraft -- Ashcraft 98.             My
5    apologizes.
6          A.   Yes, I have looked at this D/R Log.
7          Q.   Did you look at this D/R Log in connection with
8    trying to ascertain whether Mr. Ashcraft had submitted
9    any other disputes after his April 16 -- 2016 dispute?
10         A.   Yes.    That shows if he has up until
11   January 25th of 2017.
12         Q.   Okay.     And what about -- did you look at the
13   disclosure log that -- when you say you looked at a
14   disclosure log, do you mean that you looked at the
15   disclosure log that we have been talking about at
16   Ashcraft 97?
17         A.   I've looked at the disclosure log after that
18   also.
19         Q.   Okay.     So when you say after that, when -- do
20   you mean the disclosure log that was generated after
21   January 25, 2017?
22         A.   After that date.        But I did not print one out
23   and I don't know if that's what you mean by generated in
24   my research.
25         Q.   I -- I -- I -- I do and I'm just trying to



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1    figure out when the disclosure log was generated.                 And
2    maybe we can -- we -- if you can help me out with
3    that -- that -- that -- that would be appreciated.
4                      Do you know when the disclosure log was
5    generated that we've been looking at Ashcraft 97?
6                      MS. BRASTER:      Objection; asked and
7    answered.
8                      THE WITNESS:      I have to get to that page.
9    So one second.
10                     MR. CLARK:      Sure.
11                     THE WITNESS:      I don't know where it is.           So
12   it will be a minute.        You said Ashcraft 97?
13                     MR. CLARK:      That's correct.       It's on
14   Exhibit 3.
15                     THE WITNESS:      Okay.    No, there is no date
16   on this disclosure log.
17                     MR. CLARK:      Okay.
18         Q.   (BY MR. CLARK)       Do you know when the disclosure
19   log was generated?
20                     MS. BRASTER:      Same objection.
21                     THE WITNESS:      No.    There is no date on this
22   disclosure log.
23         Q.   (BY MR. CLARK)       Okay.     Did you -- did you
24   generate this disclosure log?
25         A.   No.



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1          Q.   Did you generate a -- a -- a disclosure log
2    after -- did you -- I'm sorry.           Strike that.
3                      Did you generate another disclosure log
4    that you looked at to determine whether Mr. Ashcraft had
5    disputed his information with Experian after May of
6    2016?
7                      MS. BRASTER:      Objection; foundation.
8    Assumes facts.
9                      THE WITNESS:      I did not generate another
10   disclosure log.
11         Q.   (BY MR. CLARK)       Okay.    So you were only looking
12   at this disclosure log?
13         A.   I believe so.       When you state generate, I --
14   I'm assuming that means to print one.             Because that's
15   the only way you generate one.           So...
16         Q.   Sure.
17         A.   So I don't know if I've looked at another
18   disclosure log because I don't know what date this one
19   is.
20         Q.   Okay.     Did the disclosure -- did any other
21   disclosure log you looked at have information different
22   than what you see on Ashcraft 97?
23                     MS. BRASTER:      Objection to foundation.
24   Assumes facts.
25                     THE WITNESS:      I don't remember if it did.



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1          Q.   (BY MR. CLARK)       Okay.    And so let's look at
2    the -- going back to the D/R Log.            That one got a report
3    date on it, right?
4          A.   Yes.
5          Q.   And the date is January 25, 2017?
6          A.   Yes.
7          Q.   And if Mr. Ashcraft had submitted another
8    dispute to Experian between January 25, 2016, and
9    February 8th of 2017 -- sorry.           January 25, 2017, and
10   February 8, 2017, that would be reflected on a D/R Log?
11                     MS. BRASTER:      Objection to the extent it
12   calls for speculation.
13                     THE WITNESS:      If there was a dispute
14   processed after January 25, 2017, it would be reflected
15   in a D/R Log.
16         Q.   (BY MR. CLARK)       And when you say "processed,"
17   do you mean reinvestigated or are those different
18   things?
19                     MS. BRASTER:      Objection to the extent it
20   calls for a legal conclusion.
21                     THE WITNESS:      It could mean the same thing.
22         Q.   (BY MR. CLARK)       Could it mean different things?
23                     MS. BRASTER:      Same objection.
24                     THE WITNESS:      I'm assuming it could mean
25   different things since they're different words.



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1          Q.   (BY MR. CLARK)       Okay.    Do you -- do you know
2    if, in particular, whether it could mean different
3    things as we sit here today?
4                      MS. BRASTER:      Same objection.
5                      THE WITNESS:      No, I'm very confused about
6    the questioning.       So I'm so sorry, you'll have to ask me
7    again.
8                      MR. CLARK:      That -- that's okay.        As I said
9    at the beginning if I -- if I ask a question that you
10   can't -- you -- you don't -- you don't understand, I
11   would ask that you ask me to ask it again.               I want you
12   to understand my question.          So absolutely.
13         Q.   (BY MR. CLARK)       Sitting here today, do you --
14   are you aware of any distinction between the word
15   "processing" and the word "reinvestigation" --
16   "reinvestigating"?
17                     MS. BRASTER:      Objection to the extent it
18   calls for a legal conclusion.
19                     THE WITNESS:      I think they can mean
20   different things and also the same thing.               I don't know
21   how else to answer that question.
22         Q.   (BY MR. CLARK)       Okay.    In your -- in your
23   work -- sorry.
24                     In your work at Experian, have you -- have
25   you used both words interchangeably?



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1           A.   Yes.
2           Q.   Okay.    And so looking at Ashcraft 88.           It
3    says -- we talked about the fact that it says:                Our
4    reinvestigation into the dispute you recently
5    resubmitted is now complete.
6                       The word "reinvestigation" of the dispute
7    you recently submitted, what -- what does that mean?
8                       MS. BRASTER:     Objection to the extent it
9    calls for a legal conclusion.
10                      THE WITNESS:     What does reinvestigation
11   mean?
12                      MR. CLARK:     Yeah.
13                      THE WITNESS:     An investigation or a
14   reinvestigation into an account information.
15          Q.   (BY MR. CLARK)      Okay.     And would a
16   reinvestigation show up on a D/R Log?
17                      MS. BRASTER:     Objection to the extent it
18   calls for speculation.         And vague.
19                      THE WITNESS:     Yes, it can show up on a D/R
20   Log.
21          Q.   (BY MR. CLARK)      It can, but will -- will it
22   show up on a D/R Log my -- is my question.               Is there
23   ever any circumstance in which a reinvestigation will
24   not show up on a D/R Log?
25                      MS. BRASTER:     Same objections.



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1                      THE WITNESS:      I -- I don't believe so.          If
2    there was investigation updated or if the account was
3    addressed or a dispute or ACDV was sent to that data
4    furnisher, it will show up on the D/R Log.
5                      MR. CLARK:      Okay.
6          Q.   (BY MR. CLARK)       And -- but so -- so Experian
7    sends a -- sends a document to Mr. -- strike that.
8                      So when Experian generated this document
9    that we've been talking about, meaning Ashcraft 88, on
10   February 8, 2017, where it says:            Our reinvestigation
11   into the dispute you recently submitted is now complete,
12   what was -- what was Experian responding to?
13                     MS. BRASTER:      Objection to assumes facts.
14   Foundation.
15                     THE WITNESS:      This document was created as
16   a result of our post-litigation procedures.
17         Q.   (BY MR. CLARK)       Okay.     And it says that this
18   is -- that -- those post-litigation procedures include a
19   reinvestigation?
20                     MS. BRASTER:      Objection to vague and to the
21   extent that it calls for a legal conclusion.
22                     THE WITNESS:      That's part of our
23   post-litigation procedures.
24         Q.   (BY MR. CLARK)       Okay.     And so looking on the --
25   looking on the next page, Ashcraft 89.              Do you see under



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1    the results it says:        We have completed the processing
2    of your dispute?
3          A.   Yes.
4          Q.   Okay.     And do you see two credit items listed
5    there?
6          A.   Yes.
7          Q.   And one of them is that Welk Resort Group
8    account we've been talking about?
9          A.   Yes.
10         Q.   And the other one is an account from Capital
11   One Bank, USA, correct?
12         A.   Yes.
13         Q.   As we talked about before, Mr. Ashcraft has not
14   disputed his Capital One bank account in his --
15   April 2016 dispute.        Do you remember that?
16         A.   Yes.
17         Q.   So why does Experian include that account as --
18   as -- showing that account in the processing of
19   Mr. Ashcraft's dispute?
20                     MS. BRASTER:      Objection to vague.        Assumes
21   facts.
22                     THE WITNESS:      This was addressed as part of
23   our post-litigation procedures.
24         Q.   (BY MR. CLARK)       Okay.    And -- so hang on one
25   second.    Let me just make sure.          Give me one second.



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1                      So you're aware that Mr. Ashcraft filed a
2    complaint in -- in this case, right?
3          A.   Yes.
4          Q.   And I think I represented to you before that
5    the complaint was filed on December 22, 2016, correct?
6          A.   Yes.
7          Q.   Did you review that complaint in preparation
8    for your deposition today?
9          A.   Yes.
10         Q.   All right.      Did -- did you see any reference to
11   Capital One in the complaint when you reviewed it?
12         A.   No.
13         Q.   And I'll represent to you that there is none.
14   So --
15                     But the -- you're saying that the account
16   that -- that Mr. Welk's (sic) Experian information was
17   updated based on Experian's post-litigation procedures,
18   correct?
19         A.   Yes.
20                     MS. BRASTER:      Objection to vague and to the
21   extent it misstates her testimony.
22                     MR. CLARK:      Sure.
23         Q.   (BY MR. CLARK)       On -- on February 8, 2017?
24                     I'm sorry, Anna.        I -- I didn't know if you
25   responded.     If -- if you did, I missed it.



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1          A.   I -- yes.      I responded yes.
2          Q.   Okay.     So -- so if the complaint didn't
3    reference the Capital One Bank trade line, why did
4    Experian include it in its post-litigation procedures?
5                      MS. BRASTER:      Objection; asked and
6    answered.     To the extent it gets into what Experian's
7    post-litigation procedures are, I'm going to instruct
8    the witness not to answer as to work product.
9                      THE WITNESS:      This was addressed as part of
10   our post-litigation procedures.
11         Q.   (BY MR. CLARK)       Okay.    So you don't -- you
12   don't know why it was addressed?
13                     MS. BRASTER:      And same caution.        Asked and
14   answered.     To the extent it gets into what those
15   post-litigation procedures are, I would instruct the
16   witness not to answer as that is work product and
17   privileged.
18                     THE WITNESS:      I do know that it was part of
19   our post-litigation procedures.
20         Q.   (BY MR. CLARK)       And we did talk earlier about
21   the fact that Equifax -- that a carbon copy
22   reinvestigation from Equifax was submitted for a Capital
23   One account.      Do you recall that?
24         A.   Yes.
25         Q.   And in the dispute results provided to



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1    Mr. Ashcraft on -- in his reinvestigation on -- in May
2    of 2016, the results of that reinvestigation did not
3    include the Capital One account; is that -- is that
4    correct?     And you can refer back to Ashcraft 68 if
5    you -- if -- if you wish.
6          A.   Correct.
7          Q.   Okay.     Is there anything on Ashcraft 88 to 93
8    which indicates to -- to -- to Mr. Ashcraft or anyone
9    else that this document was generated based on
10   Experian's post-litigation procedures?
11         A.   No.
12         Q.   Looking at the -- looking at the -- the
13   pages -- let me ask this.          In -- when we were talking
14   about the -- some of the participants guides earlier
15   today, did you see that those pages had been marked
16   "confidential" in the participants guide?
17                     MS. BRASTER:      Objection to vague.
18                     THE WITNESS:      I did not see that as I was
19   looking at it today.
20         Q.   (BY MR. CLARK)       Okay.    Well, I -- I mean if --
21   if you wish to -- for reference, you could look at
22   Exhibit 4 and you should see a designation that says
23   "confidential" on it, on I -- I believe each -- each
24   page of that document?
25         A.   Yes, I see it.



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1          Q.   Okay.     Okay.    So you -- you see those
2    designations as confidential -- that the document's been
3    marked confidential?
4          A.   Yes.
5          Q.   Do you see any -- any designation on Ashcraft
6    88 through 93 that those pages have been marked
7    confidential?
8          A.   No.
9          Q.   Do you know when Experian, if at all, provided
10   this February 8, 2017, reinvestigation to Mr. Ashcraft?
11                     MS. BRASTER:      And objection to assumes
12   facts.     Foundation.
13                     THE WITNESS:      I do not know when.
14         Q.   (BY MR. CLARK)       Okay.    Would you agree with me
15   that there's a reinvestigation?
16                     MS. BRASTER:      Objection to the extent it
17   calls for a legal conclusion.
18                     THE WITNESS:      Yes.    That was initiated as
19   part of our post-litigation procedures.
20         Q.   (BY MR. CLARK)       Okay.    So it was a
21   reinvestigation, correct?
22                     MS. BRASTER:      Same objection.
23                     THE WITNESS:      Yes.    That was initiated as
24   part of our post-litigation procedures.
25         Q.   (BY MR. CLARK)       And in the course of the



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1    reinvestigation from Ashcraft 88 to 93, did Experian
2    send an ACDV to either Welk or Capital One?
3                      MS. BRASTER:      Objection to the extent it
4    calls for a legal conclusion.
5                      THE WITNESS:      I'm sorry, for what pages?
6          Q.   (BY MR. CLARK)       This is -- this is that
7    February 8th, 2017, reinvestigation on Ashcraft 88 to
8    90 -- 93.     And the question is:         Do you know if Experian
9    sent an ACDV to either Welk or -- or Capital One before
10   it generated the dispute results?
11         A.   Yes, I know.
12         Q.   Okay.     So Experian -- and so did Experian send
13   a -- an ACDV to either furnisher?
14         A.   No.
15         Q.   Okay.     And looking at the -- looking at the
16   Welk -- actually, if you look at Ashcraft 91 --
17   actually, let me back up.
18                     How do you know that Experian did not send
19   an ACDV to Welk?
20         A.   I know as part of my post-litigation research.
21         Q.   Okay.     And did your post-litigation research
22   involve looking at the D/R Log that we were talking
23   about in -- at Ashcraft 90 -- 98?
24         A.   Yes.
25         Q.   Did it involve looking at any other DR logs



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1    that Experian may have generated after January 25, 2017?
2          A.   That's part of my post-litigation research and
3    procedures.
4          Q.   Yeah.
5                      MR. CLARK:      Yeah.    So, Madam Court
6    Reporter, could you please repeat my last question?
7                      THE REPORTER:      (Read back.)
8                      MS. BRASTER:      And I will insert the
9    objection to the extent it gets into the scope of
10   post-litigation procedures that would be work product
11   and I would instruct the witness not to answer.
12                     THE WITNESS:      Looking at DR logs would be
13   part of my post-litigation procedure.
14         Q.   (BY MR. CLARK)       Do you happen to know,
15   Ms. Simmons, if Experian has ever disclosed to -- to
16   other plaintiffs in Nevada documents -- DR logs dated
17   after litigation was commenced?
18                     MS. BRASTER:      Objection to the extent --
19   one, objection outside the scope.            Two, objection to the
20   extent that it calls for attorney/client communications.
21   And it assumes facts.
22                     THE WITNESS:      I do not know.
23         Q.   (BY MR. CLARK)       Okay.     And you've been a --
24   you've been a -- and forgive me.            Let -- let me make
25   sure I get the terminology right.



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1                      You -- you're currently a senior legal and
2    compliance specialist?         Or am I getting that definition
3    wrong?
4          A.   That is correct.
5          Q.   Okay.     And how many other senior legal
6    compliance specialists does Experian employ?
7                      MS. BRASTER:      Just objection to foundation.
8                      MR. CLARK:      All right.     Let me back up.
9          Q.   (BY MR. CLARK)       Does Experian employ more than
10   one senior legal compliance specialist?
11         A.   Yes.
12         Q.   How many more do they employ besides yourself?
13         A.   Three.
14         Q.   Okay.     And what are their names?
15         A.   Douglas Holland, Amanda Hoover, Carla Blair.
16         Q.   Is Mary Nessin (phonetic) a senior legal
17   compliance specialist?
18         A.   No.
19                     MS. BRASTER:      Objection to outside scope.
20         Q.   (BY MR. CLARK)       Have you ever heard the name
21   Mary Nessin before?
22         A.   Yes.
23         Q.   And who is Mary Nessin?
24                     MS. BRASTER:      Same objection.
25                     THE WITNESS:      She works for a different



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1    department.      I don't work with her so I do not know her
2    title.
3          Q.   (BY MR. CLARK)       Okay.     Do you know if
4    Ms. Nessin has ever been a senior legal compliance
5    specialist?
6          A.   Yes.
7                      MS. BRASTER:      Same -- same objection.
8          Q.   (BY MR. CLARK)       Sorry, I -- I -- Anna, forgive
9    me, I missed your answer.
10         A.   I had stated yes.
11         Q.   Okay.     Do you know what her job title is now?
12                     MS. BRASTER:      Same objection.
13                     THE WITNESS:      No.
14         Q.   (BY MR. CLARK)       Okay.     Do you know was she ever
15   a senior legal compliance specialist during the time in
16   which you were also a senior legal compliance
17   specialist?
18                     MS. BRASTER:      Same objection.       Foundation.
19                     THE WITNESS:      No.
20         Q.   (BY MR. CLARK)       Okay.     Let's look at Ashcraft
21   91.   And this is part of that February 8, 2017,
22   reinvestigation we've been talking about.
23         A.   Okay.     I'm there.
24         Q.   Okay.     Do you see the payment history is a
25   little different than the payment history in the -- the



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1    May 2015 reinvestigation we were talking about earlier
2    today?
3          A.   Yes.
4          Q.   And how is it different?
5          A.   It states -- okay.        You stated payment history.
6    It only shows payment history to April of 2011.
7          Q.   Okay.     And under the account history is -- is
8    that different than the May 2015 reinvestigation we're
9    talking about before?
10         A.   Yes.
11         Q.   And -- and what does the account history say
12   on -- in -- on this February 8, 2017, reinvestigation?
13         A.   Debt included in Chapter 7 bankruptcy on
14   April 29, 2011.
15         Q.   Okay.     Under the status do you see that entry
16   that says "creditor received deed" anymore?
17         A.   No.
18         Q.   Does it -- does the status reference the
19   bankruptcy at all?
20         A.   Yes.
21         Q.   And what -- what -- what does it say about
22   that?
23         A.   Discharged through bankruptcy, Chapter 7.
24         Q.   Okay.     It also says, slash, never late, right?
25         A.   Yes.



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1          Q.   Okay.     And let me ask you this:         Why -- why did
2    Experian change the -- the account history to now
3    indicate debt included in Chapter 7 bankruptcy on April
4    29th of 2011, on this February 8th, 2017,
5    reinvestigation?
6                      MS. BRASTER:      And I'm just going to caution
7    the witness to the extent it goes into attorney work
8    product, don't answer.
9                      THE WITNESS:      This was updated as part of
10   our post-litigation procedures.
11         Q.   (BY MR. CLARK)       And you -- you indicated that
12   you did not reach out to the -- to Welk to obtain that
13   information?
14         A.   Correct.
15         Q.   And did you reach out to anyone else to obtain
16   that information?
17                     MS. BRASTER:      Objection to asked and
18   answered.
19                     THE WITNESS:      I do not believe so.
20         Q.   (BY MR. CLARK)       How did Experian determine that
21   the account was included in the Chapter 7 bankruptcy?
22                     MS. BRASTER:      And I'm just going to object
23   and caution the witness to the extent it calls for
24   privileged communications or work product.
25                     THE WITNESS:      This was updated as part of



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1    our post-litigation procedures.
2          Q.   (BY MR. CLARK)       You testified earlier that
3    LexisNexis provides Experian's -- Experian's public
4    record information, correct?
5          A.   Yes.
6          Q.   Did LexisNexis -- on February 8, 2017, did
7    LexisNexis continue to provide public information --
8    public record information to Experian?
9          A.   I -- I could assume so.
10         Q.   Do you have any reason to doubt that that is --
11   that this is no longer the case?
12         A.   No.
13         Q.   When -- when you were reviewing the complaint
14   in -- that Mr. Ashcraft had submitted disputing his Welk
15   information with Experian, did you see whether there
16   were any attachments to the complaint?
17                     MS. BRASTER:      Objection to vague and
18   assumes facts.
19                     THE WITNESS:      Are you talking about his
20   dispute when you say complaint?
21         Q.   (BY MR. CLARK)       Yeah.    Well, I'm talk --
22   talking about the -- the filing made in the District of
23   Nevada on December 22nd, 2016.
24         A.   Oh, okay.      I believe there were.
25         Q.   Okay.     You -- you -- you recall seeing



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1    attachments to that complaint?
2                      MS. BRASTER:      Same objections.
3                      THE WITNESS:      Yes.
4          Q.   (BY MR. CLARK)       Okay.    And what were those
5    attachments, if you can recall?
6          A.   If I recall correctly, it was his mail
7    correspondence that he previously sent to Experian.
8          Q.   Give me one second, please.           Okay.    I'll
9    represent to you -- Anna, I'm not trying to play gotcha
10   here at all.      But I'll -- I'll represent to you I'm
11   looking at a copy of the docket in the Ashcraft case.
12   And I'll represent to you that the -- the -- in my
13   review of the docket, I see that the complaint was filed
14   in -- in DCS docket one.          There were three attachments.
15                     One was a civil cover sheet.           Another was
16   the summons to Experian.          And a third was the summons to
17   Welk.
18                     But I do not see any other attachments with
19   it in the complaint.        So -- and I know that -- I haven't
20   introduced the complaint here so I -- I -- I understand
21   that you looked through a lot of documents.
22                     So with -- with those representations
23   though -- and I'm not trying to play gotcha.               I, you
24   know, that is -- that's not the point of this.
25                     But based on the representations that I



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1    made, are you sure that you looked at -- along with the
2    complaint -- attachments to that complaint which were
3    Mr. Ashcraft's mail correspondence?
4          A.   I would have to look at the complaint now.               I'm
5    not an attorney so I don't always know what the titles
6    are for the different documents filed within the courts.
7          Q.   Okay.     And -- and -- and I -- I understand
8    that.    And, like I said, I'm not trying to play gotcha
9    here.    I just -- I just -- I -- I just wanted to make
10   sure that I understood.
11                     But I will represent to you that in my
12   review of the docket I did not see Mr. Ashcraft's mail
13   correspondence, as we had described it, as an attachment
14   to DCS docket one.
15                     But I -- I -- I certainly appreciate the
16   idea of looking at a lot of documents and -- and maybe
17   getting mixed up.       So I'm not -- just -- just trying to
18   clear that up right now.          But that's fine.       We can -- we
19   can move on.
20                     So let me ask you this:         We were talking
21   about ACDVs earlier today.          Do you have any idea how
22   many ACDVs Experian sends to data furnishers in a year?
23         A.   No.
24                     MS. BRASTER:      Objection to scope.
25   Foundation.



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1          Q.   (BY MR. CLARK)       Do you think it's over a
2    thousand?
3                      MS. BRASTER:      Same objections.
4                      THE WITNESS:      I would assume so.
5          Q.   (BY MR. CLARK)       Do you know how often Experian
6    uses auto ACDV processing with respond -- in -- in
7    connection with an ACDV response that it receives from a
8    data furnisher?
9                      MS. BRASTER:      Same objections.       And vague.
10                     THE WITNESS:      No.
11         Q.   (BY MR. CLARK)       Do you think it's more than
12   50 percent of the time?
13                     MS. BRASTER:      Same objections.
14                     THE WITNESS:      I do not know.
15         Q.   (BY MR. CLARK)       Do you recall that we had a
16   conversation about the frequency by which Experian uses
17   auto ACDV processing in the Lynn Travers case?
18         A.   No.
19         Q.   Okay.     Would it -- would it help to refresh
20   your recollection if -- if you reviewed that prior
21   testimony?
22                     MS. BRASTER:      Objection to outside the
23   scope.     Improper.    And assumes facts.
24                     THE WITNESS:      Yes, if I reviewed the
25   Travers deposition testimony, I would be able to tell



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1    you exactly what I stated.
2          Q.   (BY MR. CLARK)       Okay.     And would that also be
3    true for the Goodman deposition we were talking about
4    earlier?
5                      MS. BRASTER:      Same objections.
6                      THE WITNESS:      Yes.
7                      MR. CLARK:      Okay.    Okay.
8                      Jen, this a probably a good time to take a
9    break if you want to take one or I can just keep
10   powering through.
11                     MS. BRASTER:      I'm okay.      I'm looking at
12   Anna and the court reporter, if you guys need a break.
13                     (Pause in proceedings)
14                     (Break taken)
15         Q.   (BY MR. CLARK)       Anna, I know we've previously
16   discussed some of Experian's terminology.               And I'm
17   afraid I'm going to have to go through a little bit of
18   that -- a little bit of that again here.              So I just want
19   to -- let me -- let me -- because you testified today
20   that certain documents were disclosures.              So I just want
21   to see if I understand that.
22                     Is -- does Experian have a common word it
23   uses to represent a document sent to consumers?
24                     MS. BRASTER:      Objection to vague.
25                     THE WITNESS:      Yes.    It could be a CDI.



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1    Another document is a CDF.
2          Q.   (BY MR. CLARK)       Are those -- are those
3    disclosures as you understand them?
4                      MS. BRASTER:      Same objections.       And legal
5    conclusion.
6                      THE WITNESS:      Yes.
7          Q.   (BY MR. CLARK)       Okay.    So what is CID?
8          A.   Consumer Disclosure Initial.
9          Q.   And what -- what -- what -- what is -- what is
10   a -- what does a CDI represent?
11                     MS. BRASTER:      I'm sorry.      Can you repeat
12   that again?
13         Q.   (BY MR. CLARK)       What does a Consumer Disclosure
14   Initial or CDI represent?
15         A.   It can contain credit information that Experian
16   is reporting regarding a specific consumer.               It could
17   contain identification information, address information,
18   inquiries.
19         Q.   Does it contain all the information in the
20   consumer's file that Experian has on that consumer?
21                     MS. BRASTER:      Objection to the extent it
22   calls for speculation.
23                     THE WITNESS:      I do not believe so.
24         Q.   (BY MR. CLARK)       What information is not -- is
25   not included?



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1                      MS. BRASTER:      Same objection.
2                      THE WITNESS:      I don't know everything
3    that's not included.        But the main thing would be items
4    that are over seven years old and they're no longer
5    appearing on the CDI.
6          Q.   (BY MR. CLARK)       Okay.    But they are contained
7    in Experian's records, right, somewhere else?
8                      MS. BRASTER:      Same objections.       Assumes
9    facts.
10                     THE WITNESS:      I do not know if all the
11   information is always contained in Experian's records.
12         Q.   (BY MR. CLARK)       Okay.    Would a CDI -- would
13   Experian continue to maintain a record of any
14   information that it would suppress on a payment history
15   grid as a result of an account being included in Chapter
16   7 bankruptcy or Chapter 13 bankruptcy on a specific
17   date?
18                     MS. BRASTER:      Objection; speculation.
19   Foundation.
20                     THE WITNESS:      I don't remember how the
21   question began.
22         Q.   (BY MR. CLARK)       Okay.    Well, let's look at
23   Ashcraft 90.      And this was that Welk trade line we were
24   talking about.       Or sorry, Welk 91, which is that Welk
25   trade line that we were talking about.



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1          A.   Okay.
2          Q.   And so would you agree with me that there is --
3    there's less payment history on -- being reported on
4    Experian's -- on -- on the Welk trade line on
5    February 8, 2017, then there was on the March 2016 CDI
6    that Experian sent to Mr. Ashcraft?
7          A.   Yes.
8          Q.   Okay.     And I think we talked about the fact
9    that the payment history after the -- Mr. Ashcraft's
10   Chapter 7 petition date had been suppressed on the
11   February 8th, 2017, Welk trade line?
12         A.   Yes.
13         Q.   Would Experian continue to maintain a record of
14   that suppressed post-petition information after it
15   was -- after -- in its file after the information was
16   suppressed?
17         A.   I'm not sure.       I know Experian can, but I'm not
18   sure if we are maintaining a record for this person.
19         Q.   Okay.     And so if -- if -- if Experian doesn't
20   maintain the information based on its suppression, then
21   the information is deleted from Experian's files and
22   Experian doesn't have any other record of it?
23                     MS. BRASTER:      Objection to the extent it
24   calls for speculation.         Assumes facts.
25                     THE WITNESS:      I don't know.



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1           Q.   (BY MR. CLARK)      What's a -- what is a Consumer
2    Disclosure Final or CDF?
3           A.   It is the results of a reinvestigation.
4           Q.   Okay.    And we've discussed -- we discussed two
5    CDFs today, right?        One in -- one in May of 2016 and one
6    in February of 2017; have we not?
7           A.   Yes.
8           Q.   And is -- does ACDV always contain all the
9    information that a CDI contains or can that -- can it
10   contain less information?
11                      MS. BRASTER:     Objection to vague.        And to
12   the extent it calls for speculation.
13                      THE WITNESS:     It can contain less.
14          Q.   (BY MR. CLARK)      Okay.    And under what
15   circumstances -- would Experian -- sorry.               Let me ask
16   the question this way.
17                      Does Experian have a different name other
18   than ACDV for -- for a -- for a -- for the results of
19   the investigation that contain less information than a
20   CDI?
21                      MS. BRASTER:     Objection to vague.
22                      THE WITNESS:     I believe it's still called
23   CDF.
24          Q.   (BY MR. CLARK)      Okay.    Does the name "consumer
25   disclosure abbreviated" mean anything to you?



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1          A.   I've never heard that.          It's still a consumer
2    disclosure final or CDF and then it would be
3    abbreviated.
4          Q.   Okay.     So let me ask it this way.
5                      Is -- have you heard of the term CDF full?
6          A.   Yes.
7          Q.   Okay.     And what does that mean?
8          A.   It is a full CDF and it is not abbreviated.
9          Q.   Okay.     Does a -- does a CDF full contain all
10   the information that would be contained on a CDI?
11                     MS. BRASTER:      Objection to vague.
12                     THE WITNESS:      I'm not sure.
13         Q.   (BY MR. CLARK)       Okay.    Does a CD -- how -- so
14   what is a CDF abbreviated?
15         A.   It is an abbreviated version of CDF and it is
16   not a full version.
17         Q.   Okay.     Are you familiar with the term "consumer
18   file disclosure"?
19                     MS. BRASTER:      I'm sorry, what was that,
20   Miles?
21                     MR. CLARK:      Consumer file disclosure.
22                     MS. BRASTER:      Objection to vague.        And to
23   the extent it calls for a legal conclusion.
24                     THE WITNESS:      Those words get interchanged
25   a lot, but I'm familiar with the word "disclosure."



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1    But I understand what consumer file means.
2          Q.   (BY MR. CLARK)       Okay.    So you've never heard
3    the phrase -- have you ever heard the phrase "consumer
4    file disclosure" before?
5                      MS. BRASTER:      Same objections.
6                      THE WITNESS:      I might have, but I'm not
7    sure if I've heard it in that terminology.               But I could
8    have.
9          Q.   (BY MR. CLARK)       Okay.    So sitting here today as
10   Experian 30(b)(6) witness, you don't know what the term
11   "consumer file disclosure" means?
12                     MS. BRASTER:      Same objections and asked and
13   answered.
14                     THE WITNESS:      A consumer file disclosure
15   could -- no, I'm not exactly sure because it could be --
16   people use it different ways and I know we've been
17   tripped up on the terminology before.             So I know
18   disclosure is something that's provided to the consumer
19   as a consumer disclosure initial.            And a consumer file
20   disclosure some people would think that it could be
21   provided for a third party, but I'm not sure what the
22   terminology is.
23         Q.   (BY MR. CLARK)       Okay.    That's fine.      And I -- I
24   don't want you to guess.          So that's fair.
25                     Have you ever heard the term "consumer file



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1    disclosure" used in your work at Experian?
2          A.   I don't think that we use that, no.             Most of my
3    peers, I've never heard of that -- I -- I don't know if
4    I have.    I can't remember.        So I'll -- I'll keep saying
5    that.
6          Q.   Okay.     That's fine.      That's fine.      Is it fair
7    to say that it's not a term you commonly use in your
8    work at Experian?
9          A.   Yes.
10         Q.   Okay.     What about the term -- are you familiar
11   with the term "credit report"?
12         A.   Yes.
13         Q.   And what does credit report mean?
14                     MS. BRASTER:      Objection to the extent it
15   calls for a legal conclusion.
16                     THE WITNESS:      It generally means a report
17   that is provided to a third party regarding a consumer.
18         Q.   (BY MR. CLARK)       Okay.    And are you familiar
19   with the term "credit file disclosure"?
20                     MS. BRASTER:      Objection, vague.        And to the
21   extent it calls for a legal conclusion.
22                     THE WITNESS:      My answer would be the same.
23   I -- I might have heard it before, but I don't think so.
24         Q.   (BY MR. CLARK)       Okay.    And when you say your
25   answer would be the same, are you saying your answer



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1    would be the same for credit file disclosure as it was
2    for consumer file disclosure?
3          A.   Oh, yes.     I'm sorry, I didn't even realize the
4    two different words.
5          Q.   Oh, oh.     Oh, golly.      So let me -- let me just
6    make sure that we're on the same page.              And I apologize.
7    I'll just back up just to make sure.             So I apologize for
8    asking the question again.
9                      Are you familiar with term "credit file
10   disclosure"?
11                     MS. BRASTER:      Same objections.
12                     THE WITNESS:      I think I've heard that term
13   and it's been used in many different ways by many
14   different people.       Usually it would be a report provided
15   to a third party regarding a consumer.
16         Q.   (BY MR. CLARK)       Okay.    And when you say it's
17   been used in many different ways, what do you mean by
18   that?
19         A.   That's all I mean.
20         Q.   Okay.     Do you mean used by -- in many different
21   ways by people at Experian?
22                     MS. BRASTER:      Objection to asked and
23   answered.
24                     THE WITNESS:      It could be people at
25   Experian, people outside Experian.            And they have --



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1    people might think it means something provided to a
2    consumer.     And some might think it means something
3    provided to a creditor.         So it gets very confusing.
4          Q.   (BY MR. CLARK)       Okay.    Have you ever used the
5    term "credit file disclosure" before?
6          A.   I might have.       I'm not quite sure.
7          Q.   Okay.     Is it a term you commonly encounter in
8    your work at Experian?
9          A.   No.
10         Q.   Okay.     And are you familiar with the term
11   "personal credit report"?
12                     MS. BRASTER:      Objection to the extent it
13   calls for a legal conclusion.
14                     THE WITNESS:      Yes.
15         Q.   (BY MR. CLARK)       And what is a personal credit
16   report?
17                     MS. BRASTER:      Same objection.
18                     THE WITNESS:      It's usually used
19   interchangeably like a disclosure.
20         Q.   (BY MR. CLARK)       It's used interchangeably
21   with -- with the disclosure you said?
22         A.   Yes.
23         Q.   Okay.     And by disclosure -- just -- just --
24   just so I'm clear -- what do you mean by disclosure?
25         A.   CDI.



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1          Q.   Okay.     But not a CDF or a -- but not a CDF?
2          A.   It means CDI.
3          Q.   Okay.     So it means CDI.
4                      Are you familiar with the personal --
5    sorry.     That -- strike that.
6                      Are you familiar with the term "consumer
7    report"?
8          A.   I've heard that before and that usually means a
9    report provided to a third party regarding a consumer.
10         Q.   Okay.     Does -- is a CDF a consumer report?
11                     MS. BRASTER:      Object to the extent it calls
12   for a legal conclusion.
13                     THE WITNESS:      No, I don't think so.         A CDF
14   does not go to third parties usually.
15         Q.   (BY MR. CLARK)       Okay.    Are you familiar with
16   the term "credit profile report"?
17         A.   Yes.
18         Q.   And what is a credit profile report?
19                     MS. BRASTER:      Objection to the extent it
20   calls for a legal conclusion.
21                     THE WITNESS:      It's a report that would go
22   to a third party regarding a specific consumer.
23         Q.   (BY MR. CLARK)       Other than the terms that we
24   just discussed, are there any others that you're aware
25   that Experian uses to describe the -- a document sent to



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1    a consumer which includes all the information in that
2    consumer's credit file?
3                      MS. BRASTER:      Objection to vague.        Assumes
4    facts.      And foundation.
5                      THE WITNESS:      I cannot think of any right
6    now.
7           Q.   (BY MR. CLARK)      Okay.    And other than the terms
8    we have discussed, are there any others Experian uses to
9    describe the documents that consumers -- which
10   constitute the results of its reinvestigation into a
11   consumer dispute?
12                     MS. BRASTER:      Objection to vague.        Assumes
13   facts.
14                     THE WITNESS:      I cannot think of any right
15   now.
16          Q.   (BY MR. CLARK)      And other than the terms that
17   we've discussed, are there any others that Experian uses
18   to describe a document sent to third parties regarding
19   information that may be contained in the consumer's
20   credit file?
21                     MS. BRASTER:      Same objections.
22                     THE WITNESS:      I cannot think of any right
23   now.
24          Q.   (BY MR. CLARK)      Okay.    Thank you.
25                     MR. CLARK:      All right.     I think --



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1                      Madam Court Reporter, do you -- could you
2    tell me how much time remains in the deposition?
3                      THE REPORTER:      One hour.
4                      MR. CLARK:      Okay.    So we've been going
5    about six hours, correct?
6                      THE REPORTER:      We've been going six hours
7    and three minutes.
8                      MR. CLARK:      Okay.    Great.    Great.    I think
9    I have -- okay.       Let me -- let me just follow up on that
10   terminology for a second here, Anna.
11         Q.   (BY MR. CLARK)       The March 15, 2016, document we
12   were discussing which appears on Ashcraft 5 through --
13   through 35.      What kind of document is that?
14         A.   A -- a CDI.
15         Q.   Okay.     And it's not any other kind of document?
16                     MS. BRASTER:      Objection to vague.
17                     THE WITNESS:      That's -- that's what I call
18   it is a CDI or a disclosure.
19         Q.   (BY MR. CLARK)       Okay.     And -- and the reason I
20   ask is that you mentioned that they were disclosures
21   before so I'm just trying to figure out what kind of
22   disclosures they are.
23         A.   Okay.
24         Q.   Just -- just so I'm clear.
25                     And how about the May 16th, 2016,



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1    reinvestigation we talked about from Ashcraft 68 to 71,
2    what would you call that document?
3          A.   A CDF.
4          Q.   Would you call it anything else?
5          A.   I don't think so.
6          Q.   Okay.     How about the January 25, 2017, personal
7    credit report we were talking about from Ashcraft 72
8    through -- through 87, what would you call that?
9          A.   A CDI.
10         Q.   Would you call it anything else?
11         A.   A disclosure.
12         Q.   Okay.     And finally, the February 8th, 2017,
13   reinvestigation that we were talking about from Ashcraft
14   89 -- I'm sorry.       88 through 93, what would you call
15   that?
16         A.   A CDF.
17         Q.   Would you call it anything else?
18         A.   I don't think so.
19         Q.   Okay.     All right.     I think we're almost done.
20   I've just got a -- a few more -- a few more questions
21   for you.
22                     Anna, let's go to Exhibit 3.           I would like
23   to talk to you a little bit about the admin report that
24   we were discussing on Ashcraft 99 to 106, okay.
25         A.   Okay.



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1          Q.   So first, what's the date that the -- that this
2    admin report was generated?
3          A.   January 25, 2007.
4          Q.   And looking through do you see that there's a
5    section of the admin report that says -- that has trades
6    listed.    It starts on -- it starts on 100.
7          A.   Yes.
8          Q.   Okay.     And looking through the list of trades,
9    do you see a Welk Resort Group account on 103?
10         A.   (Looked at document.)         Yes.
11         Q.   Okay.     And do you see that says -- do you see
12   where it says deed in lieu on that -- on that account?
13         A.   Yes.
14         Q.   Okay.     And does that mean deed in lieu?
15         A.   Yes.
16         Q.   Okay.     And do you see where it says delinq 60?
17         A.   Yes.
18         Q.   What does that mean?
19         A.   60 days delinquent.
20         Q.   Okay.     Do you know based on looking at this --
21   this trade line here when Mr. Ashcraft's account was
22   60 days delinquent?
23         A.   I do not.
24         Q.   Okay.     I'm going to go a little bit further
25   down the page.       Do you see a line that says "inquiries"



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1    on Ashcraft 103?
2           A.   Yes.
3           Q.   And -- and that goes -- does that go through
4    Ashcraft 106?
5           A.   (Looked at document.)        Yes.
6           Q.   Is this a list of consumer reports that
7    Experian has provided to third parties?
8                       MS. BRASTER:     Objection to the extent it
9    calls for a legal conclusion.           Assumes fact.
10                      THE WITNESS:     This is a list of third
11   parties that have received some type of information
12   regarding Mr. Ashcraft.
13          Q.   (BY MR. CLARK)      Okay.    Looking at the list of
14   inquiries, I'll direct your attention to page 105.                 Do
15   you see a -- oh, wait.         Not 105.     Pardon me.     Yeah.
16   105.    Do you see an entry for Welk Resort Group?
17          A.   Yes.
18          Q.   And what's the date of this inquiry?
19          A.   January 25, 2017.
20          Q.   Can you see on the -- on the far right side
21   there's -- there's an entry that say DTP?
22          A.   Yes.
23          Q.   Do you know what DTP means?
24          A.   I do not remember off the top of my head.
25          Q.   Let me ask you this:        In the Lynn Travers'



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1    deposition, do you recall that I asked you what DTP
2    meant during that deposition?
3                      MS. BRASTER:      Objection to outside scope.
4    Assumes facts.
5                      THE WITNESS:      No.
6          Q.   (BY MR. CLARK)       Okay.     If -- if you were to see
7    your -- a copy of your transcript from that deposition,
8    would it refresh your recollection as to whether we had
9    that discussion?
10                     MS. BRASTER:      Same objections and improper.
11                     THE WITNESS:      I would imagine if I read the
12   testimony from that testimony, I could tell you what --
13   what I stated in that deposition.            But I don't remember
14   today.
15         Q.   (BY MR. CLARK)       Okay.     That's fine.
16                     So since Welk Resort Group is listed as an
17   inquiry on this inquiry section, is it -- is it fair to
18   conclude that Experian sent Mr. Ashcraft's consumer
19   information to Welk on January 25, 2017?
20                     MS. BRASTER:      Objection to the extent it
21   calls for speculation.         Legal conclusion.        Assumes
22   facts.
23                     THE WITNESS:      Yes.
24         Q.   (BY MR. CLARK)       But we -- we're just not sure.
25   Is there any other way looking at this Welk Resort Group



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1    item where you could figure out what Experian -- what
2    information Experian sent Mr. -- or to -- to Welk as a
3    result of this January 25, 2017, inquiry?
4                      MS. BRASTER:      Same objections.
5                      THE WITNESS:      I do not believe so.
6          Q.   (BY MR. CLARK)       Do you know whether Welk
7    requested to receive this information or whether
8    Experian sent this information to Welk of its own
9    accord?
10                     MS. BRASTER:      Same objection.
11                     THE WITNESS:      I'm assuming they requested
12   to receive information.
13         Q.   (BY MR. CLARK)       Okay.    Would Experian -- if
14   Experian sent information to -- to a -- a third party
15   and -- that showed up in the inquiry section of an admin
16   report, would Experian ever do that if it had not
17   previously been requested to do so by the data furnisher
18   in question?
19                     MS. BRASTER:      Objection to vague.
20   Speculation.      Assumes facts.
21                     THE WITNESS:      Not to my knowledge.
22         Q.   (BY MR. CLARK)       Okay.    So is it fair to say
23   that this list of inquiries is a -- a list of third
24   parties that have requested consumer report information
25   from Experian that was in Mr. Ashcraft's credit file?



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1                      MS. BRASTER:      Objection; speculation.
2    Legal conclusion.       Asked and answered.
3                      THE WITNESS:      Yes.
4          Q.   (BY MR. CLARK)       All right.      So let's see --
5    let's go back to Exhibit 2 briefly.             And we are -- we
6    are almost finished.        And I want to direct your
7    attention to Ashcraft 82 through 84.
8          A.   (Witness complies.)         Okay.
9          Q.   So I want to direct your attention to the top
10   of -- the top left portion of Ashcraft 82 where it says
11   "record of requests of your credit history."               Do you see
12   that?
13         A.   Yes.
14         Q.   And below that do you see a line that says
15   "inquiries shared with others"?
16         A.   Yes.
17         Q.   Okay.     And below that do you see three entries
18   down on -- there's -- there's a listing for Discover
19   Financial Serv -- and I'm not sure what the end of it
20   says, but do you see where I'm looking at?
21         A.   Yes.
22         Q.   And there's a date of that inquiry for
23   February 13, 2016?
24         A.   Yes.
25         Q.   And is -- is -- and -- and below the reason --



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1    below the date does it -- does it -- on that Discover
2    credit pull is -- is there anything listed?
3          A.   Unspecified.
4          Q.   Okay.     Going back to the list of inquiries that
5    we were talking about from -- from on Experian 110 --
6    sorry, 103 to 106.
7                      Do you see a February 13, 2016, inquiry
8    from Discover Financial Serv?
9                      MS. BRASTER:      And you said starting at 103?
10                     MR. CLARK:      Yeah.
11                     THE WITNESS:      (Looked at document.)         No.
12         Q.   (BY MR. CLARK)       Okay.     Can I -- draw your
13   attention -- hang on.
14         A.   I -- I do see an inquiry for February 13, 2016,
15   from Discover.
16         Q.   Okay.     Okay.    Is -- is there a reason listed
17   for that inquiry on the admin report?
18         A.   I don't know what the code is next to it, if
19   that is telling a reason or not.
20         Q.   Okay.     Do you see -- under -- under the
21   inquiries column -- let me go back up.              There are one,
22   two, three, four -- there are -- there are five -- there
23   are five main columns.         The first one -- and if I'm
24   looking at -- I'm looking at the first column, I'm
25   looking at the Discover account.            It says Discover



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1    Financial Serv.       Do you see that?
2          A.   What page number?
3          Q.   This is Experian 104.
4          A.   Yes.
5          Q.   Okay.     And do you see that first column says
6    Discover Financial Serv?
7          A.   Yes.
8          Q.   Do you know what that column represents?
9          A.   The name of the companies that inquired into
10   this -- into Mr. Ashcraft's information.
11         Q.   Okay.     What about the next column?          It says
12   2-13-16.     Do you see that?
13         A.   Yes.
14         Q.   What does that represent?
15         A.   The date of the inquiry.
16         Q.   And then after that there's a -- there's a
17   listing of it looks like seven numbers.              Do you see
18   that?
19         A.   (Looked at document.)         Yes.
20         Q.   And what do those numbers represent?
21         A.   I believe -- I believe that is a subscriber
22   number assigned to Discover.
23         Q.   Okay.     And do you see there's -- there's a
24   listing DC on the column after that?
25         A.   Yes.



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1          Q.   What does -- what does that represent?
2          A.   That is one of the codes I do not have
3    memorized right now.
4          Q.   Okay.     Maybe we can make it easier if -- if we
5    go up to Ashcraft 103.         Do you see there a single
6    inquiry from Experian dated 4/15/95?
7          A.   Yes.
8          Q.   And do you see there's a -- there's -- there's
9    the No. 30 in that same column as you see on the
10   Discover Financial Services account we were just talking
11   about?
12         A.   (Looked at document.)         I see the 30 attached to
13   the Experian inquiry, yes.
14         Q.   Okay.     What does -- what does the 30 mean?
15         A.   I don't know what this code means.             I do not
16   have inquiry codes memorized, all of them, that appear
17   on the admin.
18         Q.   Okay.     Sure.    And -- and let me -- let me ask a
19   general question.       Do you know what information goes in
20   that fourth column where the 30 is for Experian?
21         A.   No.
22         Q.   So you're not sure whether it's like the type
23   of business it is or the type of company it is or the
24   type of inquiry, you're just not sure?
25         A.   That is correct.        I'm not a hundred percent



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1    sure so I can't testify as to what that is.
2          Q.   Okay.     And what about the fifth column, do you
3    see where it says TII on that Experian inquiry on
4    Ashcraft 103?
5          A.   Yes.
6          Q.   Do you know what that represents?
7          A.   It might be the purpose of the inquiry.               But
8    again I'm not a hundred percent sure.
9          Q.   Okay.     Might be, but you're not sure.           So let
10   me ask you this.       Going back to the Discover Financial
11   inquiry we were discussing on Ashcraft 104.               Is there
12   anything in that fifth column under the Discover -- the
13   Discover inquiry?
14         A.   No.
15         Q.   So if -- if -- if that column does represent
16   the purpose for which the inquiry is made, isn't it fair
17   to conclude that Experian doesn't have a record of what
18   that purpose was?
19                     MS. BRASTER:      Objection; assumes facts.
20   Speculation.
21                     THE WITNESS:      There is no record of what
22   that is.     That's correct.
23         Q.   (BY MR. CLARK)       Would Experian have a record of
24   information that would otherwise be contained in that
25   fifth column elsewhere in its records besides on this



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1    admin report?
2                      MS. BRASTER:      Same objections.       And vague.
3                      THE WITNESS:      I do not know.
4          Q.   (BY MR. CLARK)       Okay.    So sitting here today
5    looking at the -- looking at Ashcraft 82 and the
6    Discover Financial credit pull we were talking about,
7    comparing that with the -- the listing of that Discover
8    Financial credit pull on Ashcraft 104, you can't tell me
9    what -- for what purpose that pull was made?
10                     MS. BRASTER:      Objection; asked and
11   answered.     Speculation.      Vague.
12                     THE WITNESS:      Correct.
13         Q.   (BY MR. CLARK)       Okay.    So you're -- you're --
14   sitting here today, you can't -- you can't tell me
15   whether that pull was made for a permissible purpose of
16   or not?
17                     MS. BRASTER:      Same objections.       And to the
18   extent it calls for a legal conclusion.
19                     THE WITNESS:      I -- I did not state that,
20   no.
21         Q.   (BY MR. CLARK)       Okay.    Can you tell me whether
22   or not this one -- can you tell me yes or no whether the
23   Discover -- the Discover pull on February 13th, 2016,
24   was permissible based on looking at Ashcraft 82 and
25   Ashcraft 104?



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1                      MS. BRASTER:      Objection, vague.        Legal
2    conclusion.
3                      THE WITNESS:      All inquiries are required to
4    have a permissible purpose.
5          Q.   (BY MR. CLARK)       Does Experian contain --
6    maintain a record of each permissible purpose which
7    is -- for which a -- for which an inquiry is made?
8                      MS. BRASTER:      Same objections.
9                      THE WITNESS:      I do not --
10                     MS. BRASTER:      To the extent it calls for
11   speculation.
12                     THE WITNESS:      I do not know.
13         Q.   (BY MR. CLARK)       So there's nothing you could
14   point to sitting here today that would indicate the
15   purpose for which this Discover pull was made; is that
16   fair to say?
17                     MS. BRASTER:      Same objections.       And asked
18   and answered.
19                     THE WITNESS:      Correct.
20         Q.   (BY MR. CLARK)       All right.      Looking at the
21   January 25th CDI and I want to direct your attention
22   to -- bear with me.        I'm going to direct your attention
23   to Ashcraft 83.       And on -- on the first -- on -- on the
24   left side column about halfway down do you see an entry
25   for Capital One?



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1           A.   Yes.
2           Q.   And what's the date of that -- is there a date
3    by which -- on which Capital One inquired as to
4    Mr. Ashcraft's consumer information?
5           A.   Yes.
6           Q.   And what is the date?
7           A.   October 17, 2016.
8           Q.   Do you see any other dates of inquiries in
9    to -- for Mr. Ashcraft's consumer report other -- by
10   Capital One other than October 17, 2016?
11                      MS. BRASTER:     Objection to foundation.
12                      THE WITNESS:     No.
13          Q.   (BY MR. CLARK)      Okay.     Looking at -- looking at
14   the -- looking at that list of inquiries from -- on
15   Ashcraft 100 to 106, do you see any inquiries by Capital
16   One?
17          A.   Yes.
18          Q.   Okay.    And where are you looking?
19          A.   Page 105.
20          Q.   And let's see.      And I count about 20 inquiries
21   from Capital One on Ashcraft 105.            Is that your -- if
22   you're looking at it, do you agree with me?
23          A.   I see 21, yes.
24          Q.   Okay.    I -- I -- I hesitated to give you an
25   accurate number because I am a lawyer and my ability to



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1    do math has been hindered by my -- my legal advocacy.
2    So I was pretty sure there was more than 20, but I
3    wasn't sure if there were 21 or 22.             Okay.    So there's
4    21.
5                       Are -- are there any inquiries from Capital
6    One after October 17, 2016, on Ashcraft 105?
7           A.   I do not see any.
8           Q.   Okay.    Let me ask you this finally.          Going back
9    to -- going back to the -- that list of numbers in the
10   third column.       That -- the seven digit listed numbers.
11   And I want to direct your attention back to Experian
12   104.    You said that -- I think you said earlier --
13   forgive me if I get this wrong -- that -- that this
14   is -- you know, I'll just ask you the question again.
15                      What do those -- those seven numbers
16   represent in the third column?
17                      MS. BRASTER:     Objection; asked and
18   answered.
19                      THE WITNESS:     I believe that is the
20   subscriber number assigned to that creditor.
21          Q.   (BY MR. CLARK)      Okay.    And do you see on the
22   bottom of Ashcraft 104 and continuing to Ashcraft 105 --
23   one, two, three, four five -- six inquiries by Experian?
24          A.   Yes.
25          Q.   Okay.    And do you see the first -- the first



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1    four on Ashcraft 104 have the No. 3499953.               Do you see
2    that?
3          A.   Yes.
4          Q.   But the last one has the number -- I'm sorry.
5    No, it has 349953 (sic).          My apologizes.      Do you see
6    that?
7          A.   Yes.
8          Q.   But the last number has the No. 3499999.               Do
9    you see that?
10         A.   Yes.
11         Q.   Do you know what the -- do you know why
12   there's -- there's a different number there?
13         A.   No.    I would have to look at these numbers to
14   see if I can find out what they mean.             Maybe it's a
15   different part of Experian.          I really do not know
16   sitting here looking at it.
17         Q.   Okay.     Okay.    That's fine.      Do you know what
18   the -- looking that fifth column and looking at that --
19   those Experian inquiries, do you know what the term --
20   the code CNX stands for?
21         A.   (Looked at document.)         This might be the coding
22   for CDI and CDF.
23         Q.   Okay.     What about CFR?
24                     MS. BRASTER:      Objection to vague.
25                     THE WITNESS:      I do not know.



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1          Q.   (BY MR. CLARK)       What about -- looking at
2    Ashcraft 105, what about OBO?
3          A.   I do not know.
4          Q.   Okay.
5                      MR. CLARK:      Jen, if I can just have --
6    agree to go off for like -- for just a minute or two.
7                      MS. BRASTER:      Sure.
8                      MR. CLARK:      I may have a few clean-up
9    questions, but that's -- that's -- that's the end of
10   my -- that's the end of my direct right now.
11                     Not -- not the official end of my direct,
12   but I just want to go off and make sure I didn't miss
13   anything.
14                     MS. BRASTER:      That's -- that's fine.         We'll
15   just stay on the line if that works for you, unless you
16   need more time.
17                     (Pause in proceedings)
18                     MS. BRASTER:      Anna, I want to thank you
19   again for -- for sitting down and discussing some of the
20   issues involved in this case with me today.               As always.
21   I appreciate your time.         Glad we were able to get out of
22   here at least with my direct a little bit sooner than we
23   have before.
24                     But at this point I have -- I have nothing
25   further.     And I would pass the witness.



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1                      MS. BRASTER:      Thank you, Miles.        I don't
2    have any questions.        And this time I'll remember to put
3    it -- say it now that we want to review and sign,
4    please.
5                      MR. CLARK:      Okay.
6                      (Proceedings concluded at 5:18 p.m.)
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1                           CHANGES AND SIGNATURE
2    WITNESS:     ANNA SIMMONS              DATE:    MAY 3, 2017
3    PAGE         LINE      CHANGE                    REASON
4    ________________________________________________________
5    ________________________________________________________
6    ________________________________________________________
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1          I, ANNA SIMMONS, have read the foregoing deposition
2    and hereby affix my signature that same is true and
3    correct, except as noted above.
4
5
6                                  ________________________________
                                   ANNA SIMMONS
7
8
9    THE STATE OF ____________)
10   COUNTY OF _______________)
11
12         Before me, _______________________, on this day
13   personally appeared ANNA SIMMONS, known to me (or proved
14   to me under oath or through_______________) (description
15   of identity card or other document) to be the person
16   whose name is subscribed to the foregoing instrument and
17   acknowledged to me that they executed the same for the
18   purposes and consideration therein expressed.
19         Given under my hand and seal of office this ____
20   day of ________________, 2017.
21
22
23                                _______________________________
                                 NOTARY PUBLIC IN AND FOR
24                               THE STATE OF TEXAS
25



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1                       UNITED STATES DISTRICT COURT
                             DISTRICT OF NEVADA
2
      JOHN E. ASHCRAFT      ) Case No. 2:16-cv-02978-JAD-NJK
3                           )
                            )
4     VS.                   )
                            )
5     WELK RESORT GROUP,    )
      CORP., and EXPERIAN   )
6     INFORMATION SOLUTIONS,)
      INC.                  )
7
8
9                          REPORTER'S CERTIFICATION
10                        DEPOSITION OF ANNA SIMMONS
11                                  MAY 3, 2017
12
13        I, Sherry Folchert, Certified Shorthand Reporter in
14    and for the State of Texas, hereby certify to the
15    following:
16        That the witness, ANNA SIMMONS, was duly sworn by the
17    officer and that the transcript of the oral deposition
18    is a true record of the testimony given by the witness;
19        That the deposition transcript was submitted on the
20    _____ day of May, 2017, to the witness or to the
21    attorney for the witness for examination, signature and
22    return to me by _____ day of June, 2017;
23        That the amount of time used by each party at the
24    deposition is as follows:
25        Miles N. Clark - 6 hours, 29 minutes



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1          Jennifer L. Braster - 0 minutes
2          That pursuant to information given to the
3    deposition officer at the time said testimony was taken,
4    the following includes counsel for all parties of
5    record:
6          Miles N. Clark, Attorney for Plaintiff;
7          Jennifer L. Braster, Attorney for Defendant;
8          I further certify that I am neither counsel for,
9    related to, nor employed by any of the parties or
10   attorneys in the action in which this proceeding was
11   taken, and further that I am not financially or
12   otherwise interested in the outcome of the action.
13                Certified to by me this 16th day of May, 2017.
14
15                                 _____________________________
16                                 SHERRY FOLCHERT, CSR NO. 6259
                                   Expiration Date: 12/31/17
17                                 Compass Reporting Group
                                   P.O. Box 79487
18                                 Houston, Texas 77279
                                   504-207-5736
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on July 10, 2017, and pursuant to the Federal Rules of Civil Procedure, a
 3
     true and correct copy of the foregoing unredacted Exhibit B of PLAINTIFF’S MOTION
 4
     TO STRIKE IN PART DEFEND$NT EXPERIAN INFORMATION SOLUTIONS,
 5
     INC.’S ERRATA SHEET TO ITS 30(B)(6) DEPOSITION was served via the U.S.
 6
 7   District Court’s electronic filing system and by email to all individuals entitled to receive notice

 8   of the same.
 9
                                                   /s/ Miles N. Clark ______
10                                                 An employee of Knepper & Clark LLC

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                                      EXHIBIT A-1
June 14, 2017 letter from Jennifer Braster to Miles Clark et al. and accompanying June 14, 2017
 letter from Jennifer Braster to Veritext enclosed Anna Simmons’s errata to 30(b)(6) deposition
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  $OWHUQDWLYHO\WKHSDUWLHVFRXOGVWLSXODWHWRVWD\GLVFRYHU\DQGGLVSRVLWLRQRIWKH0RWLRQGXULQJ
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                    UHVHDUFK,VHHWKDWWKHIXUQLVKHU:HONGLGSURYLGHD
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